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            SOFTWARE




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                                                                                                                                              with Digital Media!

                                             When it comes to using call analytics well; there is much                                      Do You Need Call Analytics for
                                             ground yet to be covered. A recent survey shows that by
                                                                                                                                              Your Pay Per Call Ads?
                                             2019 mobile advertisement spending will increase to 72% of
                                             the total digital marketing spending. We invest more and …                                     Most Usable Call Tracking
                                             Continued
                                                                                                                                              Software

                                                                                                                                            Ringba vs Retreaver vs TrackDrive

                                                                                                                                            Call Analytics Comparison: Ringba

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                                             Do You Need Call Analytics                                                           7
                                                                                                                               SEP 2018


                                             for Your Pay Per Call Ads?
                                               posted in: Call Analytics Setup |  0


                                             A commonly asked question among marketer, advertisers,
                                             business owners and call center managers is that, what is the
                                             need of their customer? What are they looking for? What do
                                             they want? A simple answer to that would be quicker routing
                                             … Continued




                                             Most Usable Call Tracking                                                            3
                                                                                                                              AUG 2018


                                             Software
                                               posted in: Software Comparisons |  0


                                             The concept of call tracking software is that it aids you in
                                             measuring and analysing your phone leads no matter where
                                             they are coming from whether online or offline ad
                                             campaigns. Call Analytics: A software or platform that lets
                                             you … Continued


                                             CallRail Alternatives, CallTrackingMetrics, DialogTech Alternatives, Invoca Alternatives,

                                            Ringba




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                                             Ringba vs Retreaver vs                                     AUG 2018


                                             TrackDrive
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                                             Before we move onto the Call Analytics Software Comparison
                                             let us first see what it actually is. Call analytic software is
                                             something that aids you in analysing your calls. There are
                                             various softwares available today that helps you with
                                             managing … Continued


                                             Retreaver Alternatives, Ringba, TrackDrive Alternatives




                                                                                                          3
                                             Call Analytics Comparison:                                 AUG 2018


                                             Ringba vs Invoca vs
                                             DialogTech
                                               posted in: Software Comparisons |  0


                                             Everyone today is aware that the competition in the market
                                             is way too high and a small mistake can ruin the whole
                                             business. If not ruin the investment would not be returned
                                             efficiently. So, for this reason marketers and businessmen …
                                             Continued


                                             DialogTech Alternatives, Invoca Alternatives, Ringba




                                                                                                          3
                                             Call Analytics Comparison:                                 AUG 2018


                                             Ringba vs CallRail vs
                                             CallTrackingMetrics
                                               posted in: Software Comparisons |  0


                                             Call Analytics Software has become the need of big or small
                                             business and call centers because the managing of calls and
                                             the extensive data related to the caller that is needed for the
                                             improvement of the ROI is not that … Continued


                                             CallRail Alternatives, CallTrackingMetrics, Ringba




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                                                                 Call Analytics and Metrics                                            2
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                                                                 You Need To Be Tracking
                                                                  posted in: Call Metrics |  0


                                                                 With a growth of about 110 percent in calls to local
                                                                 businesses via paid ad campaigns, searched keywords and
                                                                 PPCs from 2014 have resulted in measures to be taken to
                                                                 improve business received from phone calls. Call tracking
                                                                 analyzes local … Continued




                                                                 The Ultimate List of Call                                            23
                                                                                                                                     JUL 2018


                                                                 Analytics Software
                                                                 Platforms
                                                                  posted in: Analytics Platforms, Best Of |  0


                                                                 Call analytics would not be a new term for you if you are
                                                                 associated with call centers, agencies or IT departments,
                                                                 because it is one of the most important phenomenon used by
                                                                 them in today’s world. Call analytics can simply … Continued




                                                                                                                                      10
                                                                 The Best Call Analytics and                                         JUL 2018


                                                                 Tracking Platforms
                                                                  posted in: Analytics Platforms, Best Of, Software Reviews |  0


                                                                 Increase in smartphones has resulted in more phone calls
                                                                 and the respect phone calls always deserved is now being
                                                                 given to them. We never did realize how important phone
                                                                 calls can be to our business or to the digital marketing …
                                                                 Continued




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Call Analytics: The Integration with Digital                                                                       17
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Media!
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                                                                                                                               Recent Posts
When it comes to using call analytics well; there is much ground yet to be covered. A recent survey shows that by               Call Analytics: The Integration
2019 mobile advertisement spending will increase to 72% of the total digital marketing spending. We invest more and
                                                                                                                                  with Digital Media!
more into call driven marketing because calls influenced one trillion dollars in consumer spending in 2016 alone in the
US.                                                                                                                             Do You Need Call Analytics for

Call generated revenues are ten to fifteen times more than the web generated revenues in recent years according to                Your Pay Per Call Ads?
BIA/Kelsey. The research predicts that calls to business from smartphones will reach 162 Billion in revenues by 2019.           Most Usable Call Tracking
This makes integration between call analytic and digital platforms; a crucial part of understanding and enhancing the
ROI and gaining meaningful and fluid KPI analytics system. The connection between calls that turn into lead and                   Software
digital campaign that address the right audience in the right tone cannot be addressed enough.
                                                                                                                                Ringba vs Retreaver vs TrackDrive

We will discuss these sources in greater details so that you can use your provided call analytics in a more proactive           Call Analytics Comparison: Ringba
and aware fashion.
                                                                                                                                  vs Invoca vs DialogTech

Native Social
Native Social and
              and Call
                  Call Analytics:
                       Analytics:

In modern times, the call icon is growing more and more prevalent on social media ads as well as web pages.
Facebook has the option to place the call icon on any of their pages whether promotional or not. Facebook’s in-feed ad
revenue makes up for 73% of their total ads.

The growing consensus in the market is that call per click is a much better mechanism than click for further
information. Simply seeing a number does not mean that the person will actually dial the number as well. But seeing
‘call now’ icon will ensure that the action will lead to a successful consumer interaction.

These kinds of consumer interactions are much easier to turn into lead through successful conversions. Twitter,
Pinterest and Instagram have already begun placing ‘buy now’ buttons for commercial content and will soon move to
‘call now’ buttons as well. This simple move will push the online marketing industry into call oriented consumer
interaction in foreseeable future.

In terms of ROIs, this new development will make digital marketing a much more economical process. With
conventional marketing going flat in terms of revenue generation; modern digital marketing comes at an incredibly
low markup and gains are exorbitant in comparison. When social media marketing connects with ROIs; the results will
increase market revenue with only intelligent Omni- Channel marketing campaigns.


Landing Pages:
Landing Pages:
Landing pages are also developing an ROI oriented purview with call button. We personally found the process
interesting because landing pages are usually connected through Google ads. These ads are usually accessed during a
search and appear as a result of advertisement searches.

This leads to more direct lead oriented calls then those that come through social media. As the consumer is already
looking for the product or service; it is safe to assume that lead conversion is easier and much more likely. Also; they
consumer interaction becomes more lively when they come from the landing page as the website gives out much
more information and offers deeper discussion venue.

Social media profiles for a business do not cover as much ground on products, gran identity and KPI worthy data as
the landing page and website does. That means that landing pages are much more

Try and place only click to call option on some of the landing pages with no option to fill the form. This will push some
of your serious customers to have a conversation that builds customer relations.




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Keyword Spotting:
Keyword Spotting:
The system is so new, it’s barely understood. But when you customers are calling and you have an integrated inbound
call tracking mechanism in place; all of your calls are being monitored. When a word is spoken by the customer and
repeated by another customer; that becomes a spotted keyword. This is the first time in the history of modern day
marketing; that a keyword generating mechanism has been placed that basically allows the customer to decide the
keyword.

Before this time; marketing teams used to design the keywords that the consumer used to interact with. But these
keywords will be derived from the consumer experience the consumer will be deciding the keyword that goes into call
analytics.

These keywords will give marketers insights into how their products are being seen by the consumer. They will
understand their brand from consumer perspective and integrate their brand with that perspective to give their brand
an identity that the consumer relates with. This enhancement of the consumer driven identity will make the product
more appealing to the consumer through native social digital campaigns. The cycle this process creates enhances the
ROIs and makes KPI analytics more meaningful to understand.


Lead
Lead Management:
     Management:

Another factor that contributes to call analytics is management of the generated leads. The placement of lead
enhancement is easier than to manage the bulk of calls that are being invited through the integration campaign.

According to a recent California Association of REALTORS data, around 49% of consumers are not getting the active
response they anticipated. 94% of the consumers expect a response in less than an hour and around 20% of the calls
are not received by a human representative who would convert calls into leads.

This is a clear indication of the fact that lead generation is becoming much easier than lead management. With social
media being much too inexpensive for the masses, the process of gaining the attention of right audience has become
easier than to manage the audience. Around 31% of the callers to realtors abandoned their call in 2015 if the call
went to voicemail simply because consumers want their questions answered quickly.

This has also revolutionized the process of being a calling agent because now the best call agent is the one who is
straightforward. Pay Per Callers is the exclusive affiliate marketing forum for pay per call. Check it out and begin your
Pay Per Call journey today!


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Do You Need Call Analytics for Your Pay Per                                                                            7
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                                                                                                                                 fl Search


Call Ads?
 posted in: Call Analytics Setup |  0
                                                                                                                               Recent Posts
A commonly asked question among marketer, advertisers, business owners and call center managers is that, what is                Call Analytics: The Integration
the need of their customer? What are they looking for? What do they want?
                                                                                                                                  with Digital Media!
A simple answer to that would be quicker routing to the suitable and appropriate person or destination, a targeted and          Do You Need Call Analytics for
personal approach, good experience and interaction, and an easy access through any device.
                                                                                                                                  Your Pay Per Call Ads?
Now how would you know all these information because it is important but difficult to collect or capture. Customers
                                                                                                                                Most Usable Call Tracking
are also not at all shy anymore they are getting more and more bold with their demands and they won’t hesitate to
report a bad comment online about your product or services.                                                                       Software

So, you have to take extra safety measures to stop that from happening.                                                         Ringba vs Retreaver vs TrackDrive

                                                                                                                                Call Analytics Comparison: Ringba
Life is even harder if you have a job like call center manage. They have to deal with a lot of tough stuff like
recruitment and retention of agents, managing the call flow, etc. Realizing how tough your job already is we know you             vs Invoca vs DialogTech
would be delighted to get assistance.


So, How can You Get That?
Simple! By investing in a good call analytics platform. Usually pay per call networks provide with all the
necessary basic as well as advanced call analytics for your call center or business so you don’t have to worry about
that if you decide to work with a good pay per call network.

You may realize exactly how important call analytics is after you do.

Your agents would get the required assistance, you would get a good insight and control over call managements and
plus your customers would get the kind of experience and service that they are looking for.


Call Analytics
Let’s discuss what call analytics is. A good call analytics would let you track your inbound phone calls and monitor
them. It also includes assigning of tracking numbers, analyzing important data, real-time reports, monitoring key
performance indicator, etc.


Importance of Call Analytics
Imagine yourself investing in multiple ad channels with a small budget all you would want at that point would be to
have a knowledge about the channel that is generating the most revenue or phone calls for you. Call analytics gives
you exactly that.

Not only it benefits small or local businesses but it also has a lot of advantages for big businesses as well. They would
get first-hand knowledge and real-time reports regarding their services and customers satisfaction. They would also
be able to eliminate the channels that are not making them a considerable amount of profit.

Call analytics is a smart way of managing your marketing spends and with growing competition marketers and
advertisers are getting more and more inclined towards using it.


How Would You Know If You Need Call Analytics for Your
Pay Per Call Ads?


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callanalyticssoftware.com/do-you-need-call-analytics-for-your-pay-per-call-ads/                                                                                      1/2
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Even after knowing the importance of call analytics marketers and advertisers constantly debate over whether or not
they need it. For this purpose we have come up with a bunch of questions that you may want to ask yourself before
getting an expensive network for your business.

First of all, you should obviously look for the costs and benefits and come up with a valid reasoning if whether or not
investing in call analytics is good for your business or not.

After that you should ask yourself:

1. Is your revenue enough to justify your investment in call analytics? Do you have enough inbound phone calls
   volume creating your business a strong profit or revenue?
2. This is for those who are already using a call analytics platforms, you need to monitor if your current network or
   platform is helping your business or not?
3. After you have come up with the answers of above questions and you finally decide to make investment and use a
   call analytics for your business then you need to consider this: how much basic or sophisticated system do you
   require? Is tracking enough for you or you need more than that like conversation analytics?
4. After figuring out all that you may want to consider your resources. If there is anyone who wants to own the
   responsibility of managing the system for you or is there anyone that you find competitive enough to do it for you?
5. How is the integration of your call analytics platform with your previous system?
6. What is your definition of success when it comes to call analytics?

In short, if you choose the right one for your business then it could be the best deal you made ever in your business.

Yes!

It has that kind of power. However, you should consider good networks and platforms and make sure that you are
asking them all the right questions. If you are someone who has a lot to do with inbound phone calls and majority of
your revenue comes from that then you should definitely give it a go.


How to Start Working with Pay Per Call Networks
We realize that investing without knowing is a big deal and not many would want to do that so we have come up with
a great website, PayPerCallNetworks.com, to help you get connected with some of the best pay per call networks that
provide with excellent call analytics and tools for your business.

Especially if you are a newbie looking for valuable insights and reviews of leading pay per call businesses then this is
the website for you. Aside from reviews the website has a rich and diverse content that has helped many marketers
and is there to help many more.

It is a website built with genuine interest of helping people out with their problems and providing them a valid and
proper solution.


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Most Usable Call Tracking Software                                                                                   3
                                                                                                                  AUG 2018
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 posted in: Software Comparisons |  0

The concept of call tracking software is that it aids you in measuring and analysing your phone leads no matter where           Recent Posts
they are coming from whether online or offline ad campaigns.
                                                                                                                                 Call Analytics: The Integration
Call Analytics: A software or platform that lets you monitor your call through measuring the number of calls as well
as the quality of the calls or leads (which depends upon your set quality requirement) that are coming from any of                 with Digital Media!
your online or offline ad campaigns.                                                                                             Do You Need Call Analytics for

                                                                                                                                   Your Pay Per Call Ads?
How is
How is this
       this Done?
            Done?                                                                                                                Most Usable Call Tracking
A unique number is assigned to each campaign and when a lead calls that number gets displayed to you. This way you                 Software
know which of your campaigns are working and how are they performing. A call tracking software also integrates with
Google analytics or other web analytics so that you are able to see browsing data regarding each caller.                         Ringba vs Retreaver vs TrackDrive

                                                                                                                                 Call Analytics Comparison: Ringba
How is
How is Call
       Call Tracking
            Tracking Important
                     Important For You?
                               For You?                                                                                            vs Invoca vs DialogTech

People often fail to realise the importance of a good call tracking software but there are many ways in which call
tracking helps you so you need to make sure that you are using one because first of all, it makes you able to monitor
the performance of every campaign of yours no matter online or offline.

Wand secondly, without using any call tracking software for your help you would not be able to keep a record or track
of the ROI. With offline ads it is just not possible and even with online ones you need some kind of software for
monitoring how many of the leads are actually converting into calls. It also provides you with a transparency in the
overall customer journey so that you get to capture important insights and eliminate anything that doesn’t seem to be
beneficial.

Other than all this call tracking lets you coach your staff by monitoring their interaction with the customers and
teaching them about the techniques that are needed to engage the customer in a helpful as well as useful
conversation.


Most Usable Call Analytics Software Platforms
Your only job is to look up different softwares that suit your requirements and for that we are helping you by providing
a list of softwares based upon their Call Analytics Usability.


Ringba
Ringba is one of the most efficient and remarkable call tracking software available that provides with the best level of
call tracking. It lets you track the sources of any of your offline and online call and even connects you from offline to
online customer journey so that you are able to monitor each step. By monitoring the conversation you get to have a
better understanding of the customer’s mind-set.

It has Dynamic Number Insertion technology as well. Through this a number is set up on the website and whenever a
user clicks that they get directed to a landing page and from there they either call the number and buy your product
or with their visits you get to figure out their interests etc. so that you are able to make a more targeted approach to
them.

Ringba is very wholesome Call tracking software and if you choose Ringba you would get to experience all the useful
features which include: Call recording, call routing, IVR, etc.

To learn more about Ringba Call Analytics Software, visit www.Ringba.com




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CallRail
CallRail is also a very helpful call tracking software which lets you measure your leads coming from various sides. The
most advanced and new feature of CallRail is its call analytics dashboards that lets you see what your lead do before
the call, between the call and after the call through a visual representation which enables you to make trends looking
at your call info. Features of CallRail also includes call recording and basically all the basic tools required plus you can
maintain multiple location and clients that too from a single account. CallRail hence, lets you improve the ROI of your
company and chose and do better with your ad campaigns. as per the users it is an intuitive software. It also has a
visitor and keyword level tracking.

To learn more about CallRail, visit www.callrail.com


CallTrackingMetrics
CallTrackingMetrics is a call tracking software that deals with both inbound as well as outbound calls and has made it
easy to track the calls overall. It lets you monitor the campaigns and the source that is making most of the calls.

Some of its features include:

  Keyword spotting
  Marketing call tracking

• Conversation analytics
• Smart routing
• Geo contact
• Call security.
CallTrackingMetrics is software designed for call centers, big and small business and is effectively helping them in
increasing their ROI with all the above mentioned advanced features.

To learn more about CallTrackingMetrics, visit www.calltrackingmetrics.com


Invoca
Invoca is a call tracking software and a popular one among the marketers. It is cloud based and lets you know the
conversion from leads to callers using its artificial intelligence. Invoca has a call routing feature that lets you connect
your customer with the best possible person available for them by looking at the location etc. of the customer. This
way the customer gets to have a personalized and better interaction with your agent and the chances of them turning
into a buyer increases. Invoca is also known to have a seeding ability in Facebook through which they expand their
reach of the audience. Some of the important features of Invoca includes cloud IVR, caller identification etc.

To learn more about Invoca, visit www.invoca.com


DialogTech
DialogTech is a call tracking software that also provides with a good level of call analytics and other automation tools.
DialogTech has a benefit in call attribution as well. It has various useful tools for call tracking that lets you see the
whole customer journey. DialogTech features include: custom insights, conversation analytics, call and marketing
attribution, hosted IVR, etc. It is recommended specifically the sales, marketing and support teams for digital
agencies and in-house marketing team for enterprise companies.

To learn more about DialogTech, visit www.dialogtech.com


Conclusion
In conclusion, with slight variation in their pricing these are some of the platforms that provide you with the best call
tracking and help you to optimize your revenue and increase your ROI.

Based on these factors, we recommend that you choose Ringba as your Call Analytics Software. Rated #1 on G2Crowd
for ‘easiest-to-use’, and outperforming competitors in pricing and support, Ringba is the best call analytics software
on the market.

Get started for free with Ringba




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CallRail Alternatives, CallTrackingMetrics, DialogTech Alternatives, Invoca Alternatives, Ringba


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Ringba vs Retreaver vs TrackDrive                                                                                    3
                                                                                                                   AUG 2018
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 posted in: Software Comparisons |  0

Before we move onto the Call Analytics Software Comparison let us first see what it actually is. Call analytic                  Recent Posts
software is something that aids you in analysing your calls. There are various softwares available today that helps you
with managing and measuring your phone calls whether made through landlines or mobile. Call analytics software                   Call Analytics: The Integration
provides with call tracking, call routing, call attribution and recording etc.
                                                                                                                                   with Digital Media!
All these functions benefit you in providing a good customer journey and also provide you with valuable insights and             Do You Need Call Analytics for
data regarding the callers and the campaigns you are running. Using all the information and insights you can monitor
the amount you spend on your different ad campaigns and then you can choose the one that is driving the most calls                 Your Pay Per Call Ads?
and spend the most on that one. The ones that are not active you can discontinue them.                                           Most Usable Call Tracking

But choosing the right Call Analytics Software is the important thing so here we have compared the three Call                      Software
Analytics Software For you, take a look.
                                                                                                                                 Ringba vs Retreaver vs TrackDrive

Ringba
Ringba –
       - RECOMMENDED
         RECOMMENDED                                                                                                             Call Analytics Comparison: Ringba

                                                                                                                                   vs Invoca vs DialogTech




                                                         Ringba
https://www.ringba.com/

Marketers are in search of something wholesome and with Ringba they get one. Ringba is an intelligent and unique
technology build by keeping different aspects in mind because it has the best call tracking and analytics tools and
provides the users with a very wholesome experience through its various useful features. Ringba can also manage the
call flow and hence is good analytics software for a call center specifically.

One of the best features of Ringba is that it will provide you with real-time reporting and not just that it is also known
to attribute the data stored with the callers so that when they get connected to the agent they get to experience a
personalized interaction. Ringba also provides you with customizable analytics option so that you are able to choose
the best for your company.

Some of the many benefits of Ringba include the detailed report about the callers so that the ROI of the company
increase and you get to optimize and use it to your fullest. Then it is also known for management of call flow that too
worldwide. There is a less waste of leads from the sources.

Features of Ringba:

   Call recording
   IVR
   Keyword tracking
   Caller identification
   Call routing

• Conversion tracking



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callanalyticssoftware.com/ringba-vs-retreaver-vs-trackdrive/                                                                                                          1/4
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• Campaign management
Ringba is a very efficient software with a good pricing structure and their customer support is one of the best in the
market that is why there are no negative comments about it anywhere and we recommend it hundred percent.


Retreaver




https://retreaver.com/

Retreaver is basically a call intelligence platform and provides with the best call intelligence tools for the marketers.
Retreaver is well known for its useful tools in big, small businesses, agencies etc.

When people choose to use a tool for call tracking or call analysis they do it for mainly two reasons. One, that they
want a good interaction with their customers so that they are satisfied and happy and two, you want the data from
the calls to make progress in your future plans. Retreaver allows both of it. With Retreaver you are able to provide a
personalised and satisfied experience.

Like many other softwares and platforms Retreaver is also cloud based. It allows call tracking and with the data you
captured you would be able to check how your campaign or campaigns are working. When you know about the
performance of your campaigns you are able to make the amends that may increase the ROI of your company.

Some of the features that Retreaver provides you with includes their call tracking tools that lets you track the
important data and information which lets you capture important insights from every call. Its call routing lets you
connect your customers with an agent that is best suited for them. Another new feature of Retreaver is that it has a
pre-screen for the personalized conversation you get through offline and online sources. Marketers are always looking
for something smart like Retreaver so in that part Retreaver is a good choice. However, it is reviewed by the
customers that a few real-time features such as listening to the conversation for the managers to be added and there
is currently no billing feature.


TrackDrive
TrackDrive




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TrackDrive
https://trackdrive.net/

Trackdrive is a solution that has helped many marketers in building the ROI of their company. It is best known for its
call tracking and call analytics. It helps connect the customers to the right person available for them so that they have
a good and productive interaction and the chances of them turning into a lead get much higher this way. Besides it
tells you about the details like, who the caller is and why they are calling and even records it so that you are able to
monitor it later and form put strategies for your later campaigns etc.

Some of the features that TrackDrive provides you with are:

Call tracking: their call tracking tracks sources whether they are online or offline, URL keywords or custom tokens.

Lead scheduler: it is a very valuable feature because it helps in converting leads into calls by scheduling the leads with
the contacts and sending Emails, SMS, etc.

Hold Queue and Caller Call Back: this basically enables you to never miss a lead and always no matter if the agents
are busy etc. because you can always call them back when the agent become available through this feature.

Also, they provide you with multiple numbers. They have Dynamic Number Insertion Technology which helps you put
a number on your website and when a visitor clicks that number they will be landed on your page or get connected
with your agent. TrackDrive helps you in optimizing your revenue and making the most out of your advertisements.

Over all TrackDrive is a good tool for someone who is looking for something to manage their calls and data but Ringba
ensures you that you will get to have a wholesome experience.




Retreaver Alternatives, Ringba, TrackDrive Alternatives


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Call Analytics Comparison: Ringba vs Invoca vs                                                                        3
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DialogTech
 posted in: Software Comparisons |  0
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Everyone today is aware that the competition in the market is way too high and a small mistake can ruin the whole                 Call Analytics: The Integration
business. If not ruin the investment would not be returned efficiently. So, for this reason marketers and businessmen
                                                                                                                                    with Digital Media!
try to do the best and optimize their resources as much as they can. Even today people argue whether they need call
analytics software or not. We recommend using it one hundred percent.                                                             Do You Need Call Analytics for

You might be wondering what exactly call analytics software is? It is the recent trend in the market and business                   Your Pay Per Call Ads?
which helps you and collects data and trends then examine all of the information of your campaigns for you. Be it                 Most Usable Call Tracking
online marketing or offline marketing. This information and collected data regarding your campaigns help you get
know-how of your ROI and may improve it as well. Besides it is the most useful tool if you want to know which of your               Software
campaigns are doing well and which are not.
                                                                                                                                  Ringba vs Retreaver vs TrackDrive

Here we bring to you a call analytics software comparison: Ringba, Invoca and DialogTech. So that it helps you                    Call Analytics Comparison: Ringba
make your decision regarding which of the call analytics software you should be choosing.
                                                                                                                                    vs Invoca vs DialogTech

Ringba
Ringba




                                                          Ringba
It is an advanced call analytics, tracking and routing platform. Through Ringba you would be able to track calls and
collect important information which would help in concluding results for you which in turn would increase the ROI of
the company. It not only manages online marketing efforts but offline marketing efforts as well.

Ringba is truly call analytics software and it is able to collect all the possible information regarding the number that is
calling you or the numbers you are calling to. The data gathered is important and authentic and the best part about it
is that it is done in real-time which means as soon as the analysis ends the information or data is provided to you
digitally so that you have an insight of your callers and numbers. In Ringba you can custom the whole analytic
process. This is important for your business as you get to choose the best techniques and methods that work for you.
You get cap volume configuration according to your timetable and needs, landing page, location, ISP, bowser, caller ID
and other programs.

Other than this Ringba is an all-rounder software and provides with dynamic number routing, volume caps,
concurrency, productivity etc. it has a feature that can monitor agents in different campaigns and based on that you
get to have many benefits like maintenance of a productive system in your business.

Benefits of Ringba are that it provides you with detailed information regarding the caller, helps in optimizing
advertising and improving ROI. It can manage call-flow worldwide and with Ringba you are assured that there is less
wastage of sources which helps in increasing the number of opportunities for your business etc.




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Some of the features of Ringba include: call recording, IVR, keyword tracking, caller identification, call routing,
conversion tracking and campaign management.

Ringba prices are competitive and looking at the services that it provides it has a good pricing plan.

Reportedly there is no con in this software which truly makes it the best among all.

https://www.ringba.com/


Invoca
 nvoca
lnvoca




                                   The power of talk




Invoca is basically a call tracking software and it is cloud based. This helps marketers to gain insights related to the
calls that too in real-time. This lets marketers generate a caller profile which helps in understanding the buyer’s intent
that whether they really want to buy or not.

Invoca is also a great tool for converting a visitor into a buyer as it lets the marketing agents learn about their caller’s
details by automatically collecting important information through artificial intelligence which results in a fruitful
interaction between the caller and the agent and so the chances of tuning into a lead is high.

Other than this Invoca routes calls to a specific person that can best handle the call. For this custom set up is done
and following the rules calls get directed to the best possible person which also results in a good interaction.

Benefits of Invoca is that it is an intelligent platform that lets you have an insight regarding the calls, it allows
campaign insights that which of the source is doing well and which is not which helps in eliminating the ones that are
not active, personalized experience and a magnified reach as they are able to expand the audience of the clients
through using their seeding ability in Facebook.

Invoca’s features include: call tracking, caller identification, cloud IVR, call caps, campaign monitoring, call routing,
Partner management, API integration, conversion tracking, real-time reports and call assessments.

Even though Invoca has a competitive pricing but it is still more than other platforms and the calls are high quality but
not as targeted as it should be and also their dashboard is rather busy.

https://www.invoca.com/


DialogTech
DialogTech




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~ ialogtech,,
DialogTech performs as a call analytics and automation tool and is basically a voice management platform. It helps its
users in mobile marketing and drive call leads and conversions as well. This is a solution for specifically sales,
marketing and support teams of digital agencies and enterprises and helps them in increasing the ROI of their
company.

Its benefits include call attribution data and an integrated voice based marketing. It also lets you see through the calls
by using its tools. T also has call tracking tools and lets the caller to interact in a better manner with great insights.

Some of the features of DialogTech includes: call attribution and marketing attribution, custom insight, conversation
analytics and hosted IVR.

There is no major disadvantage or con of this software; it is a good software but not as outstanding as Ringba that too
with almost the same pricings.

https://www.dialogtech.com

DialogTech Alternatives, Invoca Alternatives, Ringba


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             CALL ANALYTICS
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Call Analytics Comparison: Ringba vs CallRail                                                                          3
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vs CallTrackingMetrics
 posted in: Software Comparisons |  0
                                                                                                                                Recent Posts
Call Analytics Software has become the need of big or small business and call centers because the managing of calls              Call Analytics: The Integration
and the extensive data related to the caller that is needed for the improvement of the ROI is not that easy and being
                                                                                                                                   with Digital Media!
humans we are more prone to making mistakes than the software. For this purpose there are many types of software
available these days which helps in aiding the operation related to the call center.                                             Do You Need Call Analytics for

So for this purpose we have brought to you a call analytics software comparison between Ringba, CallRail and                       Your Pay Per Call Ads?
CallTrackingMetrics so that you are able to make the right decision for your business. Here take a look!                         Most Usable Call Tracking


Ringba
                                                                                                                                   Software
Ringba                                                                                                                           Ringba vs Retreaver vs TrackDrive

                                                                                                                                 Call Analytics Comparison: Ringba

Just as different as the name suggests Ringba is one of the most efficient call tracking, analytics and call routing               vs Invoca vs DialogTech
software available that is also able to maintain the call flow of the calls that too worldwide.

Ringba is the software that lets you have a transparency into the whole call journey and so you get an insight which is
not available anywhere that easily. It is the complete software that allows you to handle different aspects of your
company. It tracks the sources of the calls and gathers all the important information whether it is from online
marketing or from offline marketing. This improves the ROI of your company.

Its call analytics software includes collection of all the available data that too in real time which helps in many ways as
the data is provided to you in the digital form it allows you to see through the customer experience.

The most efficient feature of Ringba is that it has custom analytics program which lets you select the methods and
solutions that work for you setting. The configuration in Ringba’s analytical program lets you set a target option or
groups and the target performance. With Ringba you are able to configure your caps volume as per your time and
requirements. The routing plan for Ringba allows customers to be connected to the best agent according to their time
and need resulting in good interaction.

There are several benefits of Ringba for example it is the ultimate solution when it comes to call tracking, letting you
know the source from where the inbound call is generated. It gives an extensively detailed data regarding the caller
and maximizes advertising as well as ROI of your company. Ringba is efficient for small business and big businesses
both.

Some of the features of Ringba include

Caller ID, call routing, call recording, campaign management, conversion tracking, IVR, keyword tracking etc.

Ringba is the best call analytic software present today as the users regard it and there are no disadvantages or
problems reported till date.

https://www.ringba.com/




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                                                         Ringba
CallRail
CallRai
Call Rail

When it comes to call tracking and analytics CallRail is a good choice to make. It is an intelligently intuitive call
tracking tool and the data regarding to the callers it provides you with is very useful. It allows you to measure call
conversions and where they came from whether online or offline or digital marketing campaigns which lets you
monitor your resources. It also has a call recording feature which gives you access to quality leads, efficient customer
service and lets you coach your staff as well.

With CallRail you get to see through the whole customer journey from starting to the end of it. It also plays with the
audience as it often targets the audience that might have the need of your product. CallRail also lets you maintain
multiple locations, clients etc. that too from a single account. All this helps in building and improving the ROI of your
company. Also, it is easier to set up and has a customizable call option.

One important aspect of CallRail is its call Analytics Dashboard which is a visual representation of the calls and helps
in building the trends for you. It also shows the actions taken before and after the calls by user.

Features of CallRail include: Dynamic number insertion DNI, call recording, Agency call tracking, Keyword and
AdWords call tracking, In-depth caller context, customer call flow, static and offline call tracking, local and toll-free
number, visitor and keyword level tracking, call analytics Dashboard, Email notifs, Visitors timeline, SMS or voicemail,
Call follow up and lead capture.

One of the cons of CallRail is that if you are using it through your iPhone and you have to listen to the messages etc.
you cannot do that without your headphones. And some faced minor problems while setting up the numbers though
their support team was responsive and helpful.

https://www.callrail.com/




CallTrackingMetrics
CallTrackingMetrics


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CallTrackingMetrics is a notice worthy solution when you are looking for a good call tracking, analytics platform for
your big or small business o call centers etc. It has made it easy to keep the track of your calls, numbers and their
sources no matter online offline or via digital marketing. It lets you track your outbound as well as inbound calls which
help in monitoring and maintaining the financial aspect of your company which allows you to plan accordingly.

This is targeted for improving the ROI and sales of your company. This has all the tools required by a company
especially call centers. It lets you know the quality of the call and the possibility of its conversion. It allows to even
monitoring your ads for you so that you know which of your ads are actually working and which are not, using this
you can take control of your marketing spend and make the ads more targeted.

Some of the features of CallTrackingMetrics are: keyword spotting, marketing call tracking, and conversation analytics,
smart routing, call center, geo contact and call security.

There are not many cons but if you would have to choose we would recommend Ringba.

https://www.calltrackingmetrics.com/




~ CallTrackingMetrics

CallRail Alternatives, CallTrackingMetrics, Ringba


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Call Analytics and Metrics You Need To Be                                                                              2
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Tracking
 posted in: Call Metrics |  0
                                                                                                                                  Recent Posts
With a growth of about 110 percent in calls to local businesses via paid ad campaigns, searched keywords and PPCs                  Call Analytics: The Integration
from 2014 have resulted in measures to be taken to improve business received from phone calls.
                                                                                                                                     with Digital Media!
Call tracking analyzes local and international phones calls for search keywords which help Search Market Optimization              Do You Need Call Analytics for
easier and improve your website with the keywords your customer has been looking for. There are also many other
features of call tracking such as call attribution, call routing etc. But today, here we will be talking about call tracking         Your Pay Per Call Ads?
metrics and how they help optimize your marketing strategies to maximize sales.                                                    Most Usable Call Tracking

So, if you have are using Call Tracking software, now it is time to look at factors which help you optimize yours better             Software
and fill the gap between you and your customers.
                                                                                                                                   Ringba vs Retreaver vs TrackDrive

What are Call Tracking Analytics Metrics?                                                                                          Call Analytics Comparison: Ringba

                                                                                                                                     vs Invoca vs DialogTech
Call Tracking Analytics and Metrics are factors which are associated with phone calls such as call volume, duration of a
call and so on. Let’s have a look at how these metrics help you understand marketing deeply.


Call Volume
Since call attribution is made easier by call tracking softwares you will be able to view which marketing campaigns or
which ads drove your customers to the specific calls. This helps you have a better understanding of which marketing
campaigns are working and which aren’t. Gives you a deeper insight and understanding ROI (Return on investment).
Therefore this will help you invest more in the right campaign and grow your business flourishly.


First-time Callers
Callers are certainly an asset to your inbound business. This metrics shows you which callers are calling for the first
time so they need to be held with care so your call routing system directs them to your best marketing agent. Also,
once again it shows which marketing campaign is getting you new customers and which is not.


Call Duration
Very important metric, helps consumers understand customer psyche better. Do you want to know the exact time
before which your customer gets skeptical and leave? Or the duration your caller stays in connection with your agent
before he is not interested anymore? Well say no more. Call tracking softwares can be used to determine the duration
and listen to all the calls which went to waste so that you can build up better rebuttals.


Call Time of Day & Location
Like other metrics, this metric is one of the most important metric. Would you like to know the area where your
business is being popular? Would you like to know the time of the day when your business receives most of it calls?
Well Call source reports show you each and every statistics about where your callers are calling for and the most
popular time as well.


PPC Landing Page Performance




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Your caller has two options when he / she lands on your PPC page, either to fill out the form or to pick up the phone
and give your business a call. So call tracking to the right PPC is important. Without call tracking you will not be able
to trace the calls received to analyze your marketing campaign.


How Call Tracking Metrics can be Useful?
Any smart business owner would keep a check on his investment and the profit he is getting out of his marketing
campaigns. Marketing campaigns which are not responding need to be altered. Call tracking metric reviews tells you
how ROI (Return on investment) is working for you. For example PPC Landing Page Performance can tell you which
PPC ads are working out for you and which ads you need to improve.

You can start using more successful search keywords to improve your PPC ads. Call tracking metrics help you
understand your customer’s psychology as well. For example call durations can tell you how long a customer does
waits before he or she gets skeptical. Metrics provide a deeper understanding on marketing campaigns and how to
maximize your ROI.


How Call Analytics Helps Your Business Out?
Call analytics are systematic computational factors which assist companies to understand advertising performance and
optimize marketing strategies to maximize sales or leads. Call analytics provides you the geographical location of your
caller and advertising source. Better understanding of call analytics helps business owners to ROI (return on
investment).

Furthermore, Call analytics drive the metrics necessary to define better working marketing campaigns and fix the
other campaigns which are comparatively not working well. Alter campaigns, add proper search keywords and keep
them distinct.

Call analytics includes:

  Call recording
  Call reporting
  Call tracking
  Lead scoring
  Lead captures
  Lead management
  Data mining
  Real-time intelligence

Call tracking analytics offer you valuable information about the caller also provide you the opportunity to call them
back for more information provided you keep a reminder.

Call analytics are essential to current day call centers and successful lead conversions. With reviewing calls are help
understand marketing better, call analytics help Search Market Optimizers to generate valuable reinvestment
strategies for business owners.

Call analytic programs will integrate with Customer relationship management and drive you out the data such as
dialers name and his geographical location. Software fetches you the email address and PPC tracks or any online form
he / she might have filled.


Pay Per Call Based Advertising
Call analytics also help outbound call agents to improve their daily phone calls. Pay Per Call Marketing and Advertising
has drastically increased from 2014 as smartphone users have increase by 110 percent. Call analytics can be used to
measure the amount of successful text messaging campaign or the right pitch your agents have been using.

Rebuttals are very hard to calm down a skeptical customer where as you can always use call analytics to write
yourself the best script that doesn’t make your customer skeptical.

• Online ads
• Mobile marketing
• Social networking
• Direct marketing



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All these measures help call-based advertising effective. You can always alter metrics and analytics to your need and
optimize your business accordingly. Call tracking metrics reviews show a drastic increase in use of call tracking since
2018 Spring.


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The Best Call Analytics and Tracking Platforms                                                                      10
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 posted in: Analytics Platforms, Best Of, Software Reviews |  0

Increase in smartphones has resulted in more phone calls and the respect phone calls always deserved is now being               Recent Posts
given to them. We never did realize how important phone calls can be to our business or to the digital marketing
world. Call tracking works on basic principle of analyzing phone calls your business receives which help you work on             Call Analytics: The Integration
your marketing campaign.
                                                                                                                                   with Digital Media!

                                       Number of smartphone users worldwide from 2014 to 2020 (in billions)                      Do You Need Call Analytics for

                                                                                                                                   Your Pay Per Call Ads?

                                                                                                                                 Most Usable Call Tracking

                                                                                                                                   Software

                                                                                                                                 Ringba vs Retreaver vs TrackDrive

                                                                                                                                 Call Analytics Comparison: Ringba

                                                                                                                                   vs Invoca vs DialogTech




Record, make and analyze your phone calls using call analytics. Get to know the perfect and most successful keywords
for your local or international business. Call Tracking is not only for call center whereas even a lawyer can use to
improve his advertisements online. Call analytics work with keywords, which keywords are successful and then they
improve your ads online. They even trace the calls back from the first click which resulted in the customer to be at the
page where they needed to be to call you. Google Ads, Television commercials, social network promotions etc.


What is Call Analytics Software used for?
Call analytics software enables users to analyze record, search keywords, understand and route calls to a businesses
need. Call analytics software enables companies to understand the outcomes of their marketing strategies and which
of their marketing campaigns is working effectively. On the other hand it can also help a company understand how to
fix their marketing campaign. There are many call analytics platforms and we will be reviewing them is a short while.

Call analytics software; call attribution, call routing, call tracking metrics and call analytics are few of the most
important features of call analytics. We will be reviewing the best call analytics tools on the basis of these features
and the best ranking.


Examples of Call Analytics and Tracking Metrics?
Call analytics tracking metrics are factors which are associated with phone calls such as call volume, duration of a call,
call volume, First-time callers, and call time of the day and location of the caller.

Call analytics are systematic computational factors which assist companies to understand advertising performance and
optimize marketing strategies to maximize sales or leads. Call analytics provides you the geographical location of your
caller and advertising source. Better understanding of call analytics helps business owners to ROI (return on
investment).


Top Call Analytics Software Companies
Here are some of the top platforms for setting up tracking and getting call analytics:




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callanalyticssoftware.com/the-best-call-analytics-and-tracking-platforms/                                                                                             1/3
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Ringba: The only call analytics software with native user data and
analytics
Ringba is the leading call analytics software and it’s no surprise why. As the only platform with native user data
tracking and the best pricing; it should be your go-to Call Analytics Tool for managing everything from local and toll
free numbers around the entire world, tracking performance and conversions seamlessly with the rest of your
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                                                                                                         Next Post




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The Ultimate List of Call Analytics Software                                                                       23
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Platforms                                                                                                                      Recent Posts
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                                                                                                                                Call Analytics: The Integration
Call analytics would not be a new term for you if you are associated with call centers, agencies or IT departments,               with Digital Media!
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described as the data of tracked phone calls being measured, collected, analyzed and reported. The information                  Do You Need Call Analytics for
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advertisements. Marketers use call analytics to basically measure, manage and analyze the marketing performances
which results in an increased productivity and ROI (Return of Investment).                                                      Most Usable Call Tracking

                                                                                                                                  Software
For all of this work it is surely not an easy task to manage them that too with efficiency and accuracy, humans
obviously need a tool to perform this job. Call Analytics Software is one such tool. But with the increasing competition        Ringba vs Retreaver vs TrackDrive
buyers and marketers have become more and more aware and demanding. They want the quickest and best tracking,
analysis and routing tools for their rescue. Keeping this in mind I have come up with a list of the best call analytics         Call Analytics Comparison: Ringba
software present since the job of pleasing a customer is not an easy one, they would not think for a single moment                vs Invoca vs DialogTech
before writing a negative review about the company.

Following are these call analytics software:


RINGBA ** Recommended **




                                                         Ringba
Ringba is an advanced call analytics platform. It provides the customer with best available call analytics which results
in an increased ROI (Return on Investment). Especially if a call center is using it because it handles call flow really
well. The Ringba platform even lets you track calls, conversations and data of the caller so that you are able to build
your campaigns using these informations.

Ringba | Enterprise Call Tracking Software


RESPONSETAP



                                                                        Page -30-                                                         Exhibit 3
callanalyticssoftware.com/category/best-of/                                                                                                                          1/9
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                                   response
                                   tap™
It is intelligent software that connects the journey of the customer to the phone calls which helps the marketers to
understand the call value in a better way. Many of its features include: call recording, and a new plus unique dynamic
call routing. Advanced features include: whisper messages.” Many other tools are also present to make the journey of
customers pleasant.




ResponseTap: Call Tracking Software | Intelligent Call Tracking


RINGROUTER




     9 RING ROUTER

It is a very helpful call analytics platform available which helps in providing best and qualified leads to the company. It
generates lead through both offline and online sources. Its main feature also includes an automated IVR. And the
software provides with a comprehensive report of the data derived from the calls.

https://www.ringrouter.com/


ADSOURCE




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 Source
 Advertising I Marketing I Web
A very efficient software available that not only helps its customer track but analyze the calls which then helps in
understanding as to which of the company’s campaign is doing well and which is not. It can link any inbound calls to a
particular website, ads, online or offline advertisement campaigns. They are providing the latest of tools like the
recent click to call option available for mobile users etc.

Ad Source Outdoor


CONVIRZA




                            conv1rza
Convirza is the best software available when it comes to call analytics. It has a feature that provides the company with
pre-call, in-call and post-call tracking and conversation analytics. Not only online but offline sources are also easily
tracked and analyzed through this software. An additional important feature is its Spam Call protection that is
basically an efficient automatic and adaptive protection service.

Call Tracking Metrics & Measurement • Convirza


CALLCAP

                                                 ...
          C ALLC A ?
CallCap efficiently provides its customer with one of the best call tracking and analytics. It records, monitors and
measures a call easily. Some of its advanced features include: call routing, IVR, tools available for broadcast
messaging and automated calls. The software also has a call survey program that records and analyzes the customer
interaction efficiently.




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See callers become customers • Callcap


INVOCA




                                  The power of talk




It is a software that enables agencies and marketers to gather up data and actionable insights from the phone calls to
analyze and utilize them. They use this information to maximize their revenue and also provide a more personalized
experience with the customers. This allows users to capture more and more range of audiences which is beneficial for
the agency as well.

Invoca | Call Tracking & Analytics – 1-888-989-4996


RINGLEAD




                         RINGLEAD
RingLead is a software that is very comfortable to use by the marketing and sales professionals. It provides with the
best and productive features. It has additional products and these products allow standardizing contact records,
cleaning database etc. This is one of the most trusted network available worldwide.

RingLead – The #1 Data Quality Platform for Sales and Marketing


DIALOGTECH




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If an agency or business needs insights and data recorded and analyzed of a call, DialogTech is the best call analytics/
tracking software available these days. It helps in making more leads and increased Marketing ROI (Return of
Investment). Not only provides call analytics but call attribution as well. As it is an advanced software it provides with
click to call ad option a well.

DialogTech: AI Call Tracking & Analytics for Marketers


MARCHEX




Marchex is call analytics software that provides its users not only the best analytics tool but keyword level attribution
from any source. Like any other advanced software they also have a click to call option. It has made the measuring of
the ROI better. Its social analytics tool help identifying the callers coming from social media platform which helps in
reviewing the kind of audiences that is being influenced by their campaigns so to target their next campaign more
toward them.

Marchex: The leading provider of Call Analytics & Call Tracking …


CALLRAIL




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                        Call Rail
CallRail is well known call analytics software present that is not only easy to use but is very efficient as well. Its setup
is easy, it has a competitive price and detailed calls analyzed and tracked through it, what else does a company
needs?

CallRail


TELMETRICS




                        . "
                te Imetrics
Another best call analytics software available that is providing its customer efficiently. It has all the basic and
advanced analytics tool that are being used now a days. It has various features which includes, call recording, tracking
etc.

Powerful Call Tracking Software | Telmetrics | Call Tracking for …


CALLSOURCE




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                     CallSourcee


One of the best call analytics software available that is famous for its features. Its best call analytics tools allow good
lead management. This advanced level of analysis improves the ROI (Return of Investment) of a company.

CallSource




The Best Call Analytics and Tracking Platforms                                                                              10
                                                                                                                           JUL 2018

 posted in: Analytics Platforms, Best Of, Software Reviews |  0

Increase in smartphones has resulted in more phone calls and the respect phone calls always deserved is now being
given to them. We never did realize how important phone calls can be to our business or to the digital marketing
world. Call tracking works on basic principle of analyzing phone calls your business receives which help you work on
your marketing campaign.


                                       Number of smartphone users worldwide from 2014 to 2020 (in billions)




Record, make and analyze your phone calls using call analytics. Get to know the perfect and most successful keywords
for your local or international business. Call Tracking is not only for call center whereas even a lawyer can use to
improve his advertisements online. Call analytics work with keywords, which keywords are successful and then they
improve your ads online. They even trace the calls back from the first click which resulted in the customer to be at the
page where they needed to be to call you. Google Ads, Television commercials, social network promotions etc.


What is Call Analytics Software used for?
Call analytics software enables users to analyze record, search keywords, understand and route calls to a businesses
need. Call analytics software enables companies to understand the outcomes of their marketing strategies and which
of their marketing campaigns is working effectively. On the other hand it can also help a company understand how to
fix their marketing campaign. There are many call analytics platforms and we will be reviewing them is a short while.

Call analytics software; call attribution, call routing, call tracking metrics and call analytics are few of the most
important features of call analytics. We will be reviewing the best call analytics tools on the basis of these features
and the best ranking.




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Examples of Call Analytics and Tracking Metrics?
Call analytics tracking metrics are factors which are associated with phone calls such as call volume, duration of a call,
call volume, First-time callers, and call time of the day and location of the caller.

Call analytics are systematic computational factors which assist companies to understand advertising performance and
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Software Reviews

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The Best Call Analytics and Tracking Platforms                                                                      10
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                                                                                                                                 Do You Need Call Analytics for
                                       Number of smartphone users worldwide from 2014 to 2020 (in billions)                        Your Pay Per Call Ads?

                                                                                                                                 Most Usable Call Tracking

                                                                                                                                   Software

                                                                                                                                 Ringba vs Retreaver vs TrackDrive

                                                                                                                                 Call Analytics Comparison: Ringba

                                                                                                                                   vs Invoca vs DialogTech




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Call Box: A human element within call analytics




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                                                                                                 Analytics Software
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A call tracking and marketing analytics that works to increase the effectiveness of campaigns and help them in
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The Ultimate List of Call Analytics Software                                                                       23
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Platforms
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Call analytics would not be a new term for you if you are associated with call centers, agencies or IT departments,             Call Analytics: The Integration
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                                                                                                                                  with Digital Media!
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advertisements. Marketers use call analytics to basically measure, manage and analyze the marketing performances
                                                                                                                                  Your Pay Per Call Ads?
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                                                                                                                                Most Usable Call Tracking
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                                                                                                                                Ringba vs Retreaver vs TrackDrive
analysis and routing tools for their rescue. Keeping this in mind I have come up with a list of the best call analytics
software present since the job of pleasing a customer is not an easy one, they would not think for a single moment              Call Analytics Comparison: Ringba
before writing a negative review about the company.
                                                                                                                                  vs Invoca vs DialogTech

Following are these call analytics software:


RINGBA ** Recommended **




                                                          Ringba
Ringba is an advanced call analytics platform. It provides the customer with best available call analytics which results
in an increased ROI (Return on Investment). Especially if a call center is using it because it handles call flow really
well. The Ringba platform even lets you track calls, conversations and data of the caller so that you are able to build
your campaigns using these informations.

Ringba | Enterprise Call Tracking Software


RESPONSETAP




                                                                          Page -42-                                                       Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                                                    1/7
11/22/2019Case 2:19-cv-06814-DSF-KS      Document
                                The Ultimate               27-2 Software
                                             List of Call Analytics FiledPlatforms
                                                                           12/02/19          Page
                                                                                   - Call Analytics    41 of 290
                                                                                                    Software                       Page
                                                                           ID #:618




                                   response
                                   tap™
It is intelligent software that connects the journey of the customer to the phone calls which helps the marketers to
understand the call value in a better way. Many of its features include: call recording, and a new plus unique dynamic
call routing. Advanced features include: whisper messages.” Many other tools are also present to make the journey of
customers pleasant.




ResponseTap: Call Tracking Software | Intelligent Call Tracking


RINGROUTER




     9 RING ROUTER

It is a very helpful call analytics platform available which helps in providing best and qualified leads to the company. It
generates lead through both offline and online sources. Its main feature also includes an automated IVR. And the
software provides with a comprehensive report of the data derived from the calls.

https://www.ringrouter.com/


ADSOURCE




                                                                          Page -43-                                           Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                         2/7
11/22/2019Case 2:19-cv-06814-DSF-KS      Document
                                The Ultimate               27-2 Software
                                             List of Call Analytics FiledPlatforms
                                                                           12/02/19          Page
                                                                                   - Call Analytics    42 of 290
                                                                                                    Software                    Page
                                                                           ID #:619




 Source
 Advertising I Marketing I Web
A very efficient software available that not only helps its customer track but analyze the calls which then helps in
understanding as to which of the company’s campaign is doing well and which is not. It can link any inbound calls to a
particular website, ads, online or offline advertisement campaigns. They are providing the latest of tools like the
recent click to call option available for mobile users etc.

Ad Source Outdoor


CONVIRZA




                             conv1rza
Convirza is the best software available when it comes to call analytics. It has a feature that provides the company with
pre-call, in-call and post-call tracking and conversation analytics. Not only online but offline sources are also easily
tracked and analyzed through this software. An additional important feature is its Spam Call protection that is
basically an efficient automatic and adaptive protection service.

Call Tracking Metrics & Measurement • Convirza


CALLCAP

                                                  ...
           CALLCA?
CallCap efficiently provides its customer with one of the best call tracking and analytics. It records, monitors and
measures a call easily. Some of its advanced features include: call routing, IVR, tools available for broadcast
messaging and automated calls. The software also has a call survey program that records and analyzes the customer
interaction efficiently.




                                                                          Page -44-                                        Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                      3/7
11/22/2019Case 2:19-cv-06814-DSF-KS      Document
                                The Ultimate               27-2 Software
                                             List of Call Analytics FiledPlatforms
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                                                                                   - Call Analytics    43 of 290
                                                                                                    Software                  Page
                                                                           ID #:620


See callers become customers • Callcap


INVOCA




                                   The power of talk




It is a software that enables agencies and marketers to gather up data and actionable insights from the phone calls to
analyze and utilize them. They use this information to maximize their revenue and also provide a more personalized
experience with the customers. This allows users to capture more and more range of audiences which is beneficial for
the agency as well.

Invoca | Call Tracking & Analytics – 1-888-989-4996


RINGLEAD




                          RINGLEAD
RingLead is a software that is very comfortable to use by the marketing and sales professionals. It provides with the
best and productive features. It has additional products and these products allow standardizing contact records,
cleaning database etc. This is one of the most trusted network available worldwide.

RingLead – The #1 Data Quality Platform for Sales and Marketing


DIALOGTECH




                                                                          Page -45-                                      Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                    4/7
11/22/2019Case 2:19-cv-06814-DSF-KS      Document
                                The Ultimate               27-2 Software
                                             List of Call Analytics FiledPlatforms
                                                                           12/02/19          Page
                                                                                   - Call Analytics    44 of 290
                                                                                                    Software                      Page
                                                                           ID #:621




If an agency or business needs insights and data recorded and analyzed of a call, DialogTech is the best call analytics/
tracking software available these days. It helps in making more leads and increased Marketing ROI (Return of
Investment). Not only provides call analytics but call attribution as well. As it is an advanced software it provides with
click to call ad option a well.

DialogTech: AI Call Tracking & Analytics for Marketers


MARCHEX




Marchex is call analytics software that provides its users not only the best analytics tool but keyword level attribution
from any source. Like any other advanced software they also have a click to call option. It has made the measuring of
the ROI better. Its social analytics tool help identifying the callers coming from social media platform which helps in
reviewing the kind of audiences that is being influenced by their campaigns so to target their next campaign more
toward them.

Marchex: The leading provider of Call Analytics & Call Tracking …


CALLRAIL




                                                                          Page -46-                                          Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                        5/7
11/22/2019Case 2:19-cv-06814-DSF-KS      Document
                                The Ultimate               27-2 Software
                                             List of Call Analytics FiledPlatforms
                                                                           12/02/19          Page
                                                                                   - Call Analytics    45 of 290
                                                                                                    Software                        Page
                                                                            ID #:622




                        Call Rail
CallRail is well known call analytics software present that is not only easy to use but is very efficient as well. Its setup
is easy, it has a competitive price and detailed calls analyzed and tracked through it, what else does a company
needs?

CallRail


TELMETRICS




                        . "
                te Imetrics
Another best call analytics software available that is providing its customer efficiently. It has all the basic and
advanced analytics tool that are being used now a days. It has various features which includes, call recording, tracking
etc.

Powerful Call Tracking Software | Telmetrics | Call Tracking for …


CALLSOURCE




                                                                           Page -47-                                           Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                          6/7
11/22/2019Case 2:19-cv-06814-DSF-KS      Document
                                The Ultimate               27-2 Software
                                             List of Call Analytics FiledPlatforms
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                                                                                                    Software                       Page
                                                                           ID #:623




                       CallSource®

One of the best call analytics software available that is famous for its features. Its best call analytics tools allow good
lead management. This advanced level of analysis improves the ROI (Return of Investment) of a company.

CallSource


  Previous Post                                                                                                  Next Post




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                                                                          Page -48-                                           Exhibit 3
callanalyticssoftware.com/the-ultimate-list-of-call-analytics-software-platforms/                                                         7/7
11/22/2019Case 2:19-cv-06814-DSF-KS                          DocumentAbout
                                                                       27-2        Filed Software
                                                                           - Call Analytics 12/02/19                 Page 47 of 290 Page
                                                                   ID #:624



                                                                                                                 Best Of Call Analytics Tools Software Reviews Contact About


             CALL ANALYTICS
             SO F TWAR E




About

                                                                                                                                  fl Search



                                 CALL ANALYTICS                                                                                 Recent Posts
                                 SOFTWARE                                                                                        Call Analytics: The Integration

                                                                                                                                   with Digital Media!

                                                                                                                                 Do You Need Call Analytics for

                                                                                                                                   Your Pay Per Call Ads?

                         About Call Analytics Software                                                                           Most Usable Call Tracking

                                                                                                                                   Software

                                                                                                                                 Ringba vs Retreaver vs TrackDrive
CallAnalyticsSoftware.com is your hub to learn about the important features of call analytics and call analytics
                                                                                                                                 Call Analytics Comparison: Ringba
software.
                                                                                                                                   vs Invoca vs DialogTech
Call Analytics Software is your home for all things related to Call Analytics. We will be talking about important call
analytics review website and call analytics, what are its feature, why it is important and why you should use a call
analytics software etc.

http://callanalyticssoftware.com/

When one is new to the business they are often puzzled while making decisions and it is hard for them to trust
anyone. If you are a marketer or just someone who is in need for call analytics software that improves your business
functioning then CallAnalyticsSoftware.com is the website for you. In their review blogs you will be able to see the
facts regarding each of the platforms and you can get connected to these platforms by using the given links. Other
than this, the site provides with other insightful blogs that may help you in your business and you are able to
understand different aspects of it. We recommend it a hundred percent.


What is Call Analytics?
Call analytics is another marketing technology than call tracking and lets you measure, analyse, collect and report the
call data. This analysed and captured data is of great importance to the marketers no matter how big or small their
business is this is something they should have a full knowledge of because through this set of information they get to
maximize their marketing efforts, fully utilize their advertisements and call handling. A plus point for you if you are
using call analytics with web analytics because this is how you would be able to know which of your ads are actually
working and generating more calls and which are not. You may ask what the objective of call analytics is; it is simply
to optimize the ROI by maximizing marketing efforts through utilizing collected data.

The call analytics deals with the reporting stage of marketing campaigns, the one where phone numbers are used for
the call to action. Call analytics lets you see the performance of your online as well as offline ad campaigns or
channels. It also lets you understand a wider and whole picture of the phone calls and conversations so that you know
what the thing is that is either hindering or generating calls for your business.

Some key features of Call Analytics Software include:


Call Recording




                                                                         Page -49-                                                         Exhibit 3
callanalyticssoftware.com/about/                                                                                                                                      1/3
11/22/2019Case 2:19-cv-06814-DSF-KS                          DocumentAbout
                                                                       27-2        Filed Software
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Call recording is evidently one of the most efficient features of call analytics as it lets you listen and record the whole
conversations in inbound and outbound calls. Through call recording it has made easier to understand which of your
leads are qualified and which of your campaigns are the leading ones and generating more calls than any other so that
you are able to spend more on it.


Call Transcription
Another one of its helpful features, call transcription lets you read through a visual speaker organised text so that you
are aware of the conversation that is being made during the inbound calls. This is an automated feature.


Lead Scoring
Automated lead scoring feature lets you know which of your leads are qualified so that you know what is driving the
conversions to your business.


Reporting
With call analytics you would be able to look into phone calls through overall counts, which time of the day they took
place in, from which geographic location they are coming from and the call duration etc. these lets you know the
qualified lead.

Now that you know what call analytics is you may be wondering why Call Analytics Software is important for you
and your business.

If you are someone that is looking for a solution that improves your business and ROI then you should use Call
Analytics Software. For any of the marketers or businessmen whose work is dependent on phone calls, call analytics
software is an essential tool. Through these call analytics software you are able to capture great insightful data etc.

If you are using software for call analytics then you would be able to keep reports real-time. Even if you are busy they
assist you in keeping a track of the calls etc. the reports that they generate are accessible to you at any time you
want. So for all the busybodies out there call analytics software is a great assistant available for you.

There are some questions that a marketer should know about regarding their customers like why did they call, what
was the purpose of the call, etc. by using call analytics tools you would be able to see through the entire conversation
and get a detailed report regarding each call. This helps you in focusing on the parts of your business that is driving
calls and profit for you.

For any marketer the most important question is however, “why.” Why the caller called the business if they are able to
track that information using call analytics software then that is a huge success for them because if they know the
aspect of their campaign that is driving the calls they would be able to make informed decisions in the future.

Using Call Analytics Software, marketers are able to gain actionable insights. With these insights marketers can make
more targeted ad campaigns for their audience. An audience engaging ad campaign is all they need to flourish in
their business.

Other than great insights call analytics software lets you keep a track and record of the phone calls data and provides
you with a visibility that no other platform can provide you with so that you get connected to your customers more
and more and optimize your ROI, the ultimate goal of any marketer.

In the end we would like to conclude that whether you are a beginner or a newbie to this you should always look for
trusted networks as well as on site information. With the wrong set of information there are chances that you may
harm your business. We hope this blog has been helpful to you!




Want to get in touch with us? Connect with our editorial team by submitting a request on our Contact page




                                                                         Page -50-                                             Exhibit 3
callanalyticssoftware.com/about/                                                                                                           2/3
11/22/2019Case 2:19-cv-06814-DSF-KS                              DocumentAbout
                                                                           27-2        Filed Software
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callanalyticssoftware.com/about/                                                                                                 3/3
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                                  ID #:627




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                             STATE OF WYOMING SECRETARY OF STATE
                                      EDWARD A. BUCHANAN
                                       BUSINESS DIVISION
                          Herschler Bldg East, Ste.100 & 101, Cheyenne, WY 82002-0020
                                                Phone 307-777-7311
                           Website: http://soswy.state.wy.us · Email: business@wyo.gov
                                             Filing Information
                  Please note that this form CANNOT be submitted in place of your Annual Report.
          w
Name               Acquisition Management, Inc
Filing ID          2016-000728136
Type               Profit Corporation                                 Status                   Active
General Information
Old Name                                                              Sub Status               Current
Fictitious Name                                                       Standing - Tax           Good
                                                                      Standing - RA            Good
Sub Type                                                              Standing - Other         Good
Formed in           Wyoming                                           Filing Date              10/03/2016 9:06 AM
Term of Duration    Perpetual                                         Delayed Effective Date
                                                                      Inactive Date
Share Information
Common Shares       1,000                     Preferred Shares 0                          Additional Stock     N
Par Value           0.0000                    Par Value        0.0000
Principal Address                                            Mailing Address
412 N Main St Ste 100                                        412 N Main St Ste 100
Buffalo, WY 82834                                            Buffalo, WY 82834
Registered Agent Address
Registered Agents Inc.
30 N Gould St Ste R
Sheridan, WY 82801
Parties
Type                  Name / Organization / Address
Incorporator          Registered Agents Inc. 412 N Main St Ste 100 Buffalo, WY 82834
Notes
Date                 Recorded By            Note
                                                                                                        Page 1 of 2
                                          ID #:628
       Page 51 of 290 Page                            Page -52-
                                    Document 27-2 Filed 12/02/19                                   Exhibit 4
                                                                               Case 2:19-cv-06814-DSF-KS
                                                   Filing Information
                  Please note that this form CANNOT be submitted in place of your Annual Report.
Name                Acquisition Management, Inc
Filing ID           2016-000728136
Type                Profit Corporation                                     Status                    Active
Most Recent Annual Report Information
Type               Original                                                                     AR Year       2019
License Tax        $50.00                           AR Exempt       N                           AR ID         04885793
AR Date            8/9/2019 1:06 PM
Web Filed          Y
Officers / Directors
Type                   Name / Organization / Address
Secretary / Director Stacy Stein 10200 E Girard Ave, Suite C250 Denver, CO 80231
Principal Address                                               Mailing Address
412 N Main St Ste 100                                           412 N Main St Ste 100
Buffalo, WY 82834                                               Buffalo, WY 82834
Annual Report History
Num               Status              Date          Year          Tax
03050471          Original            09/28/2017    2017          $50.00
04052548          Original            12/21/2018    2018          $50.00
04885793          Original            08/09/2019    2019          $50.00
Amendment History
ID                   Description                                                        Date
2018-002461749 Reinstatement - Tax                                                      12/21/2018
       Filing Status Changed From: Inactive - Administratively Dissolved (Tax) To: Active
2018-002431011 RA Address Change                                                        12/11/2018
2018-002416778 Dissolution / Revocation - Tax                                           12/09/2018
       Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
       Inactive Date Changed From: No Value To: 12/09/2018
2018-002379728 Delinquency Notice - Tax                                                 10/02/2018
2017-002172432 RA Address Change                                                        11/16/2017
See Filing ID        Initial Filing                                                     10/03/2016
                                                                                                               Page 2 of 2
                                              ID #:629
       Page 52 of 290 Page                              Page -53-
                                        Document 27-2 Filed 12/02/19                                     Exhibit 4
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                                  ID #:630




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11/12/2019Case 2:19-cv-06814-DSF-KS                        Document 27-2
                                                                     Detail by Filed   12/02/19
                                                                               Entity Name                                Page 54 of 290 Page
                                                                 ID #:631                                                        Dඑඞඑඛඑ඗ඖ ඗ඎ C඗ක඘඗කඉගඑ඗ඖඛ
 Florida Department of State




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      Department of State / Division of Corporations / Search Records / Detail By Document Number /



         Detail by Entity Name
         Florida Profit Corporation
         HPJ HOLDINGS INC
         Filing Information

         Document Number                  P13000069257
         FEI/EIN Number                   XX-XXXXXXX
         Date Filed                       08/20/2013
         Effective Date                   08/19/2013
         State                            FL
         Status                           INACTIVE
         Last Event                       ADMIN DISSOLUTION
         FOR ANNUAL REPORT
         Event Date Filed                 09/28/2018
         Event Effective Date             NONE
         Principal Address

         2635 NW 104TH AVE
         305
         SUNRISE, FL 33322
         Mailing Address

         2635 NW 104TH AVE
         305
         SUNRISE, FL 33322
         Registered Agent Name & Address

         MEGA 1 SERVICES INC
         3800 INVERRARY BLVD
         400A
         LAUDERHILL, FL 33319

         Address Changed: 04/27/2015
         Officer/Director Detail

         Name & Address

         Title P

         PIERRE-JACQUES, HENRI
         2635 NW 104TH AVE APT 305
         SUNRISE, FL 33322

                                                                       Page -54-                                                     Exhibit 5
search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=HPJHOLDINGS …               1/2
11/12/2019Case 2:19-cv-06814-DSF-KS                         Document 27-2
                                                                      Detail by Filed   12/02/19
                                                                                Entity Name                          Page 55 of 290 Page
        Annual Reports
                                                                  ID #:632

        Report Year              Filed Date
        2015                     04/27/2015
        2016                     03/16/2016
        2017                     03/25/2017


        Document Images

        03/25/2017 -- ANNUAL REPORT           View image in PDF format

        03/16/2016 -- ANNUAL REPORT           View image in PDF format

        04/27/2015 -- ANNUAL REPORT           View image in PDF format

        04/30/2014 -- ANNUAL REPORT           View image in PDF format

        08/20/2013 -- Domestic Profit         View image in PDF format




                                                             Florida Department of State, Division of Corporations




                                                                            Page -55-                                          Exhibit 5
search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=HPJHOLDINGS …   2/2
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                                                                     ID #:634
                                                                   Comprehensive Report


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                                                              _I




Important: The Public Records and commercially available data sources used on reports have errors. Data is sometimes entered poorly, processed incorrectly and
is generally not free from defect. This system should not be relied upon as definitively accurate. Before relying on any data this system supplies, it should be
independently verified. For Secretary of State documents, the following data is for information purposes only and is not an official record. Certified copies may be
obtained from that individual state´s Department of State. The criminal record data in this product or service may include records that have been expunged, sealed,
or otherwise have become inaccessible to the public since the date on which the data was last updated or collected.

Accurint does not constitute a "consumer report" as that term is defined in the federal Fair Credit Reporting Act, 15 USC 1681 et seq. (FCRA). Accordingly, Accurint
may not be used in whole or in part as a factor in determining eligibility for credit, insurance, employment or another permissible purpose under the FCRA.

Your DPPA Permissible Use: Use in the Normal Course of Business
Your GLBA Permissible Use: Use by Persons Holding a Legal or Beneficial Interest Relating to the Consumer
Your DMF Permissible Use: No Permissible Purpose



Comprehensive Report


 Date: 10/28/19                                                                                               Report Legend:
 Reference Code:
                                                                                                                   - Shared Address
                                                                                                                   - Deceased
                                                                                                                   - Probable Current Address
 Report processed by:

 Greenberg Traurig - Miami
 333 2ND AVE
 MIAMI, FL 33131
 305-579-0500 Main Phone
 305-579-0717 Fax




Subject Information                                 AKAs                                                                 Indicators
(Best Information for Subject)                      (Names Associated with Subject)
Name: OSCAR MAGLIO                                   [No Data Available]                                                 Bankruptcy: No
Age:                                                                                                                     Property: No
SSN:                                                                                                                     Corporate Affiliations: No


Comprehensive Report Summary:
   Bankruptcies:
     None Found
   Liens and Judgments:
     None Found
   UCC Filings:
     None Found
   Phones Plus:
     None Found
   People at Work:
     None Found
   Driver´s License:
     None Found
   Address(es) Found:
     0 Verified and 1 Non-Verified Found
   Possible Properties Owned:
     None Found
   Motor Vehicles Registered:
     None Found
   Watercraft:
     None Found



Comprehensive Report                                                                                                                                                   1
                                                                           Page -56-                                                  Exhibit 6
                   Case 2:19-cv-06814-DSF-KS                              Document 27-2 Filed 12/02/19        Page 58 of 290 Page
                                                                                ID #:635
                                                                            Comprehensive Report
      FAA Certifications:
        None Found
      FAA Aircrafts:
        None Found
      Possible Criminal Records:
        None Found
      Sexual Offenses:
        None Found
      Florida Accidents:
        None Found
      Professional Licenses:
        None Found
      Voter Registration:
        None Found
      Hunting/Fishing Permit:
        None Found
      Concealed Weapons Permit:
        None Found
      Possible Associates:
        None Found
      DEA Controlled Substances:
        None Found
      Possible Relatives:
        1st Degree - None Found
        2nd Degree - None Found
        3rd Degree - None Found
      Neighbors:
        1st Neighborhood - 4 Found




Others Associated With Subjects SSN:
(DOES NOT usually indicate any type of fraud or deception)
      [None Found]


Address Summary:

     Redacted                   , MIAMI, FL Redacted         , Redacted   COUNTY Redacted

Active Address(es):

            [None Found]


Previous And Non-Verified Address(es):
   Redacted         , MIAMI, FL Redacted , Redacted                       COUNTY Redacted
       Name Associated with Address:
           OSCAR MAGLIO
               Current Residents at Address:


       Redacted
            Property Ownership Information for this Address
               Property:
                    Parcel Number - Redacted
                    Book - 17732
                    Page - 402
                    Owner Name: Redacted
                    Property Address: - Redacted        , MIAMI, FL Redacted            , Redacted   COUNTY
                    Sale Date - 07/13/1997
                    Sale Price - $147,500
                    Land Usage - SFR
                    Subdivision Name - Redacted


Comprehensive Report                                                                                                                2
                                                                                   Page -57-                           Exhibit 6
             Case 2:19-cv-06814-DSF-KS                   Document 27-2 Filed 12/02/19   Page 59 of 290 Page
                                                               ID #:636
                                                          Comprehensive Report
                Total Market Value - $292,497
                Assessed Value - $292,497
                Land Value - $180,396
                Improvement Value - $112,101
                Land Size - 12,518 Square Feet
                Year Built - 1952
                Seller Name: EVALDO NUNEZ
                Legal Description - Redacted
1
                Loan Amount - $118,000
                Loan Type - CONVENTIONAL
                Lender Name - BARNETT BK
                Data Source - A
        Neighborhood Profile (2010 Census)
            Average Age: 49
            Median Household Income: $47,986
            Median Owner Occupied Home Value: $343,860
            Average Years of Education: 10



Bankruptcies:
   [None Found]


Liens and Judgments:
    [None Found]


UCC Filings:
   [None Found]

Phones Plus:
   [None Found]

People at Work:
Maximum 50 People at Work records returned
   [None Found]


Driver´s License Information:
    [None Found]

Possible Properties Owned by Subject:
   [None Found]



Motor Vehicles Registered To Subject:
   [None Found]


Watercraft:
   [None Found]

FAA Certifications:
   [None Found]

FAA Aircrafts:
   [None Found]

Possible Criminal Records:
   [None Found]

Sexual Offenses:
   [None Found]

Florida Accidents:
    [None Found]



Comprehensive Report                                                                                          3
                                                               Page -58-                         Exhibit 6
                                                               Comprehensive Report
Professional License(s):
    [None Found]
Voter Registration:
    [None Found]
Hunting/Fishing Permit:
   [None Found]
Concealed Weapons Permit:
   [None Found]
Firearms and Explosives:
    [None Found]
DEA Controlled Substances:
   [None Found]
Possible Associates:
   [None Found]
Possible Relatives:
   [None Found]
Neighbors:
    Neighborhood:
       Redacted            , MIAMI, FL Redacted   , Redacted   COUNTY Redacted
           Residents:
  Redacted
            Address(es):
               Redacted           , MIAMI, FL Redacted   , Redacted   COUNTY Redacted
    Redacted
            Redacted           , MIAMI, FL Redacted   , Redacted   COUNTY (Redacted
               Residents:
     Redacted
               Redacted            MIAMI, FL Redacted 8, Redacted     COUNTY Redacted
               Residents:
Comprehensive Report                                    ID #:637                                                    4
             Page 60 of 290 Page                                      Page -59-
                                                  Document 27-2 Filed 12/02/19                         Exhibit 6
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                                              ID #:638
                                         Comprehensive Report




         Redacted
Source Information:


           All Sources                        2 Source Document(s)
           Historical Person Locator          1 Source Document(s)
           Utility Locator                    1 Source Document(s)




Comprehensive Report                                                                         5
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 QuickFacts                                                                                  ID #:640
 California; United States
 QuickFacts provides statistics for all states and counties, and for cities and towns with a population of 5,000 or more.



Table

                                       Population
                                                                       a                                                    California                United States


                                     Population estimates, July 1, 2018, (V2018)                                                         39,557,045                   327,167,434

                                        PEOPLE
                                      Population
                                      Population estimates, July 1, 2018, (V2018)                                                        39,557,045                   327,167,434
                                      Population estimates base, April 1, 2010, (V2018)                                                  37,254,523                   308,758,105
                                      Population, percent change - April 1, 2010 (estimates base) to July 1, 2018,
                                                                                                                                              6.2%                          6.0%
                                      (V2018)
                                      Population, Census, April 1, 2010                                                                  37,253,956                   308,745,538




                                                                                                          Page -61-                                                                 Exhibit 7
                               About datasets used in this table
                               Value Notes
                                         1.       Includes data not distributed by county.
                                Estimates are not comparable to other geographic levels due to methodology differences that may exist between different data sources.
                               
                               Some estimates presented here come from sample data, and thus have sampling errors that may render some apparent differences between geographies statistically indistinguishable. Click the Quick Info  icon to the left of each
                               row in TABLE view to learn about sampling error.
                               The vintage year (e.g., V2018) refers to the final year of the series (2010 thru 2018). Different vintage years of estimates are not comparable.
                               Fact Notes
                                            (a)    Includes persons reporting only one race
                                            (b)    Hispanics may be of any race, so also are included in applicable race categories
                                            (c)    Economic Census - Puerto Rico data are not comparable to U.S. Economic Census data
                               Value Flags
                                          -    Either no or too few sample observations were available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates falls in the lowest or upper interval of an
                                          open ended distribution.
                                          D    Suppressed to avoid disclosure of confidential information
                                          F    Fewer than 25 firms
                                          FN Footnote on this item in place of data
                                          NA Not available
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                                          S    Suppressed; does not meet publication standards
                                          X    Not applicable
                                          Z    Value greater than zero but less than half unit of measure shown
                               QuickFacts data are derived from: Population Estimates, American Community Survey, Census of Population and Housing, Current Population Survey, Small Area Health Insurance Estimates, Small Area Income and Poverty
                               Estimates, State and County Housing Unit Estimates, County Business Patterns, Nonemployer Statistics, Economic Census, Survey of Business Owners, Building Permits.
                                                             ABOUT US                        FIND DATA                            BUSINESS & INDUSTRY                PEOPLE & HOUSEHOLDS                SPECIAL TOPICS                NEWSROOM
                                                             Are You in a Survey?            QuickFacts                           Help With Your Forms               2020 Census                        Advisors, Centers and         News Releases
                                                             FAQs                            American FactFinder                  Economic Indicators                2010 Census                        Research Programs             Release Schedule
                                                                                                                                                                                                        Statistics in Schools
                                                             Director's Corner               2010 Census                          Economic Census                    American Community                                               Facts for Features
                                                                                                                                                                     Survey                             Tribal Resources (AIAN)
                                                             Regional Offices                Economic Census                      E-Stats                                                                                             Stats for Stories
                                                                                                                                                                     Income                             Emergency Preparedness
                                                             History                         Interactive Maps                     International Trade                                                                                 Blogs
                                                             Research                        Training & Workshops                 Export Codes                       Poverty                            Statistical Abstract
                                                                                                                                                                     Population Estimates               Special Census Program
                                                             Scientific Integrity            Data Tools                           NAICS
                                                                                                                                                                     Population Projections             Data Linkage Infrastructure
                                                             Census Careers                  Developers                           Governments
                                                             Diversity @ Census              Catalogs                             Longitudinal Employer-             Health Insurance                   Fraudulent Activity & Scams
                                                             Business Opportunities          Publications                         Household Dynamics (LEHD)          Housing                            USA.gov
Document 27-2 Filed 12/02/19




                                                                                                                                  Survey of Business Owners          International
                                                             Congressional and
                                                             Intergovernmental                                                                                       Genealogy
                                                             Contact Us
                                                                                                                                          CONNECT WITH US
                                                                                                                                                                                        X




                                                                                                            Accessibility | Information Quality | FOIA | Data Protection and Privacy Policy | U.S. Department of Commerce
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Alex Padilla
California Secretary of State




             Business Search - Results


     The California Business Search is updated daily and reflects work processed through Sunday, November 24, 2019. Please refer
     to document Processing Times for the received dates of filings currently being processed. The data provided is not a complete
     or certified record of an entity.

         • Select an entity name below to view additional information. Results are listed alphabetically in ascending order by entity
           name, or you can select a column title to change the sort order.
         • To refine the search results, enter a word or a string of words in the "Narrow search results" box. The "Narrow search
           results" will search on all fields of the initial search results.
            For information on checking or reserving a name, refer to Name Availability.
            For information on requesting a more extensive search, refer to Information Requests.
            For help with searching an entity name, refer to Search Tips.
            For descriptions of the various fields and status types, refer to Frequently Asked Questions.

     Results of search for LP/LLC Name keyword "hpj holdings" returned 0 entity records (out of 0 records found).

     Show     10          entities per page

                                                                          Narrow search results:


      Entity         lt Registration Date 11 Status It
                                                       Entity                                       Agent for Service of       ,I f
                                                                                                                                  
      Number                                             Name                     Jurisdiction         Process

                                                        No matching entities found



     Showing 0 to 0 of 0 entities

                                                                                                                 Previous        Next




       Modify Search                New Search




                                                               Page -63-                                              Exhibit 8
https://businesssearch.sos.ca.gov/CBS/SearchResults?filing=&SearchType=LPLLC&SearchCriteria=hpj+holdings&SearchSubType=Keyword           1/1
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11/25/2019Case 2:19-cv-06814-DSF-KS        Document
                              Business Search              27-2- Business
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                                                                                                            State           Page
                                                                ID #:645
Alex Padilla
California Secretary of State




             Business Search - Results


     The California Business Search is updated daily and reflects work processed through Sunday, November 24, 2019. Please refer
     to document Processing Times for the received dates of filings currently being processed. The data provided is not a complete
     or certified record of an entity.

         • Select an entity name below to view additional information. Results are listed alphabetically in ascending order by entity
           name, or you can select a column title to change the sort order.
         • To refine the search results, enter a word or a string of words in the "Narrow search results" box. The "Narrow search
           results" will search on all fields of the initial search results.
            For information on checking or reserving a name, refer to Name Availability.
            For information on requesting a more extensive search, refer to Information Requests.
            For help with searching an entity name, refer to Search Tips.
            For descriptions of the various fields and status types, refer to Frequently Asked Questions.

     Results of search for Corporation Name keyword "hpj holdings" returned 0 entity records (out of 0 records found).

     Show     10          entities per page

                                                                          Narrow search results:


      Entity         lt Registration Date 11 Status It
                                                       Entity                                       Agent for Service of       ,I f
                                                                                                                                  
      Number                                             Name                     Jurisdiction         Process

                                                       No matching entities found



     Showing 0 to 0 of 0 entities

                                                                                                                 Previous       Next




       Modify Search                New Search




                                                               Page -64-                                              Exhibit 9
https://businesssearch.sos.ca.gov/CBS/SearchResults?filing=&SearchType=CORP&SearchCriteria=hpj+holdings&SearchSubType=Keyword            1/1
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6       Fax: (310) 824-4380
7       Attorneys for the Plaintiff
8       Federal Trade Commission

9
                             UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA

11
12      FEDERAL TRADE COMMISSION,                       Case No. 2: 14-cv-05099-JFW-SH
13                         Plaintiff,                   SECOND DECLARATION OF
             V.                                         FTC INVESTIGATOR
14                                                      DAYID S. GONZALEZ
        MDK MEDIA INC., et al.,                         AND ATTACHMENTS 93-143
15
                           Defendants.                  H(?aring on OSC re Preliminary
16                                                      InJunct10n
17                                                      Judge: John F. Walter
                                                        Date: Au_gust 18, 2014
18                                                      Time: 1:30pm
19                                                      Place: Courtroom 16

20
21
22
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28



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1                    SECOND DECLARATION OF FTC INVESTIGATOR
                               DAVID S. GONZALEZ
2
               1.     My name is David S. Gonzalez. I am an investigator with the Federal
3
        Trade Commission ("FTC"). I work in the FTC's Western Region-Los Angeles
4
        office at 10877 Wilshire Blvd., Suite 700, Los Angeles, CA 90024. The following
5
        statements are within my personal knowledge, and if called as a witness I would
6
        testify as follows.
7
              2.     On July 18 and 21, 2014, the FTC received from the Temporary
8
        Receiver in this matter, Thomas McNamara, business records that he had received
9
        from the Receivership Defendants in this matter pursuant to the TRO issued on
10
        July 7, 2014. These records included email files from the six Corporate
11
        Defendants -MDK Media Inc. ("MDK"), Tendenci Media LLC ("Tendenci"),
12
        Mindkontrol Industries LLC ("Mindkontrol"), Anacapa Media LLC ("Anacapa"),
13
        Bear Communications LLC ("Bear"), and Network One Commerce Inc. ("Network
14
        One") (collectively, the "Corporate Defendants") and the six Individual
15
        Defendants, Makonnen Demessow Kebede, Sarah Ann Brekke, Christopher
16
        Thomas DeNovellis, Wayne Calvin Byrd II, James Matthew Dawson, and Casey
17
        Lee Adkisson (the "Individual Defendants," and collectively with the Corporate
18
        Defendants, the "Defendants"). Defendants' business records, as attached to this
19
        declaration, are a true and correct copy of the documents produced to the FTC.
20
              3.     Attached to this declaration are true and correct copies of Defendants'
21
        emails, business records and other documents that the FTC received directly from
22
        the Temporary Receiver.
23
                       Webpages used by Defendants to obtain subscribers
24
              4.     Defendants' emails include emails from Mobile Messenger
25
        forwarding information about CTIA and carrier audits in which certain web
26
        advertisements and offers are identified as being associated with Defendants.
27
        These audit emails include screen shots of the web pages which have been
28




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 1      determined by the auditors to be deceptive or otherwise "non-compliant." In most
2       instances, the notice also contains a discussion of the "violation'' and the "action."
3       In some instances, Mobile Messenger forwarded multiple website audits at a time.
4       The emails show that some Defendants would forward the audit to their contacts at
5       an ad network. In other instances, the contact at the ad network was copied on the
6       initial email notifying Defendant of the audit. A number of the attachments below
7       are examples of the emails concerning audits found within Defendants' email
8       archives. In addition, as discussed below, Defendant Makonnen Kebede produced
9       documents to the FTC containing references to web pages that MDK used in
10      connection with its premium SMS business.
11                   MDK's emails and documents concerning website audits
12            5.     Attachment 93 are true and correct copies ofMDK's emails
13      discussing website audits and includes the following:
14                   a.    An email dated November 1, 2011 from Carol Szeto of Mobile
15      Mesenger to MDK Media with the subject line "MDK- URGENT ATTENTION
16      68514 Verizon Wireless Termination." The email is addressed "Hi Mak" and
17      encloses details of an audit of the website www.mindguiz.com associated with
18      MDK's short code 68514. Ms. Szeto's email includes a screen shot for the
19      Mind Quiz website which invites visitors to "Enter your cell to get your test
20      results!" The audit information included in the email states that Verizon found
21      MDK's short code campaign "to be operating with deceptive practices, including
22      presenting compliant carrier-facing webpages while also utilizing non-compliant
23      carrier obscured pages, redirecting carrier auditors to toolbar download webpages
24      so as to disguise any premium messaging offers and using a known CSS history
25      'hack,' which allows the content provider to catalog and track users to ensure that
26      carrier auditors do not see non-compliant webpages."
27                  b.     Attachment      also includes emails sent from Erdolo Eromo of
28      Mobile Messenger to amoraes@qinteractive.com (Alberto Moraes) with a cc to
                                                  2


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 1      mak@mdkmediaonline.com both dated August 6, 2012. The audits in those
2       websites in those audits are www.cashprizeworld.com and giftpile.net. These
3       audits contain screen shots of web pages offering a $1,000 American Express gift
4       card and others promoting free ipads.
5              6.    On August 5, 2014, Defendant Makonnen Kebede produced to the
6       FTC documents responsive to the FTC's request for "All documents produced to
7       and correspondence with any state Attorney General's office or other consumer
8       protection agency." Kebede's production included a the Redweld folder labeled
9       "Texas AG," with a folder labeled "Exhibit C9." Attachment 94 is a true and
10      correct copy of documents produced in the folder labeled "Exhibit C9," which
11      purport to be responsive to the Texas Attorney General's request for production of
12      "websites, emails, text messages, advertisements, and other marketing materials
13      that have been used in connection with such PSMS, including but not limited to all
14      such material that direct or directed consumers to a MIN Entry Page or an
15      Interactive Voice Recognition system." Thus, that MDK has represented to the
16      Texas Attorney General that the web pages in this Attachment have been used in
17      connection with its premium SMS business.
18                         Anacapa's emails concerning website audits
19            7.    Attachment 95 are true and correct copies of Anacapa's emails
20      discussing website audits and includes the following:
21                  a.     The first page of Attachment_ is an email string dated July
22      18-19, 2012. The first email in the string, is from wayn@anacapalive.com to
23      Gertie Meza and Michael Anthony of Mobile Messenger, informing them that the
24      short code has been removed from the site. The website audited was
25      www .complete!y-free-offers. com.
26                  b.     The second email in Attachment       is an email forward of two
27      audits dated August 13, 2012 from wayn@anacapalive.com to Araci Keshishian,
28      Jason Brenzel, and Jason Theofilous of Mundo Media. In the email, Wayne states:
                                                 3


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1       "Hey Guys, I just got this from MM. If this is you, can you please address it in the
2       next 48 hours and let me know when its (sic) completed? Thanks." One of the
3       audited websites was www .20 l 2stiumul usgrants.com and the audit information
4       included in the email contains the note "improper use of the terrnfree."
5                    c.    The Anacapa audit emails show audits of the following
6       websites: www.bestprizepot.com, www.bigprizenetwork.com,
7       www.clickfreeprize.com, www.gettheprize.com, www.newcouponsfo1me.co m and
8       www.rewardzoneusa.com. The Anacapa website audit emails also contain screen
9       shots of websites offering prize promotions, such $1,000 Walmart gift cards, a new
10      apple ipadd, and a free iphone.
11                         Tendenci's emails concerning website audits
12            8.     Attachment 96 are true and correct copies ofTendenci's emails
13      discussing website audits and includes the following:
14                   a.    The first page of Attachment_ includes an email from Daryl
15      Quan of Mobile Messenger to Sarah Brekke with the subject line referencing
16      "VzW severity-e audit - short code: 70890 - campaign Smartmobilequiz." The
17      audit website audited was retailbrandprize.com. The audit notice at the section
18      marked "Rule: 56 ADVERTISING" states, in part, "Advertising flow entices users
19      with a non PSMS program and only reveals details on landing page"; "Page is
20      designed to appear as another stop of the opt-in process of original offer."
21                   b.    Attachment_ also includes an email dated May 18, 2012 in
22      which additional severity-2 audits were sent to Sarah Brekke by Daryl Quan.
23      Those audits included website screen shots of free coupon offers and prizes such as
24      a macbook air and an ipad2. The audit emails in Attachment_ reference
25      websites such as retailbrandprize.com, www.wherethehotdealsare.com,
26      www. l 000-vouchers.com, and www.rewardzoneusa.com.
27                        MindKontrol's emails concerning website audits
28

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1             9.     Attachment 97 are true and correct copies ofMindKontrol's emails
2       discussing website audits and includes the following:
3                    a.     The first page of the attachment is an email dated July 9, 2012
4       from Mobile Messenger (Daryl Quan) to chris@mindktrl.com. The email warns
5       that "ALL CAMPAIGNS managed by the content provider might be
6       SUSPENDED FOR 90 DAYS." Next to the section marked Severity 2 Violation -
7       Rule 56: ADVERTISING, the auditor's comments include "Specified link claims
8       to lead to free mobile content"; "Mobile content falsely offered as a prize or
9       incentive, implies that the content will be free."
10                   b.     Mr. Quan's July 9, 2012, email attaches three emails from
11      Sandra Duarte of Mobile Messenger dated June 14, 21, and 26, 2012, each
12      detailing separate website audits. The websites audited in Ms. Duarte's emails
13      include the following: www.rewardsonthego.com, www.techsavvyrewards.com,
14      and offers.160.tracker.com.
15                   c.     The attachment also includes an email chain dated July 13,
16      2012 and July 16, 2012 between Mobile Messenger (Daryl Quan) and
17      chris@mindktrl.com. Daryl Quan's email forwards an audit of Mindkontrol's
18      Green It My Way/54267 campaign as promoted on the URL http://your-depot-
19      central.com. Chris's response (date stamped July 16, 2012 11 :52) is "All set." In
20      Attachment        is an email chain dated November 5, 2012 and November 8, 2012
21      between Daryl Quan of Mobile Messenger and chris@mindktrl.com. Daryl
22      Quan's email forwards an audit of Mindkontrol's Green It My Way/54267
23      campaign as promoted on the URL http://rewardingpromos.com/. Chris' response
24      (date stamped November 08, 2012 12:54 PM) is "This should all be resolved."
25                        Network One's emails concerning website audits
26            10.    Attachment 98 are true and correct copies of Network One's emails
27      discussing website audits and includes the following:
28
                                                   5


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 1                   a.      The first email in Attachment_ is dated November 25, 2012
2       from Michael Anthony of Mobile Messenger to casey@networkonecommerce.com
3       and kevin@sguareoneads.com. Mr. Anthony's email attaches five emails from
4       Sandra Duarte at Mobile Messenger of five audits for the following website:
5       facebook.dailygiftcard.com; www.bbraffle.net, and targetcontest.com (audited
6       twise). The audit details in Ms. Duarte's emails include screen shots of web pages
7       offering prize promotions for items such as free iphones Best Buy and Target
8       $1,000 gift cards.
9                    b.      Additional audit emails in the attachment are audits of websites,
10      such as iphone4s.freegiftcardworld.com, newipad.freegiftcardworld.com, and
11      amazon.freegiftcardworld.com. A number of the audit emails note that the
12      violations include "association with an unrelated stacked or incentivized offer."
13                             Bear's emails concerning website audits
14             11.   Attachment 99 are true and correct copies of Bear's emails
15      discussing website audits and includes the following:
16                   a.      The first email in Attachment_ is dated January 15, 2012
17      from Jenifer Benavente of Mobile Messenger to Matt Dawson, which attaches an
18      earlier email she attempted to send to Mr. Dawson at
19      matt@bearcommunicaitonsllc.com, but which apparently was undeliverable. The
20      audit email is also dated January 15, 2013 and includes a screen shots of a website
21      mmtrck.com. The screenshot includes the following language: "Prize Winner
22      Zone"; "You can win a brand new ipad3! Hurry!!!"; "Congratulations!!!" The
23      screen shot includes a space where the consumer can enter their cell phone number
24      underneath which is a bar stating "tap here to claim!" The audit violations include
25      "no pricing in main offer," "failure to disclose billing frequency in main offer,"
26      and "no product or service description displayed in main offer."
27                   b.      The attachment also includes and email dated February 5, 2013
28      from Jennifer Benavente to Matt Dawson for the website, prizewinner.mobi. The
                                                  6


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1       screen shots for prizewinner.mo bi are substantially similar to those for
2       mmtrck.com. In the email Ms. Benavente notes that the auditing body, CTIA, as
3       indicated that the Bear's short code 39723 was associated with the website.
4               Emails showing that Defendants manipulated "traffic" on short codes
5              12.   The emails for MDK, Tendenci, Anacapa, and Network One that they
6       participated in manipulating the flow of "traffic" (new customer subscriptions) for
7       various short codes, including diverting traffic between short codes depending on
8       the status of the short code's current refund rates.
9             MD K's emails discussing the manipulation of traffic on its short codes
10            13.    Attachment 100 are true and correct copies of MDK' s emails, which
11      show MD K's participation in the manipulation of the flow of customer "traffic."
12      The attachment includes the following emails:
13                   a.     The first email dated May 27, 2011 email from Carol Szeto of
14      Mobile Messenger to MDKMediainc@gmail.com, informing MDK that the
15      "forecasted May Refund ratio for ATT [AT&T] is 27.58%" and recommending
16      that "if you would like to avoid the ATT penalty for May, you would need to get
17      revenue to $16,682.51 by the end of this month." The email includes a chart
18      showing the amount of revenue needed to bring the refund rate down to 18 %.
19                   b.     The second email dated September 27, 2011, is from Carol
20      Szeto of Mobile Messenger to MDK Media, stating "Please do not push VzW
21      [Verizon] traffic on your Bid and Win campaign 64651 [], as we received a
22      Verizon Audit. You may continue to push traffic on the following carriers for your
23      Love campaign ... "
24                   c.     The last email in the attachment is an email chain, which
25      includes a February 29, 2012 email from Carol Szeto of Mobile Messenger to
26      MDK Media, recommending that MDK "Given the projected high TMO [T-
27      Mobile] refund rate on 36862, I strongly suggest switching traffic to one of your
28      other codes as soon as possible." MDK forwarded this email to its ad network,
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1       Mundo Media (Araxi Keshishian, araxie@mundomedia.com, Jason Brenzel, and
2       Jason Theofilos).
3                     d.     In addition, Attachment        , includes a November 1, 2011
4       email from Carol Szeto of Mobile Messenger to MDK Media, informing MDK
5       about Verizon's audit ofMDK's short code 68514. This email notes, "I know
6       you' re not currently pushing traffic ... "
7            Tendenci's emails discussing the manipulation of traffic on its short codes
8              14.    Attachment 101 are true and correct copies of Tendenci's emails,
9       which show Tendenci's participation in the manipulation of the flow of customer
10      "traffic." The attachment includes the following emails:
11                    a.     An email dated April 12, 2012 from Carol Szeto to
12      sarah@tendencimedia.com. The email includes bullet point statistics for
13      Tendenci's short code campaigns, the last of which cautions in part that "VZW
14      [Verizon] refund rate on 70890 is at 3.62% ... Ifit gets higher than 4%, we'll need
15      to throttle new subs up by a specific new sub volume to lower it."
16                    b.     The second email is a chain dated April 16, 2012 and April 18,
17      2012. The first email in the chain is dated April 16, 2012 from Daryl Quan of
18      Mobile Messenger to sarah@tendencimedia. Mr. Quan 's email includes a graph of
19      statistics regarding the performance of Tendenci 's short code campaigns. The
20      email is forwarded by sara(a)tendencimedia.com to Ryan Stevens, EVP of
21      Marketing at Mobile+ (an ad network), to which Mr. Stevens responds, in part,
22      "Are we going to have to hit 70890 Verizon with volume before end of month to
23      manage that refund rate? I see we're currently hovering just under 5%, so we need
24      to watch that right and slam it with volume for a few days at the end of the
25      month?"
26                    C.     The final email is dated April 27, 2012 from Daryl Quon to
27      sarah@tendencimedia.com and states "Sarah, You're at 4.26% VZW refund rate.
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 1       It should continue to be steady. I'll monitor refund rate on Monday morning.
2        Please prepare traffic in case we need to spike traffic to 70890 from 89614."
3            Anacapa's emails discussing the manipulation of traffic on its short codes
4              15.      Attachment 102 are true and correct copies of Anacapa's emails,
5        which show Anacapa's participation in the manipulation of the flow of customer
6        "traffic." These emails include the following:
7                       a.    The first page of the attachment includes an email chain dated
8       August 1, 2012. The first email in the chain is from Michael Anthony of Mobile
9       Messenger to wayne@anacapalive.com on Augsut 1, 2012 at 5:15 pm. The email
10      tells Wayne to "shut down all Sprint family traffic ... immediately on your current
11      shortcode 84653, and move it to shortcode 22516 (we've received a 90 day
12      suspension on 84653 from Sprint)." Wayne Byrd forwards this email to Alberto
13      Moreas of Qinteractive with the note "Hey Alberto, I just go this urgent message
14      from MM. It looks like one of the codes was just shut down so we need to move
15      all traffic over. Please let me know when this is done."
16                   b.      The attachment also includes an email string dated November 7
17      to November 6, 2012. The first email in the string is dated November 6, 2012 from
18      Daryle Quan to wayne@anacapalive.com advising him, in part "make sure not to
19      subscribe AT&T MDN's." Wayne Byrd forwards the email to Alberto Moreas of
20      Qlnteractive.
21                   c.      Other emails in the attachment make references to switching
22      traffic between short codes. Wayne@anacapalive.com is a recipient of these
23      emails.
24         Network One's emails discussing the manipulation of traffic on its short codes
25             16.   Attachment 103 are true and correct copies ofNetwork One's emails,
26      which show Network One's participation in the manipulation of the flow of
27      customer "traffic." For example, the attachment includes an email dated February
28      1, 2013 from Michael Anthony with Mobile Messenger to
                                                   9


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 1       casey@networkonecommerce.com with the subject line "Network One Daily
2        Stats." The email advises "Matt: please change T-Mobile traffic from 74881 to:
3        Tone Tunes Now - 59974." The second email dated February 12, 2013 from
4        Michael Anthonly similarly advises "Matt: Please switch the US Cell traffic off of
5        74881 - Find Loves Match onto either 59974 - Tone Tunes Now or 94354 - Cell
6        Adventures." Another email in the attachment dated February 26, 2013 from
7        Michael Anthony to casey@networkonecommerce.com advises that Sprint traffic
8        should stop that day and states "I'll work to get you a new code to switch to today
9        for Sprint (Keep in mind that you now have two codes already suspended, and this
10       one has a really good chance of being suspended this week also).
11                      Defendants' email communications with ad networks
12             17.      As shown in Attachments _ , _ , and          , Defendants had
13       consistent communications with their ad networks in the context of discussing
14       website audits, refunds management of traffic on a short code. Other examples of
15       such discussions include the following:
16                     a.    Attachment 104 are true and correct copies ofTendenci's
17       emails, which include emails with Mobile+ discussing, among other things, non-
18       compliant websites, refund rates and the manipulation of traffic.
19                     b.    Attachment 105 is a true and correct copy of an email string
20      with email dates between February 22, 2012 to March 1, 2012 between
21       sarah@tendencimedia.com and Ryan Stevens and Scott Teger ofGametheory
22      LLC.
23             18.     In addition, Chris DeNovellis initiated an email discussion with
24      Harrison Gevirtz of Eagle Web Assets Inc., in which the two discuss premium
25       SMS services. Attachment 106 is a true and correct copy of an email string
26      between chris@mindktrl.com to Harrison@eaglewebassets.com.
27                   Emails showing Defendants received regular statistics about
28                               the performance of its short codes
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 1             19.    All Defendants appeared to receive regular emails containing statistics
 2       about the performance of their short codes. These emails often contained charts
3        with metrics, such as new subscriptions, billing ratio, initial chum, existing
4        customers and ongoing chum. The emails are typically sent to Defendants by an
5        account manager with Mobile Messenger. One of the account managers who
6        worked with MDK is Carol Szeto. In two emails dated November 16, 2011 and
7        November 28, 2011, attached below, Ms. Szeto notes that the normal level for the
8        initial chum rate (subscribers who quit the service) is 30%. As shown in the
9        emails attached hereto there are many instances in which a Defendants' initial
10       chum rate exceeds 30%.
11                    a.    Attachment 107 are true and correct copies ofMDK's emails
12       discussing the performance of its short codes.
13                    b.    Attachment 108 are true and correct copies of Anacapa's
14       emails discussing the performance of its short codes.
15                    c.    Attachment 109 are true and correct copies ofTendenci's
16       emails discussing the performance of its short codes.
17                    d.    Attachment 110 are true and correct copies of MindKontrol's
18       emails discussing the performance of its short codes.
19                   e.     Attachment 111 are true and correct copies of Network One's
20      emails discussing the performance of its short codes.
21                   f.     Attachment 112 are true and correct copies of Bear's emails
22      discussing the performance of its short codes.
23         Emails showing Defendants received short code refund and revenue data
24             20.   Defendants' emails also included notifications from Mobile
25      Messenger about the revenue and refund rates on their short codes. In some
26      instances, the emails make note of refund ratios of over 20% for certain short code
27      campaigns. In other instances, Mobile Messenger makes note of when a carrier's
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 1       refund ratio has been exceeded and advises Defendant to move traffic to another
2        short code.
3                      a.    Attachment 113 are true and correct copies of MDK's emails
4        discussing the content provider's refund rates for certain short codes.
5                      b.    Attachment 114 are true and correct copies of Anacapa's
6        emails discussing the content provider's refund rates for certain short codes.
7                      c.    Attachment 115 are true and correct copies ofTendenci's
8        emails discussing the content provider's refund rates for certain short codes.
9                      d.    Attachment 116 are true and correct copies ofMindKontrol's
10       emails discussing the content provider's refund rates for certain short codes.
11                     e.    Attachment 117 are true and correct copies of Network ONe's
12       emails discussing the content provider's refund rates for certain short codes.
13                     f.    Attachment 118 is a true and correct copy of one of Bear's
14       emails discussing the content provider's refund rates for certain short codes.
15                  Defendants' emails concerning suspensions and terminations
16               21.   Almost all of the Defendants' emails contained notice of an actual
17       suspension or termination of one of their short codes on a carrier's network, or the
18      threat of such action due to a refund rate or a website audit. For example, in the
19      case of MindKontrol, the content provider received a number of threats of
20      suspension in connection with its failed website audits. See Attachment ~~·
21                     a.    Attachment 119 are true and correct copies ofMDK's emails
22      referencing the termination of the content provider and/or its short codes by certain
23      carriers.
24                     b.    Attachment 120 are true and correct copies of Anacapa's
25      emails referencing the termination or suspension of the content provider's short
26      codes.
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 1                      c.    Attachment 121 are true and correct copies of Tendenci's
2        emails referencing the termination or suspension of the content provider's short
 3       codes.
4                       d.    Attachment 122 are true and correct copies of Network One's
5        emails referencing the termination or suspension of the content provider's short
6        codes. Some of Network One's emails refer to the content provider as a "repeat
7        offender."
8                                           Consumer complaints
9                 22.   The emails for Tendenci, Anacapa and Bear contained emails
10       notifying the content provider of consumer complaints. The Tendenci emails
11       contained notification of complaints to the Business Consumer Alliance ("BCA")
12       or the Better Business Bureau ("BBB"). The BBB or BCA complaints against
13       Tendenci appear to have been sent initially to the email address
14       thesarahb@gmail.com and were then forwarded from that email address to
15       sarah@tendenci.com. The emails from the BCA or the BBB also typically
16       contained a hyperlink within the notification email that would take the user to the
17       consumer complaint on the BCA or BBB website.
18                      a.    Attachment 123 are true and correct copies of BBB or BCA
19       emails that Tendenci received. For each email that contained a hyperlink, I clicked
20       on the link and printed the consumer complaint, which is included after each
21       notification email in Attachment
22                      b.    Attachment 124 are true and correct copies of Anacapa's
23       emails referencing a consumer complaint.
24                      c.    Attachment 125 is a true and correct copy of a voicemail
25      notification to Bear referencing a consumer requesting a refund.
26             23.      On August 6, 2014, defendant Sarah Brekke produced to the FTC
27      three email chains relating to consumer complaints that she had received in
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 1       connection with Tendenci Media's placement of charges on consumers' mobile
 2       phone bills.
 3                      a.    Attachment 126 is an email dated December 6, 2012 with the
 4       subject line, "Document from the BBB," forwarded by defendant Brekke to her
 5       attorneys on August 5, 2014.
 6                      b.    Attachment 127 is an email dated September 30, 2013 with the
 7       subject line, "BCA Consumer complaint #98766754," as forwarded by defendant
 8       Brekke to her attorneys on August 5, 2014. The third email in the string is from
 9       thesarahb@gmail.com to sarah@tendencimedia.com and states "Same guy who
10       left a vm last week."
11                      c.    Attachment 128 is an email dated November 18, 2013 with the
12       subject line, "Fwd: Regarding Complaint ID #98768052 - Shalender Singh," as
13       forwarded by defendant Brekke to her attorneys on August 5, 2014.
14       Emails showing Individual Defendants' participation and control in setting up
15                                    their respective companies
16             24.      Defendants' emails show the ways in which certain individual
17       defendants participated in the formation and ongoing business of their respective
18       comp am es.
19                      a.    Attachment 129 consists of emails that show some of the ways
20      in which Defendant Byrd participated in the formation and ongoing business of
21      Anacapa' s operations.
22                      b.   Attachment 130 consists of emails that show some of the ways
23      in which Defendant Dawson participated in the formation and ongoing business of
24      Bear's operations.
25                      c.   Attachment 131 consists of emails that show some of the ways
26      in which Defendant DeNovellis participated in the formation and ongoing business
27      of MindKontrol 's operations.
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1                    d.     Attachment 132 consists of emails that show some of the ways
2       in which Defendant Adkisson participated in the formation and ongoing business
3       of Network One's operations.
4                Texas Attorney General's investigation of and lawsuit against
5                         Defendants MDK, Tendenci, Anacapa, and Bear
6              25.   On August 5, 2014, in response to the FTC's request that defendant
7       Makonnen Kebede produce "All documents produced to and correspondence with
8       any state Attorney General's office or other consumer protection agency,"
9       defendant Kebede produced documents in a Redweld folder labeled "Texas AG."
10                   a.     Attachment 133 is a true and correct copy of a document
l1      contained in the Redweld folder labeled "Texas AG." This document appears to
12      be a Civil Investigative Demand ("CID") issued by the Texas Attorney General's
13      office to MDK Media Inc. on July 29, 2013. Exhibit C of the CID contains a
14      number of document requests.
15                          1.    Document Request # I of the CID states: "Produce
16      documents identifying each PSMS You have advertised, offered, or sold to any
17      Texas Consumer between January 1, 2012, and the present. For purposes of this
18      request, identifying each PSMS includes identifying, (i) the name of the Content
19      Provider; (ii) the aggregator associated with the PSMS; (iii) the name of the PSMS;
20      (iii) the short code associated with the PSMS; (iv) the date the PSMS was first
21      offered to Texas Consumers· (v) the date the PSMS ended if it has ended; and (vi)
22      the URL for all associated website, if any.
23                          11.   Document Request #9 of the CID states: "For each PSMS
24      identified in response to Request No. I above, produce a copy of all websites,
25      emails, text messages, advertisements, and other marketing materials that have
26      been used in connection with such PSMS, including but not limited to all such
27      material that direct or directed consumers to a MIN Entry Page or an Interactive
28      Voice Recognition system."
                                                 15

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 I                      b.    Attachment 134 is a true and correct copy of a document
2        contained in the Redweld folder labeled "Texas AG." It appears to be a written
3        response from MDK Media to the Texas Attorney General's CID, as it restates the
4        document request and provides a response to the document request. The response
5        to Document Request #9 states, "Please see the folder "Exhibit C 9."
6               26.     On August 6, 2014, in response to the FTC's request that defendant
7        Wayne Byrd produce "All documents produced to and correspondence with any
8        state Attorney General's office or other consumer protection agency," defendant
9        Byrd produced to the FTC a letter dated October 30, 2013 from the Texas Attorney
10       General's office to Anacapa Media, attn.: Wayne Byrd. Attachment 135 is a true
11       and correct copy of this October 30, 2013 letter.
12              27.     Attachment 136 is a true and correct copy of a document titled
13       "Plaintiffs Original Petition," produced to the FTC by the Texas Attorney
14       General's office. I am informed and believe that this Petition was filed by the
15       Texas Attorney General's office on or about November 1, 2013, against Mobile
16       Messenger U.S. Inc., Defendants MDK Media Inc., Bear Communications LLC,
17       Anacapa Media LLC, and Tendenci Media LLC, and Mundo Media Ltd., in Texas
18       state court.
19              28.     Attachment 137 is a true and correct copy of a document titled
20       "Defendants MDK Media, Inc., Bear Communications, LLC, Anacapa Media,
21       LLC, and Tendenci Media, LLC's Special Exceptions and Original Answer to
22      Plaintiffs Original Petition" ("Answer") produced to the FTC by the Texas
23      Attorney General's office. The document is dated April 8, 2014.
24                                   Need for a physical address
25             29.      An email from Network One shows an email discussion of a need for
26      a physical address for a vetting application. Attachment 138 is a true and correct
27      copy of an email chain dated August 28, 2012 and August 30, 2012, which
28      includes the following:
                                                   16

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 1                      a.    An August 28, 2012 email from
2        CSchroeder@AegisMobile.com to Casey@NetworkOneCommerce.com
 3       VZyriek@AegisMobile.com, cc'd to CTIASupport@AegisMobile.com. The email
4        informs Casey that "[t]he application is under review, however there are a few
5        fields that will need to be updated"; "The address needs to be a valid physical
6        address. The address currently listed in the portal is a virtual office." The email
7        also states "The website must be operational."
8                       b.    An August 30, 2012 9:39 AM email from
9        Casey@)NetworkOneCommerce.com forwarding CSchroeder@AegisMobile.com's
10       email to Michael.Anthony@rnobilemessenger.com, asking: "Any recommendation
11       on what to do for the address? That is my business address where I collect mail
12       etc., I can provide another office address in California but not sure if that will raise
13       any red flags?"
14                      c.    Michael.Anthony@mobilemessenger.com's response (date
15       stamped "On Thu, Aug 30, 2012 at 9:43 AM"), stating "They don't accept UPS or
16       PO boxes as the address, it needs to be a physical address. For example, is there a
17      physical address that you used when setting up your LLC on the articles of
18       incorporation?"
19                      d.    Casey@NetworkOneCommerce.com's response (date stamped
20      August 30, 2012 9:58 AM): "It is a phsyical (sic) address, but they also offer
21      virtual office services http://www.viewpointecenter.com/ it's on the LLC docs and
22      I have been using it for a long time with success."
23                    Emails regarding Defendants' post-November 2013 activity
24              30.     Emails for defendants MDK, Anacapa, and MindKontrol show that
25      the companies continued to receive invoices from Mobile Messenger Australia into
26      2014.
27                      a.    Attachment 139 are true and correct copies of Anacapa' s
28      emails which include invoices sent by PayVia and Outspoken to Anacapa during
                                                   17

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 1       the period January 2014 to May 2014. The attachment consists of the following
 2       emails:
3                           1.     January 21, 2014 email from cheryl.aken@mogreet.com
4        to wayne@anacapalive.com re "December 2013 Anacapa Media Invoice,'' with an
5        email attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty
6        Ltd. Cheryl Aken's signature block on this email identifies her as a "Financial
7        Analyst" for MOBILEMESSENGER/PA YVIA.
8                           11.    February 17, 2014 email from cheryl.aken@mogreet.com
9        to wayne@anacapalive.com re "January 2014 Anacapa Media Invoice," with an
10       email attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty
11       Ltd. Cheryl Aken's signature block on this email identifies her as a "Financial
12       Analyst" for MOBILEMESSENGER/PA YVIA.
13                          111.   March 19, 2014 email from cheryl.aken@outspoken.com
14       to wayne@anacapalive.com re "February 2014 Anacapa Media Invoice," with an
15       email attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty
16       Ltd. Cheryl Aken's signature block on this email identifies her as a "Financial
17       Analyst" for Outspoken.
18                          1v.    May 15, 2014 email from cheryl.aken@outspoken.com
19      to wayne@anacapalive.com re "April 2014 Anacapa Media Invoice," with two
20       email attachments. Both attachments are entitled "Tax Invoice" from "Mobile
21      Messenger Australia Pty Ltd. One is dated March 31, 2014, and the other is dated
22      April 30, 2014. Cheryl Aken's signature block on this email identifies her as a
23      "Financial Analyst" for Outspoken.
24                   b.     Attachment 140 are true and correct copies ofMindKontrol's
25      emails which include invoices sent by PayVia and Outspoken to MindKontrol
26      during the period January 2014 to May 2014. The attachment consists of the
27      following emails:
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                                                 18


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 1                          1.     January 21, 2014 email from cheryl.aken@mogreet.com
2        to chris@minktrl.com re "December 2013 MindKontrol Invoice," with an email
3        attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty Ltd.
4        Cheryl Aken's signature block on this email identifies her as a "Financial Analyst"
5        for MOBILEMESSENGER/PA YVIA.
6                           11.    February 17, 2014 email from cheryl.aken@mogreet.com
7        to chris@minktrl.com re "MindKontrol January 2014 Invoice," with an email
8        attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty Ltd.
9        Cheryl Aken's signature block on this email identifies her as a "Financial Analyst"
10       for MOBILEMESSENGER/PAYVIA. The Tax Invoice contains a description,
11       which states in part: "January SMS Usage."
12                          111.   A second February 17, 20 14 email from
13       cheryl.aken@mogreet.com to chris@minktrl.com; subject: "MindKontrol January
14       2014 Invoice," with an email attachment entitled "Tax Invoice" from "Mobile
15       Messenger Australia Pty Ltd. Cheryl Aken' s signature block on this email
16       identifies her as a "Financial Analyst" for MOBILEMESSENGER/PA YVIA. The
17      Tax Invoice contains a description, which states "Jan' 14 Monthly Fee - 8866."
18                         1v.     March 19, 2014 email from cheryl.aken@outspoken.com
19      to chris@minktrl.com; subject: "February 2014 MindKontrol Invoice," with an
20      email attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty
21      Ltd. Cheryl Aken's signature block on this email identifies her as a "Financial
22      Analyst" for Outspoken.
23                         v.      May 15, 2014 email from cheryl.aken@outspoken.com
24      to chris@minktrl.com; subject: "April 2014 MindKontrol Invoice," with two
25      email attachments. Both attachments are entitled "Tax Invoice" from "Mobile
26      Messenger Australia Pty Ltd. One is dated March 31, 2014, and the other is dated
27      April 30, 2014. Cheryl Aken's signature block on this email identifies her as a
28      "Financial Analyst" for Outspoken.
                                                 19


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 1                      c.    Attachment 141 is a true and correct copy of an invoice sent by
2        PayVia to MDK in February 2014, which consists of a February 17, 2014 email
 3       from cheryl.aken@mogreet.com to mak@mdkmediaonline.com and
4        mdkmediainc@gmai1.com; subject: "MDK January 2014 Invoice," with an email
5        attachment entitled "Tax Invoice" from "Mobile Messenger Australia Pty Ltd.
6        Cheryl Aken's signature block on this email identifies her as a "Financial Analyst''
7        for MOBILEMESSENGER/PA YVIA. The Tax Invoice contains a description,
8        which states in part: "January SMS Usage."
9               31.     MDK also had emails with a company called Neverblue. I visited the
10       website for Neverblue at www.neverblue.com. The "about Neverblue" tab on the
11       website states that the company specializes in lead generation. Attachment 142
12       are true and correct copies of emails from updates@neverblue.com to Makonnen
13       Kebede at mdkmediainc@gmail.com. The date range of the emails attached is
14       from December 2012 to June 2014.
15                                       Outspoken's website
16             32.      On August 11, 2014, I was asked to go to the URL "outspoken.com"
17       and capture the landing page. On August 11, 2014, using an FTC computer, I
18       opened Internet Explorer and typed www.outspoken.com into the URL address
19       bar. A site with the URL http://outspoken.com opened. I captured screenshots of
20       the entire landing page by clicking Alt+print screen. For each screen shot, I pasted
21       its image into Adobe Acrobat and saved it as a pdf file. I then combined those
22       screen shots into one pdf file so as to reflect the live site. Attachment 143 is a true
23       and correct copy of that combined landing page pdf file.
24                     Email to wayne@anacapalive.com regarding Tendenci
25             3 3.    Attachment 144 is a true and correct copy of an email string with a
26      date range of November 21, 2012 to November 22, 2012 from Anacapa's email
27      archive.
28                    Federal Trade Commission's Consumer Sentinel Database
                                                   20


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                                           ID #:668



 1              34.   Prior to becoming an Investigator in the FTC's Western Region, I was
 2       a Program Support Specialist in the office that ran and maintained the FTC's
 3       Consumer Sentinel Network database. I reported to the Program Manager for the
4        Consumer Sentinel Network database. My position provided me with personal
 5       knowledge of how the Consumer Sentinel Network database is maintained. When
 6       consumer complaints are received from consumers, directly or through law
7        enforcement, U.S. federal agencies, state agencies, local agencies, foreign
8        agencies, and other organizations, Consumer Sentinel staff records the information
9        provided at or near the time of submission. The database is kept in the course of
10       regularly conducted activity, and making those records is a regular practice of that
11       activity.
12              35.   The Consumer Sentinel Network database and the information
13       contained in it are for law enforcement purposes. Only authorized users may
14       access the database. Those authorized users cannot change any of the information
15      input by other users contained therein. I am an authorized user of Consumer
16       Sentinel. Attachment 5 to my first declaration are true and correct copies of
17      consumer complaints that I found on Consumer Sentinel relating to the Corporate
18      Defendants in this matter.
19                                        SMS Watchdog
20              36.   In September 2013, I visited the website SMS Watchdog at the
21      following url: www.smswatchdog.com. The site is an Internet-based complaint
22      board where consumers can learn information about unsolicited texts they receive.
23      The site provides a place to enter a 5-6 digit SMS code to search complaints for
24      consumer posts corresponding to the relating to the code. While on the site, I
25      searched for the following codes: 71573, 54480, 79597, 25260, 83016, and 70890.
26      I converted the search result pages to Adobe Acrobat (.pdf) format, which were
27      included within Attachment 8 to my first declaration.
28

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 1             37.    Attachment 8 to my first declaration also contained search results for
 2       the following short codes: 25872, 46806, 49734, 54267, 64651, 74881, and 85739.
 3       On August 11, 2014, I searched the SMS Watchdog site for these short codes and
4        verified that each post contained in attachment 8 to my declaration was on the
5        website.
6              I declare under penalty of perjury that the foregoing is true and correct.
7        Executed at Los Angeles, California, on   4"f vs, 12.,   1--01L{
8
9
10                                       David S. Gonzalez
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                                        ID  #:670
                                         #:2652



From:                             Chris DeNovellis <chris@mindktrl.com>
Sent:                             Monday, May 21, 2012 11:49 AM
To:                               Jacqui Johnson
Cc:                               Erdolo Eromo
Subject:                          Re: Follow up
Attachments:                      MM_Service_Contract_MindKontrol.PDF



Hi Jacqui,

See attached for signed copy of the agreement.

Thanks,

Chris

On Mon, May 21, 2012 at 11:38 AM, Jacqui Johnson <jacqui.johnson@mobilemessenger.com> wrote:

HelloChris,



Thankyouforthatinformation.IhaveattachedthecontractIhaveputtogetherforyou.Pleaseletusknowifyouhave
anyquestions.

Kind regards,

Jacqui Johnson
Sales Administrator

MOBILEMESSENGER



From: Chris DeNovellis [mailto:chris@mindktrl.com]
Sent: Friday, May 18, 2012 1:12 PM
To: Erdolo Eromo
Cc: Jacqui Johnson
Subject: Re: Follow up




Actually, please disregard the original excel.



Here is the correct version.



                                                            1


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                                                                                   ID
                                     ID  #:671
                                      #:2653
Thanks,



Chris

On Fri, May 18, 2012 at 1:05 PM, Erdolo Eromo <erdolo.eromo@mobilemessenger.com> wrote:

ThankyouChris!!



JacquiandIwillgetacontractouttoyouonMonday.



Regards,

Erdolo Eromo
Senior Vice President of Sales

MOBILEMESSENGER



From: Chris DeNovellis [mailto:chris@mindktrl.com]
Sent: Friday, May 18, 2012 12:59 PM
To: Erdolo Eromo
Subject: Re: Follow up




Hi Erdolo,



Please see attached for completed forms.



I am looking forward to working with Mobile Messenger as well.



The experience has been great thus far!



Please let me know if you have any questions or need additional information.



                                                             2


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                                     ID  #:672
                                      #:2654
Thanks,



Chris

On Fri, May 18, 2012 at 11:43 AM, Erdolo Eromo <erdolo.eromo@mobilemessenger.com> wrote:

Hi Chris,



It was great talking to you yesterday!! Per our conversation, I have attached a new client form that I need you to
fill out along with a W9 form.



Please get this back to us ASAP so that we can get you on board.



We look forward to working with you.



Regards,

Erdolo Eromo
Senior Vice President of Sales

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1 310 957 3309
M: 310-384-8437
IM: Skype: Dolomite17
F: +1 310 861 1140
www.mobilemessenger.com

Mobile Messenger is the leading Mobile Solutions Provider, supplying its partners with cutting-edge technology and services that
facilitate the marketing, distribution, and monetization of digital content to mobile devices. We provide strong, secure, and trusted
connections to consumers, and offer comprehensive solutions supporting every step of your mobile business initiative. From
creative, content management, and messaging connections, to payment processing and robust analysis that drive ROI, Mobile
Messenger helps businesses build long-lasting, successful brands and mobile campaigns.

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MOBILE MESSENGER



 Service Order -- Mobile Messenger U.S. Inc.

  C,istc.,T, •

  Business Name:                             MindKontrol Industries LLC                                 State of Incorporaton:     CA
  Billing Address:                           912 Webster St
   City:                                     Palo Alto           State:     CA                         Postal Code :     94301
   Contact:                                  Title:      President                     Name:             Chris OeNovellis
  Business Phone:                            408-475-6566                             Business Fax :     408-416-3420
   Contact E-mail:                           ~hns@mindktrl.tQm                        Mobile Number:     408-599-2828
   Web Address:
   Mobile Messenger Account Manager:                          TBD


   Tl'' l , fl   1, ( ' f l t l ' t


   Name:              Chris DeNovellis                                                E-mail:   thn:i@m1ndlstcl.tQm
  Phone:              408-475-6566                                                    Mobile:   408-599-2828
   Notify of Outage :                 l8'J

   B,111k P,,.,,, · t           ), t,111(


   Bank                               Bank of America
   Bank Address :                     530 Lytton Ave, Palo Alto, CA 94301
   Account Name:                      MindKontrol Industries LLC          Contact Name for Remittance Address:        Chris DeNovellis
                                                                                                                      Wire Transfers:
                                                                                                                      26009593
                                                                                                                      Direct Depost:
   Account# :                         117666755                           Routing #/ Swift :                          121000358


   St.:r,'C" Dctc1il--,

   Service Name:                      MindKontrol Txt Alerts
   Territory:                         USA
   Short Code:                        TBD
   Number Type :                      l8'l Random Number                   D Vanity Number             D Shared Number
   Service Overview:                    (Provide a detailed overview of the service. The more detail supplied will help facilitate the
                                        connection.)
   MM TO PROVIDE


  Mobile Messenger CONFIDENTIAL
  c;,..rvii:e Order US                                                      Page -91-                                      Exhibit
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                                           #:2656



MOBILE MESSENGER



    Service Type/ Product:        0 mm gateway 181 mm mep               D mm chat         0 mm trivia
    Text to appear on bill:       TBD This allows consumers to reference the charge against their purchase
    State Date:                   ASAP                                  End Date:      ONGOING
    Expected Monthly Volume:      10,000
    Additional Information:       N/A
                                  Please provide any additional information that may assist in the connection of your
                                  premium SMS number across each carrier. Each service must be approved by each
                                  carrier and a detailed description assists in the speed of number set-up.
                                  MMTO
    Customer Support Phone:       PROVIDE        Support E-mail:     MM TO PROVIDE        Hrs of Operation :     24/7
                                   Only applicable if you will be providing your own customer support service.
    Chat Moderator Provided by:    181 Mobile Messenger            0 Customer (Applicable to chat services only.)
    Advertising :                  181 Web                         □ TV                        0 Print


    Mobile Messenger Standard Terms and Conditions
    The Mobile Messenger Standard Terms and Conditions are adopted by Mobile Messenger U.S., Inc. and form an
    integral part of this Service Order. The latest version is available from Customer's Mobile Messenger account
    representative.

    Special Terms



    Dispute Resolution
    Note: Per the Mobile Messenger Standard Terms and Conditions, all disputes relating to this Service Order will be
    resolved exclusively by private confidential arbitration in Los Angeles, CA, with attorneys fees and costs awarded to
    the prevailing party. Mobile Messenger and Customer waive their right to a trial by jury of any dispute.
I


    The Mobile Messenger Standard Terms and Conditions govern this Service Order and the provision of all Services,
    except as expressly stated. The Customer agrees to comply with all relevant industry legislation, regulations and
    best -practices codes including but not limited to the Mobile Marketing Association Consumer Best Practices
    Guidelines and Mobile Operator Guidelines and the rules of CTIA relating to short codes and Services.



    Mobile Messenger U.S., Inc.
    By:
    Name:     Darcy Wedd                                        Name:     Chris DeNovellis

    Title:     COO                                             Title:      President

    Date:                                                       Date:

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                                        ID  #:675
                                         #:2657



From:                                         Chris DeNovellis <chris@mindktrl.com>
Sent:                                         Thursday, May 31, 2012 11:18 AM
To:                                           Carol Szeto
Subject:                                      Re: MindKontrol Industries - MM Compliance Docs and Verizon/AT&T Vetting Forms
Attachments:                                  MKI Company Information Form.docx; MKI_IRS.PDF; MKI_CA_LLC.PDF;
                                              MKI_CPC_Signed.PDF; W9_MindKontrol.PDF



Hi Carol,

See attached.

It is a bit confusing, there is a lot of duplicate info, so please let me know if I am missing anything.

I think we are focusing on VZ first, then we will focus on ATT.

Thanks,

Chris

On Wed, May 30, 2012 at 10:44 AM, Carol Szeto <Carol.Szeto@mobilemessenger.com> wrote:

Noproblem,Chris.





Thanks!

Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
www.mobilemessenger.com




Mobile Messenger is the leading Mobile Solutions Provider, supplying its partners with cutting-edge technology and services
that facilitate the marketing, distribution, and monetization of digital content to mobile devices. We provide strong, secure,
and trusted connections to consumers, and offer comprehensive solutions supporting every step of your mobile business
initiative. From creative, content management, and messaging connections, to payment processing and robust analysis that
drive ROI, Mobile Messenger helps businesses build long-lasting, successful brands and mobile campaigns.

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necessarily reflect the views of Mobile Messenger group companies.




From: Chris DeNovellis [mailto:chris@mindktrl.com]
Sent: Wednesday, May 30, 2012 10:42 AM
To: Carol Szeto
Subject: Re: MindKontrol Industries - MM Compliance Docs and Verizon/AT&T Vetting Forms




Hi Carol,

I have been traveling. I will have the forms for you tomorrow.

Thanks,

Chris

On May 29, 2012 3:57 PM, "Carol Szeto" <Carol.Szeto@mobilemessenger.com> wrote:

Hi Chris,



Hope you had a nice weekend!



Wanted to follow up with you and see how everything is going and if you had any questions on the
attached. Please let me know. -




Thanks,

Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
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and trusted connections to consumers, and offer comprehensive solutions supporting every step of your mobile business
initiative. From creative, content management, and messaging connections, to payment processing and robust analysis that
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From: Carol Szeto
Sent: Thursday, May 24, 2012 3:16 PM
To: 'Chris DeNovellis'
Cc: Erdolo Eromo
Subject: MindKontrol Industries - MM Compliance Docs and Verizon/AT&T Vetting Forms




Hi Chris,



Thanks for your time today.




Attached are MM compliance docs and guidelines, as well as AT&T and Verizon Vetting forms that we will
need from you. Please review, complete, and return at your earliest convenience.




Please see below for mandatory Verizon vetting docs:

SBL (State Business License)

Consumer Protection Certification (CPC) – Updated Version

TIN (Tax Identification Number)

W8 or W9



Additional Accepted documentation if you do not have one of the above:

Service Order

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                                         #:2660
Dunn & Bradstreet

Reuters

Bloomberg

Annual Report

Government documents and or links for official government sites

Charity Navigator and/or Guidestar – for Giving organizations




Please let me know if you have questions on the above docs.




Thanks!

Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
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that facilitate the marketing, distribution, and monetization of digital content to mobile devices. We provide strong, secure,
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                                               -
 □     Company Name:*               MindKontrol Industries LLC

 □     D.B.A:                       Click here to enter text.


 □     Related Organizations:       Click here to enter text.


 □     Federal Tax ID:*             XXX-XX-XXXX


 □     State Tax ID:*               XXX-XX-XXXX


 □     Description of Company:      Technology Med ia Marketing


 □     Physical Address*            Street Address: 912 Webster St
                                    City: Palo Alto
                                    State: CA Zip: 94301
                                    Country: USA
                                      -
 □     Type of Business*            LLC

 □     CEO Name*                    Christopher T. DeNovellis

 □     Service Roles*               Content Provider

 □     Contact Name:*               Christopher DeNovellis

 □     Contact Phone:*              408-475-6566

 □     Contact E-Mail:*             chris@mindktrl.com


 □     Commercial Bank Name: *      Bank of America

 □     Bank Account Number
       (Last 4 Digits):*
                                    6755


 □     Routing Number:*             26009593


 □     Bank Contact Name:*          Click here to enter text.


 □     Bank Phone Number:*          650.566.8331


 □     In addition to the above, please supply the following documents*

       □ State
         Master Service Agreement (front page and signature page)

       □       Business License (if available)

       □ CPC Letter

       □ W-9 orW-8




 *Required information




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t"t&     IRS DEPARTMENT OF THE TREASURY
fdlAil       INTERNAL REVENUE SERVICE
             CINCINNATI   OH    45999-0023

                                                                    Dace of chis notice :     03-11-2011

                                                                    Employer Identi fication Number :
                                                                    XX-XXXXXXX

                                                                    Form :   SS-4
                                                                    Number of this notice :    CP 575 G
                    MINDKONTROL INDUSTRIES LLC
                    CHRISTOPHER DENOVELLIS SOLE MBR
                    175 W SAINT JAMES ST                            For assi stance you may call us at :
                    SAN JOSE, CA 95110                              l-800-829-4933


                                                                    IF YOU WRITE, A'ITACH THE
                                                                    STIJB AT TifE END OF THIS NOTICE .




                            WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER
                Thank you for applying for an Employer Identification Number (EIN) . We assigned you
           EIN XX-XXXXXXX . This EIN will identify you, your bus1.ness accounts, tax returns, and
           documents, even if you have no employees . Please keep this notice in your pennanent
           records .
                When filing tax documents, payments , and related correspondence, it is very important
           that you use your EIN and complete name and address exactly as shown above . Any variation
           may cause a delay in processing , result 1n incorrect infonnation in your account , or even
           cause you to be assigned more than one EIN . If the information is not correct as shown
           above, please make the correction using the accached tear off stub and return ic co us .
                A limited liability company (LLC) may file Form 8832, Entity Classification Election,
           and elect to be classified as an association taxable as a corporation . If the LLC is
           eligible to be treated as a corporation that meets certain tests and it will be electing S
           corporation status, it must timely file Form 2553, Election by a Small Business
           Corporation . The LLC will be treated as a corporation as of the effective date of the s
           corporation election and does not need to f i le Form 8832.
                To obta,i.n tax forms and publications, 1nclud1n9 chose referenced in this notice,
           visit our Web site ac www.irs.gov . If you do noc have access to the Internet, call
           l-800-829-3676 ('M'Y/TDD l-800-829-4059) or visit your local IRS office .

           IMPORTAlff RDCDmBRS :

                •    Keep a copy of this notice in your permanent records . Thi• notice i• iaaued only
                     one time and th• IRS will not b• able to generate a duplicate copy for you.
                •    Use this EIN and your name exactly as they appear at the top of this notice on all
                     your federal tax forms .
                •    Refer co this EIN on your tax-related correspondence and documents .
                If you have questions about your EIN. you can call us at the phone number or write to
           us at the address shown at the cop of this notice . If you write, please tear off the stub
           at the bottom of this notice and send it along with your letter . If you do not need to
           write us, do not complete and return the stub. Thank you for your cooperation.




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                              State of California
                                   Secretary of State
                                                                                                      ENDORSED • FILED
                                                                                                      In the office of the Secretary of State
                                                                                                             of the State of California
                 LIMITED LIABILITY COMPANY                                                                      JAN 31 2011
                 ARTICLES OF ORGANIZATION

            A $70.,00 filing fee must accompany this form.
     IMPORTANT - Read Instructions before completing this form.                                              This Space For Filing Use Only

ENTITY l'IIAME (End the name with the words "Limited Liability Company," or the abbreviations "LLC" or "L.L.C." The words "Limited" and "Company"
may be abbreviated to "Lid." and ·co.:
                                   respectively.)

1. NAME OF LIMITED LIABILITY COMPANY

   MindKontrol Industries LLC

PURPOSE (The following statement is required by statute and should not be altered.)
2. THE PURPOSE OF THE LIMITED LIABILITY COMPANY IS TO ENGAGE IN ANY LAWFUL ACT OR ACTIVITY FOR WHICH A LIMITED LIABILITY
   COMPANY MAY BE ORGANIZED UNDER THE BEVERL Y-KILLEA LIMITED LIABILITY COMPANY ACT.



INITIAL AGENT FOR SERVICE OF PROCESS (If the agent is an individual, the agent must reside in California and both Items 3 and 4 must be
completed. If the agent is a corporation, the agent must have on file with the California Secretary of State a certificate pursuant to Corporations Code
section 1505 and Item 3 must be completed (leave Item 4 blank).

3. NAME OF INITIAL AGENT FOR SERVICE OF PROCESS

   Legalzoom.com, Inc.

4. IF AN INDIVIDUAL, ADDRESS OF INITIAL AGENT FOR SERVICE OF PROCESS IN CALIFORNIA                  CITY                   STATE       ZIP CODE

                                                                                                                             CA

MANAGEMENT (Check only one)
5. THE LIMITED LIABILITY COMPANY WILL BE MANAGED BY:

   □ ONE MANAGER
   □ MORE THAN ONE MANAGER
   0    ALL LIMITED LIABILITY COMPANY MEMBER(S)



ADDITIONAL INFORMATION
6 . ADDITIONAL INFORMATION SET FORTH ON THE ATTACHED PAGES. IF ANY, IS INCORPORATED HEREIN BY THIS REFERENCE AND MADE A PART
    OF THIS CERTIFICATE.


EXECUTION ,-~




    1/28/2011
   DATE


                                                                    Karia Figueroa
                                                                   TYPE OR PRINT NAME OF ORGANIZER


LLC-1 (REV 04/2007)                                                                                                  APPROVED BY SECRETARY OF STATE
                                                                    Page -99-                                                     Exhibit 10
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                                    #:2664


                      Consumer Protection Certification
 Comoanv lnfonnation
 Company Name                                MindKontrol lndustries LLC
 Business Name(s)if different than above
 DBA(s):
 DBA(s):
 Related Organizations
 Related Organizations
 Physical Address                            912 Webster St
 Physical Address                            Palo Alto, CA 94301
 Email Address                               chris@mindktrl.com
 Tax ID                                      XXX-XX-XXXX


 Kev Bualn•• Personnel (Minimum of 3 names must be orovided)
 CEO Name
 President Name
 CFO Name
 COO Name
 Owner(s) Name                              Christopher T. DeNovellis
 Partner(s) Name


 Bank lnfonnatlon
 Bank Name                                  Bank of America
 Bank Contact
 Phone Number                               650-566-8331
 Routing Number                             26009593
 Account. No. (Last 4 Digits):              6755


 /, 01\~:,1'0   ~tr' bGA.fuve.        lcs    on behalf of the above named company ("Applicant•), under penalty
 of perjury u er the laws of the United States, hereby declare that the infonnation provided above and the
 following statements are true and correct. Applicant hereby acknowledges that false statements or failure to
 provide the requested infonnation may disqualify Applicant from attaining or maintaining the Program with
 Verizon Wireless. Any subsequently discovered false statements herein shall constitute cause by Verizon
 Wimless to terminate or ,eject any or all of Applicant's Programs.

 Has the Applicant, or any Shareholder owning 20% or more of Applicant, ever been found by any agency or
 court of law to have committed any violations of state or federal law, rules or regulations relating to consumer
 protection, including, but not limited to, ·cramming• (i.e., the placement of an unauthorized charge on a
 consumer's telephone bill)?
 D Yes         [x)No


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  •••signature/Title must match one of the Key Personnel named above•••

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F~       W-9                                               Request for Taxpayer                                                               Give Form to the
                                                                                                                                              requester. Do not
(Rev. Janualy 2011)
eep.tmert of the T19111.ry
                                                  Identification Number and Certification                                                     send to the IRS.
w.n.i AlveRJe Service
      Name (a lhown on 'fOAX Income tax return)
         Christopher OeNovellis
         Bullr.a rwne/dllr9glrded entity name, If dlfferwlt from above
   Cli
         MindKontrol Industries LLC
   t
   s
         Check appropriate box for federal tax
                                                                                                               0                  0 Trust/estate
         claelftcatlon (requinld):   [l) lndvldual/1018 proprietor   D C Corporation 0 S Corporation                Partnership




!J        0 Umlted llablllty company. Enter lhe tax cimlflcetlon (C• C COfPC)lation, SsS corporation, P=partn.9hip) ► ---··--·-------··----·---··----- □ Exempt payee

          □ Other , _ lnltructlons) ►

If       Addr988 (number. street, and apl or de no.)
         912 Webster St
                                                                                                              Requester'• name and addreel (optional)


         City, state, and ZIP code
   ! Palo Alto, CA 94301
         Ult account number(a) here (optional)


  .                T          __ ldentlftcationNumbermN)
Enter yCXK TIN In the appropriate bo~         ?19
                                              TIN ~ e e l roos~ match ~ name given on the "Name" line                 I SocW NQ.itynumber                               I
to allOid backup withholding. For Individuals, thtS la ycu social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the Part I instructions on page 3 . For other
entities, It la yo41 employer identification number (EIN). If you do not have a number, see How to get a
TIN on page 3.
Mota. If the accxurt la in more than one name, see the chart on page 4 for guidelines on Whose                        1Emploww ldenllllcation num11er
runber to enter.
                                                                                                                      m-11111111
■fill•             Certlflcatlon
Under penalties of perjuy, I certify that:
1. The number shown on this form is my correct taxpayer Identification number (or I am waiting for a noolbef to be issued to me), and
2. I am not subject to backup withtlolding becauee: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am
   no longer subject to backup withholding, and

 3. I am a U.S. citizen or other U.S. person (defined below).
 Ce111ftcatlon lnatructlona. You must cross out item 2 above If you have been notified by the IRS that you are currently subject to backup withholding
 because you have failed to report all lntnst and dividends on YCXK tax return. For real estate transactions, item 2 does not apply. For mortgage
 interest paid, acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement anangement ORA), and




 ~=- Ck rl ?'hfl/£·
 generally, payments other than interest and dividends, you are not required to sign the certification, but you must provide your correct TIN. See the




                                                                                        ~ - If a requester gives you a form other than Form W-9 to request
 General Instructions                                                                   your TIN, you must use the requester's form if it la substantially ainilar
 Section ret.ei as are to the Internal Revenue Code unless otherWise                    to this form W-9.
 noted.                                                                                 Deftnltion of • U.S. person. For fedefal tax purposes, you are
                                                                                        considered a U.S. person If you are:
 Purpose of Fonn                                                                        • An individual who Is a U.S. citizen or U.S. resident alien,
 A person who Is required to file an information return with the IRS must
 obtain your conect taxpayer Identification runber (TIN) to report, for                 • A partnership, corporation, company, or association created or
 example, income paid to you, real estate transactions, mortgage interest               organized In the United States or under the laws of the United States,
 you paid, acquisition or abandonment of secured property, cancellation                  • Alt estate (other than a foreign estate), or
 of debt, or contributions you made to an IRA                                            • A domestic trust (as defined In Regulations section 301 .7701-7).
    Use Form W-9 only if you are a U.S. person Oncluding a resident                      Special ruin for partnenhlpa. Partnerships that conduct a trade or
 alien), to provide yo41 correct TIN to the person requesting it (the                    business in the United States are generally required to pay a withholding
 requeater, and, when applicable, to:                                                    tax on any foreign partners' share of income from such, business.
    1. Certify that the TIN you are giving is correct (or you are waiting fot a          Further, in certain cases where a Form W-9 has not been received, a
 number to be Issued),                                                                   partnership Is required to presume that a partner la a foreign person,
    2. Certify that you are not subject to backup withholding, or                        and pay the withholding tax. Therefore, If you are a U.S. person that is a
                                                                                         partner in a. partnership conducting a trade or business In the United
    3. Claim exemption from backup withholding If you are a U.S. exempt                  States, provide Form W-9 to the partnership to establish yoor U.S.
 payee. If applicable, you are also certifying that as a U.S. person, your               status and avoid withholding on your atwe of partnership income.
 allocable share of any pertnenhlp income from a U.S. trade or business
 Is not subject to the withholding tax on foreign partners' share of
 effectively connected income.
                                                                           Page -101-                                                      Exhibit 10 (Rev. 1-20111
                                                                                                                                             Form W-9
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From:                                         Chris DeNovellis <chris@mindktrl.com>
Sent:                                         Friday, June 01, 2012 12:12 PM
To:                                           Carol Szeto
Subject:                                      Re: MindKontrol - ATT Partner Validation Intake Form



Done

On Fri, Jun 1, 2012 at 11:55 AM, Carol Szeto <Carol.Szeto@mobilemessenger.com> wrote:

HiChris,



Onelastthing…



Can you please hit the “submit” button for Verizon vetting in the Aegis tool? You should have received an
email from them today. Let me know if you have any questions. Please confirm as well.




Thanks!

Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
www.mobilemessenger.com




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that facilitate the marketing, distribution, and monetization of digital content to mobile devices. We provide strong, secure,
and trusted connections to consumers, and offer comprehensive solutions supporting every step of your mobile business
initiative. From creative, content management, and messaging connections, to payment processing and robust analysis that
drive ROI, Mobile Messenger helps businesses build long-lasting, successful brands and mobile campaigns.

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                                           #:2667
From: Carol Szeto
Sent: Friday, June 01, 2012 11:50 AM
To: 'Chris DeNovellis'
Subject: RE: MindKontrol - ATT Partner Validation Intake Form




Thanks!!

Haveagreatweekend.-



Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
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

From: Chris DeNovellis [mailto:chris@mindktrl.com]

Sent: Friday, June 01, 2012 11:49 AM
To: Carol Szeto
Subject: Re: MindKontrol - ATT Partner Validation Intake Form



Attached

On Fri, Jun 1, 2012 at 11:45 AM, Carol Szeto <Carol.Szeto@mobilemessenger.com> wrote:

Hi Chris,



                                                                                2


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I know you’re working on this form, but just so you’re aware -- AT&T says if it’s not returned by 12pm, we
will miss the deadline for certification/provisioning for at least 2 months.




Thanks,

Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
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F: +1.310.861.1140
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From: Carol Szeto
Sent: Friday, June 01, 2012 11:20 AM
To: 'Chris DeNovellis'
Subject: MindKontrol - ATT Partner Validation Intake Form




Hi Chris,



Please sign the required attached AT&T intake form and in addition, please also fill out the “company website”
section.



We must have this form back and signed no later than 12:00PM (TODAY). Thanks.




                                                                                3


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Please contact me with any questions.




Thanks,

Carol Szeto
Account Manager

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
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                                          #:2670



From:                           Chris DeNovellis <chris@mindktrl.com>
Sent:                           Monday, June 11, 2012 5:17 PM
To:                             Carol Szeto
Cc:                             Erdolo Eromo
Subject:                        Re: MindKontrol - AT&T/CTIA Vetting



I completed and submitted on Friday.

On Jun 11, 2012 5:04 PM, "Carol Szeto" <Carol.Szeto@mobilemessenger.com> wrote:

Hi Chris,



Just wanted to follow up with you on AT&T/CTIA Vetting.



An email notification should have been sent to you on Friday from the Aegis Tool for you to complete AT&T
vetting.



Please let me know if I can assist you with getting this process completed.



---



If you have questions on vetting, you can contact CTIA at: ctiasupport@aegismobile.com



Also, please copy my team, campaignoperations@mobilemessenger.com so we can keep up to date on vetting
with your company.



Please log in and fill in your company's details in the "Provider Screening" tab. If you have not logged in
before, you will have to register before entering the site.




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Please let me know if you have any questions.




Thanks,

Carol Szeto
Account Manager

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6601 Center Drive W Suite 700
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P: +1.310.957.3349
M: 626.641.1807
F: +1.310.861.1140
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                                         #:2672



From:                           Chris DeNovellis <chris@mindktrl.com>
Sent:                           Sunday, July 08, 2012 4:14 PM
To:                             Harrison Gevirtz
Cc:                             george@eaglewebassets.com
Subject:                        Re: EWA Network Advertisers Form



Hmmm, greater than $10 CPA is kind of high.

Are there volume discounts?

How does WAP vs www back out better?

On Sun, Jul 8, 2012 at 1:58 AM, Harrison Gevirtz <harrison@eaglewebassets.com> wrote:
Actually not, The leads back out very well.
H


On Sun, Jul 8, 2012 at 1:42 AM, Chris DeNovellis <chris@mindktrl.com> wrote:
Is WAP much lower CPA?

On Sun, Jul 8, 2012 at 1:18 AM, Harrison Gevirtz <harrison@eaglewebassets.com> wrote:
Chris,
Do you have any Mobile WAP formatted landing pages available as well? We run a lot of USA Mobile
Premium Subscription Offers with CPA's ranging from $10-14.00 (The LTV on Ringtones is much higher than
IQ or Win an iPhone type offers, etc). Let me know about the mobile wap landing pages as we have a ton of
internal (non network) mobile device traffic.
Harrison

On Sun, Jul 8, 2012 at 12:53 AM, Chris DeNovellis <chris@mindktrl.com> wrote:
Hi Harrison,

I currently have relationships with mobile carriers in the US.

The campaigns are around premium content subscriptions, such as ringtones, games, etc

The traffic would first be coming in via the web with the goal to then convert visitors into premium sms
subscriptions by entering their mobile number.

Are you familiar similar campaigns?

Curious what your estimated CPA might be and type of volume you may be able to provide.

Thanks,

Chris



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                                                                                   64290 Page
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                                                ID #:691
                                                 #:2673
On Sun, Jul 8, 2012 at 12:35 AM, <harrison@eaglewebassets.com> wrote:

Hello Chris,
Tell me about the countries you are currently live in and the offers that you have set up now. We have a lot of
mobile traffic & I would love to generate volume to your offers.
Regards,
Harrison Gevirtz

---

-----Original Message-----
EWA Network Advertisers Form
From: chris@mindktrl.com
To: harrison@eaglewebassets.com
Saturday, July 07, 2012 at 10:21PM


From: Chris DeNovellis
Phone:
-----------------------------------------------------------------------------------------------
Hello,

I am a mobile content provider and am interested in learning more about traffic services.

Thanks,

Chris



Regards!
--
EWA Mailing Robot

-----------------------------------------------------------------------------------------------
Message From: 66.252.2.2
Message Generated: Sunday Jul 08, 2012 12:21am
-----------------------------------------------------------------------------------------------




--

ewa // Harrison Gevirtz,           Managing Partner
Eagle Web Assets Inc. :: EWA Network | BLAM Ads | Gevirtz Receivables


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ewa // Harrison Gevirtz,    Managing Partner
Eagle Web Assets Inc. :: EWA Network | BLAM Ads | Gevirtz Receivables

––– Global Presence (FR | ES | BR | NL | DE | IT | PK | IN | SG | HK | ID | MY | RO | RU) ––––––––––––––




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                                         ID  #:693
                                           #:2675



From:                           Chris DeNovellis <chris@mindktrl.com>
Sent:                           Monday, July 23, 2012 2:33 PM
To:                             Daryl Quan
Cc:                             Erdolo Eromo; Fraser Thompson; Diana.Delomba@mobilemessenger.com
Subject:                        Re: MindKontrol week 27 advance



Hi Daryl,

I have not heard back on this issue.

Can you assist in providing clarification?

Would like to make sure this week's check is correct as well.

Thanks,

Chris

On Thu, Jul 19, 2012 at 1:12 PM, Chris DeNovellis <chris@mindktrl.com> wrote:
Hi Diana,

I just noticed that the Advance structure for this payment is 70% / 5% fee.

Effective July 1, my contract is 75% / 1.5% fee.

Please advise.

Thanks,

Chris


On Tue, Jul 17, 2012 at 10:57 AM, Diana DaLomba <Diana.Delomba@mobilemessenger.com> wrote:

All,



Attached are the remittance details for your July 17th advance: $ 108,914.84

Please contact your account manager with any questions.



Regards,



                                                        1


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                                         ID  #:694
                                           #:2676
Diana DaLomba

diana.dalomba@mobilemessenger.com

MOBILEMESSENGER

311 Arsenal Street
Watertown MA 02472
P: +1 617-673-2536
F: +1 617-673-2401

www.mobilemessenger.com

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                                                                             64290 Page
                                                                                 Page ID
                                          ID  #:695
                                            #:2677



From:                         Chris DeNovellis <chris@mindktrl.com>
Sent:                         Wednesday, October 03, 2012 12:01 PM
To:                           Michael Anthony
Cc:                           Daryl Quan
Subject:                      Re: Optim izations



Thanks.

We should be all set now.

On Oct 2, 2012 3:52 PM, "Michael Anthony" <Michael.Anthony@mobilemessenger.com> wrote:

Hi Chris,



Can you change to message set 2 on "Green It My Way" (54267) and "My Eco Portal" (71573)?



This is a parameter you will set in the SEND_ PIN API call: message_set=Z
This should improve initial chum a bit.




Date                                                 New Subscriptions
MMC-02152 - 81636 - Choose Your I - PORTAL PROMO
 Message set 2
 Mes      set 3
MMC-04746 - 54267 - Green It M ' Way'-
                                    · ----------------------------'--
  Message set l
MMC-04748 - 71573 - M 'Eco Portal
  Message set l




thanks,


Michael Anthony
Account Manager
                                                     1

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                                         ID  #:696
                                           #:2678
MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1 310 957 3342
M: 323-632-6374
IM: Skype: michael.anthony.mm
F: +1 310 861 1140
www.mobilemessenger.com

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                                                                          64290 Page
                                                                              Page ID
                                       ID  #:697
                                         #:2679



From:                             Chris DeNovellis <chris@mindktrl.com>
Sent:                             Thursday, November 15, 2012 6:43 PM
To:                               Daryl Quan
Cc:                               Erdolo Eromo
Subject:                          Re: Request for AT&T Validation for Provisioning and Certification



Hi Daryl,

Next week isn't good for me.

I will be traveling east to visit family for thanksgiving.

The end of the following week is best.

Let me know if this is ok.

Chris


On Thu, Nov 15, 2012 at 4:51 PM, Daryl Quan <daryl.quan@mobilemessenger.com> wrote:

Chris,



AT&T is requesting a simple conference call on Monday, November 19th, 2012 between 10 AM EST – 12 PM
EST.

Please make sure you’re available for this day and timeframe. The specific time is undetermined but we will be
scheduled ASAP and an email will notify you of the time.



I’ll be calling you shortly to confirm that you received this email and your availability. This is extremely urgent
and a top priority in order to keep your existing campaigns running and move your new campaigns through the
provisioning and certification pipeline.



MindKontrol                     Status
85739 Horoscope                 Submitted
98053 Horoscope                 Submitted
71573 Text Based Portal         Live
54267 Text based Portal         Live



                                                             1


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                                         #:2680




In terms of preparation. Here are some of the questions AT&T was asking. The first 2 are what AT&T must
know in detail. The rest of the questions AT&T is asking is to gather as much info on you as a CP as possible.
Thanks.



1. Are you operating any programs on short codes XXXXX etc? (Priority Question)



2. Have you ever had any suspensions on XXXXX on the ATT network? If so, what are the details of those
suspensions? (Priority Question)



3. Are you planning on running any new programs on ATT?



4. Have you worked with any other companies offering programs on short codes before?



5. What type of programs ( horoscopes, surveys, tips, etc) are you running?



6. Can you track to see that our subscribers are only getting their daily message, like horoscopes, just once a day
and not multiple times?



7. What's an average of how many subscribers you get per day or week or month?



8. How do you get your traffic to your advertisements, affiliate marketing?



Regards,

Daryl Quan
Account Manager


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MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
P: +1 310 957 3329
M: 310.741.9177
F: +1 310 861 1140
www.mobilemessenger.com

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                                                                            64290 Page
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                                         ID  #:700
                                           #:2682



From:                                         Chris DeNovellis <chris@mindktrl.com>
Sent:                                         Thursday, March 21, 2013 2:29 PM
To:                                           Heidi Vaeth
Cc:                                           Daryl Quan; Anitra Smith; jeniffer.benavente@mobilemessenger.com
Subject:                                      Re: Vetting record for Sprint



Yes, MindKontrol is a California Single Member LLC taxed as a Sole Prop.


On Tue, Mar 19, 2013 at 1:35 PM, Heidi Vaeth <Heidi.Vaeth@mobilemessenger.com> wrote:

Hi Chris,



As Daryl is en route to a conference, I wanted to check in with you regarding the MindKontrol Industries,
LLC. Sprint vetting record. All documents included (excluding the W-9), state MindKontrol is an LLC instead
of a sole proprietor. Are you an LLC with one owner?



Sincerely,



Heidi Vaeth
Manager, Account Management

MOBILEMESSENGER
6601 Center Drive W Suite 700
Los Angeles CA 90045
W: +1 (310) 957-3363
C: +1 (310) 922-8555
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                                                                          64290 Page
                                                                              Page ID
                                       ID  #:701
                                         #:2683



From:                           Chris DeNovellis <chris@mindktrl.com>
Sent:                           Tuesday, April 09, 2013 1:41 PM
To:                             Daryl Quan
Cc:                             Erdolo Eromo; Fraser Thompson
Subject:                        Re: Urgent Request - regarding Sprint vetting
Attachments:                    MKI_CA_LLC.pdf



Hi Daryl,

The only thing I can do is to send over my CA / IRS documents stating that MKI is in fact a single-member
LLC.

Please see attached. I'm pretty certain all of this info was attached to vetting profile but maybe something was
missed.

Call me on my mobile at: 408.599.2828 if you need additional information.


Chris


On Tue, Apr 9, 2013 at 1:15 PM, Daryl Quan <daryl.quan@mobilemessenger.com> wrote:
Hi Chris,

I've left you a few voicemail and emails regarding Sprint vetting. Sprint has now escalated your account with
regards to deprovisioning your short codes.

Sprint and Aegis are insisting that Mindkontrol LLC was at one time been registered as a partnership and are
requesting full disclosure. If this matter is not settled by close of business today they will deprovision the
shortcodes on Sprint.

Please contact me ASAP.

Daryl Quan
Account Manager
Mobile Messenger




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           'i.      . ....
           .. ,. · .,1r
            ;:,J.,.,./                Secretary of State
                                                                                    I LLC-1 File#               201104510118



                    "c,1 01o""►
                   ?-~       '
                                                                                                     ENDORSED • FILED
                                                                                                     in the office of the Secretary of State
                                                                                                            of the State of California
                      LIMITED LIABILITY COMPANY                                                                JAN 3 1 2011
                      ARTICLES OF ORGANIZATION

                          A $70.00 filing fee must accompany this form.
     IMPORTANT - Read instructions before completing this form.                                             This Space For Filing Use Only

ENTITY NAME (End the name with 111e words ·Limited Liability Company," or the abbreviations "LLC" or "L.L.C." The words "Limited" and ·company·
mey be abbreviated to "Ltd." and "Co.." respecti,iely.)

1   NAME OF LIMITED LIABILITY COMPANY

    MindKontrol Industries LLC

PURPOSE (The following statement is required by statute and should not be altered.)

2. TI-IE PURPOSE OF THE LIMITED LIABILITY COMPANY IS TO ENGAGE IN ANY LAWFUL ACT OR ACTIVITY FOR WHICH A LIMITED LIABILITY
    COMPANY MAY BE ORGANIZED UNDER THE BEVERLY-KILLEA LIMITED LIABILITY COMPANY ACT.


INITIAL AGENT FOR SERVICE OF PROCESS (If the agent 1s an individual, the agent must reside In California and both Items 3 and 4 must be
completed If 1he agent 1s a corporation, the agent must have on file with 1he California Secretary of State a certificate pursuant to Corporations Code
seciIon 1505 and Item 3 must be completed (leave Item 4 blank)

3   NAME OF INITIAL AGENT FOR SERVICE OF PROCESS

    Legalzoom.corn, Inc.

4. IF AN INDIVIOUAL, ADORESS OF INITIAL AGENT FOR SERVICE OF PROCESS IN CALIFORNIA                  CITY                  STATE          Z!PCODE

                                                                                                                            CA

MANAGEMENT (Checi< only one)

5, THE LIMITED LIABILITY COMPANY WILL BE MANAGED BY

    □ ONE MANAGER
    □ MORE THAN ONE MANAGER
    0    ALL LIMITED LIABILITY COMPANY MEMBER(S)



ADDITIONAL INFORMATION
6   AOOITlONAL INFORMATION SET FORTH ON THE ATTACHED PAGES, IF ANY, IS INCORPORATED HEREIN BY THIS REFERENCE AND MADE A PART
    OF THIS CERTIFICATE


EXECUTION ~

7. , OECLASE, AM TilE PERSON WHO E>ECU7EO 7H,S ,NS7SUM•~


     1/28/2011
    DATE
                                                                       -::;::;---
                                                                    IGNATURE OF ORGANIZER


                                                                    Karla Figueroa
                                                                                                                                                --- -
                                                                                                                                             c----.




                                                                   TYPE OR PRINT NAME OF ORGANIZER


LLC-1 (REV04/2007)                                                                                                   APPROVED BY SECRETARY OF STATE
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 l!i.f
       IRSDEPAATMENT Of IBE TRt:A.SlJRY
            INTERNAL REVENUE SERVICE
         CINCINNATI     OH   45999-0023

                                                                      ~ate ot t~ls notice:     03-11-2011

                                                                      J::mpioyer Identlficat1or. Number.
                                                                      XX-XXXXXXX

                                                                      Form.   SS - 4

                                                                     Number of tras notice:      CP ':,7<;, G
                 MINDKONTROL INDUSTRIES LLC
                 CHRISTOPHER DENOVELLIS SOLE MER
                 175 W SAINT JAMES ST                                 For assi st,u1ce yoL:. may ca 11 us ac
                 SAN JCSE, C.A 95110                                  l-8:J0-829-4933


                                                                     ff YOU 1-lRITE, A'rl'AOi THE
                                                                     STUB AT THE END OF THIS NOTICE




                         WE ASSIGNED YOU AN EMi:-'LOYE.R lDENTH'ICATION N'u'MBER

             ':'hank you tor applying fui:- dn Employer Ident1.t1.cat1on Numoer :EINJ. We assigned you
       EIN XX-XXXXXXX. Th1s EIN ~111 1dent~fy yoL:., your bL:.s1.ness accowlls, tax returns, and
       documents, even 1.f yoL:. have no employees     Please keep th1.s r.at1.ce 1~ your pennanent
       recoi:-ds.

            When filing tax documents, payments, and related correspondence. 1t 1s very important
       that you use youi:- EIN and complete name and address exactly as shown above. Any variation
       may cause a delay in processing, result in incorrect information 1n your account , or even
       cause you to be assigned more than one J::IN. It the 1nfotma:c.1on 1s not correct as shown
       above, please make the correction using the att,,c.>ied c.ear off st·.lb a~d ret·..irn l t to sis.

            A limited l1.abil1ty comp~ny 1LLCI may file Form 8832, Ent1ty Class1fication Elecc1on,
       and elect to be classified as an association taxable os a ~orpuration. If the LLC 1s
       el1g1ble to be treated as a corporac.1011 that. meets certain tests and it will be electing s
       corporation status, it must timely file Form 2553, Election by a Small Business
       Corporation. The LLC will oe created dS a curpord::.1on as o~ tne ettective date of the !;
       corporation election dnd does not need to tlle Form e,J2.

              To obtain tax torms and publ~cat1ons, 1:-icl..,d~ng c.t.ose referenced 1.n ttns notice,
       v1.s1 t our Web s1. te at 'H'olW. 1 rs. gov. If yo·,., do not have access to the Internet, call
       1-800-829-3676 (ITY/TDD l-B00-629-4059) or v.sit your local IRS off1ce

       IMPORTANT REMINDERS:

            *     Keep a copy of this notice 1.n your penr,anent records. This notice is issued only
                  one tilne and the IRS will not be able to generate a duplicate copy for you.

             •    Use this £IN and your name exactly as tney appear at tne tap ot this notice on all
                  your tederal tax forms

            *     Refer to this EIN on your tax-related correspondence and documents.

            If you have questions about your EIN, you can call us at the phone number or write to
       us at the address shown at the top of this notice. If you ~rite, please tear off the stub
       at the bottom of this notice and send it along with your letter. If you do not need to
       write us, do not complete and return the stub. Thank you for your cooperation.
   Case 2:14 cv 05099 JFW MRW Document 53 8 Filed 08/12/14 Page 47 of 64 Page ID
9926777 - 03                             #:2686
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    Form SS•4
                                        ID Identification
                  Application for Employer #:704          Number 0MB No. 1545-0003

    (Rev. July 2007)                  (For use by employers, corporations, partnerships, trusts, estates, churches,                                            EIN
                                       government agencies, Indian tribal entities,. certain individuals, and others.)
    Oopanment of the Treas.ury
    Internal Aeve-nue Service       ► See separate instructions for each line.                            ► Keep a copy for your records.                                    XX-XXXXXXX
           1       Legal name of entity (or individual) for whom the EIN is being requested
                    MindKontrol Industries LLC
     ...
    ~2
     (V
                   Trade name of business (if different from name on line 1)                              3      Executor, administrator. trustee. " care or· name
     QI

     ..
    c3 4a
     C
    ·;:
                   Mailing address (room. apt, suite no. and street. or P.O. bo~)
                    175 W. Saint James St.
                                                                                                          5a     Street address (if different) (Do not enter a P.O. box.)


            4b City, state, and ZIP code (if foreign, see instructions)
     ...Cl.
     0         San Jose, California 95110
                                                                                                          5b     City, state, and ZIP code (if foreign, see instructions)

     Q)    6
     Q.
                   County and state where principal business is located
     >,
    I-              Santa Clara, California
           7a      Name of principal officer, general partner, grantor, owner, or trustor                               7b      SSN, ITIN, or EIN
                    Christopher OeNovellis                                                                                                                     XXX-XX-XXXX
   8a          Is this application for a limited liability company (LLC) (or                                            8b      If 8a is "Yes," enter the number of
               a foreign equivalent)?                                                  Ill Yes          0 No                    LLC members                      ►                             1
   8c          If Sa is "Yes," was the LLC organized in the United States?                                                                                                         12] Yes          D No
   9a          Type of entity (check only one box). Caution. If 8a is "Yes," see the instructions for the correct box to check.
           D Sole proprietOf (SSN) - - - - ' - - - - - ' - - - -         D Estate (SSN of decedent)
           □ Partnership                                                 D Plan administrator (TIN)
           D Corporation (enter form number to be filed) ►--------- 0 Trust (TIN of granter)
           0 Personal service corporation                                0 National Guam         O State/local government
           D Church or church-controlled organization                    0 Farmers' cooperative D Federal governmenVmil~ary
           D Other nonprofit organization (specify) ►----------- 0 REMIC                         D Indian tribal governments/enterprises
           121 Other s cif ► Disre arded Enti              le Member LLC Grou Exemption Number (GEN) if an ►
   9b          If a corporation, name the state or foreign country                               State                                              Foreign country
               (if applicable) where incorporated
   10          Reason for applying (check only one box)
                                                                                                D Banking purpose (specify purpose) ►-------------
           121 Started new business (specify type) ► ____ _                                     □ Changed type of organization (specify new type) ►                           ________
               Technology                                                                       0 Purchased going business
           D Hired employees (Check the bo11 and see line 13.)                                  D Created a trust (specify type) ► _ _____________
           D Compliance with IRS withholding regulations                                        D Created a pension plan (specify type) ► ___________
           D Other (specify) ►
   11          Date business started or acquired (month, day, year). See instructions.                                     12     Closing month of accounting year                  December 31
   _ _ _ _ _ __                   _ _ _ _0_1_/3_1/_2_0_11_ __ __ _ _ _____, 14                                                    Do you ei1pect your employment tax liability to be $1,000
   13          Highest number of employees expected in the next 12 months (enter -0- if none).                                    or less in a full calendar year? ll)Yes                D
                                                                                                                                                                                No (If you
                  Agricultu~al               I         Hou~ehold              I                   ~her                            expect to pay $4,000 or less in total wages in a full
                                                                                                                                  calendar year, you can mark "Yes.")
   15          First date wages or annuities were paid (month, day, year). Note. If applicant is a withholding agent, enter date income will first be paid to
               nonresident alien (month, day, year) •                                                      ►                       N/A
   16          Check one box that best describes the principal activity of your business.         0 Hea~h care & social assistance O Wholesale-agent/broker
           D Construction D Rental & leasing                       O Transportation & warehousing O Accommodation & food service O Wholesale-other O Retail
           D Real estate D Manufacturing                           D Finance & insurance                           IZl Other (specify) Technology
   17          Indicate principal line of merchandise sold, specific construction work done, products produced, or services provided.
               Software and Hardware Technology Company.
   18          Has the applicant entity shown on line 1 ever applied for and received an EIN?                                   0 Yee          [;l) No
               If 'Yes," write previous EIN here ►
                         Complete this section only d you want 10 aulhorize lhe named individual to recei\/e the enbtfs EIN and answer questions about the completio11 or lhls form.
     Third    Designee's name                                                                                                                                  Oes1gnee·s telephore number [.,elude area code)
     Party     Jacob Varghese                                                                                                                                   (323) 962-8600 X 529
     Oesignee Address and 21 P code                                                                                                                            Oesignee's lax number ~nclue1e area code)
                           101 N. Brand Ave., 10th Floor, Glendale, CA 91203                                                                                    (323) 790-1991
   Under penallres ol perjury. I dedare that I have examined this applrcat1on, and to the best of my knowled9e and btliel, rt 1s true, correct, and comp~le.   Applicaot's telepltone numl>ef ~ncklde area code)
   Name and Utle (type or p,int clearly) ►            Christopher OeNovellis, Member                                                       I                    (408) 599-2828

                       ~ "fi- () z/JJ,c-9-c,Jf1,
                                                                                                                                                               Applicant's lax numb•r (Include area code)
   Signature ►                                                                                                         Date ►      6/1°/11
   For Privacy Act and Paperwork Reouction~ct Notice, 5ee separate instructions.                                                           Cat. No. 16055N                 Form     SS-4 (flev. 7-2{107)
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                                                                          64290 Page
                                                                              Page ID
                                       ID  #:705
                                         #:2687



From:                           Chris DeNovellis <chris@mindktrl.com>
Sent:                           Tuesday, April 23, 2013 7:27 PM
To:                             clickgenie@gmail.com
Subject:                        Burns Residence, Atherton



Hi Frank,

Just wanted to send you a note so you have my contact info.

The other Chris here, is thinking about entering the mobile app / advertising world as a side project. I am
focusing on other things currently but will likely be looking at diversifying my SMS business as well.

Lets keep in touch.

Thanks,

Chris




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                                          #:2688



From:                                  Chris DeNovellis <chris@mindktrl.com>
Sent:                                  Tuesday, April 30, 2013 1:28 PM
To:                                    Matthew Jones
Subject:                               Re: MindKontrol Industries LLC Verizon Vetting
Attachments:                           MKI_CPC_043012.pdf



Hi Matthew,

Thanks for the heads-up. I thought an updated CPC was added earlier in the process but I see that the one on the
portal is out of date.

Attached is an update one.

Thanks,

Chris


On Tue, Apr 30, 2013 at 12:58 PM, Matthew Jones <mjones@aegismobile.com> wrote:

Hello Chris,


I just wanted to reach out to you and let you know we are sending MindKontrol back to you in Verizon vetting
portal in order to get have the CPC updated. I have attached the new version to be filled out and attached in the
portal. Thank you in advance.




Matthew Jones

Aegis Mobile

6518 Meadowridge Rd. / Elkridge, MD 21075

mjones@aegismobile.com / www.AegisMobile.com




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                       11,,   11




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                        Consumer Protection Certification
Company Information                  I

Company Name                                         MindKontrol Industries LLC
Business Name(s)if different than above              N/A
DBA(s):                                              N/A
DBA(s):                                              N/A
Related Organizations                                lmmersive Dynamics LLC (only relation is same owner, no relation to SMS)
Related Organizations                                N/A
Physical Address                                     179 Burns Ave, Atherton, CA 94027
Physical Address                                     N/A
Email Address                                        c.hr1s@mindktrl.com
Tax ID                                               FEIN: 27-548537 1 / SSN: XXX-XX-XXXX


Key Business Personnel (Minimum of 3 names must be provided)
CEO Name                                             Chris DeNovellis
President Name                                       Chris DeNovelfis
CFO Name                                             N/A
COO Name                                             N/A
Owner(s) Name                                        Chris DeNovellis
Partner(s) Name                                      N/A


Bank Information
Bank Name                                            Bank of America
Bank Contact                                         Rahman Kahn
Phone Number                                         650-622-6224
Routing Number                                       121000358
Account. No. (Last 4 Digits):                        6755


I,    ~   (\ ~       OeNC) ve l{\s.                        '
                                             on behalf of the above named company ("Applicant?, under penalty of perjury
under the laws of the United States, hereby declare that the information provided above and the following statements are
true and correct. Applicant hereby acknowledges that false statements or failure to provide the requested information may
disqualify Applicant from attaining or maintaining the Program with Verizon Wireless. Any subsequently discovered false
statements herein shall constitute cause by Verizon Wireless to terminate or reject any or all of Applicant's Programs.

Has the Applicant, any past or present officer or director of the Applicant. or any past or present shareholder (including natural
persons and business entities) owning or otherwise controlling 20% or more of the Applicant (each a ·covered Person or Business'J
ever been subject to any criminal, civil or administrative proceeding alleging any violations of state or federal law, roles, or
regulations relating to consumer protection (including, but not limited to, the placement of an unauthorized charge on a consumers
telephone bill) that resulted in a judgment or plea of guilt, or an injunction or award of damages, by or against such Covered Person
or Business, or has a Covered Person or Business ever agreed to a consent decree or other settlement in any such proceeding?

Please answer yes or no. If yes, please describe each instance in detail, and include the name of the specific court or agency in
which the proceeding occurred, the full names of the parties to the proceeding, the date the proceeding commenced and concluded
and the docket or case number of the proceeding.

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  Camden, NJ 08101
  856-757-5137

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

                                               )
  FEDERAL TRADE COMMISSION,                    )      Civil No.
                                               )
        Plaintiff,                             )
                                               )
               V.                              )     PLAINTIFF'S MOTION
                                               )     FOR A TEMPORARY
  CIRCA DIRECT LLC, and                        )     RESTRAINING ORDER
  ANDREW DAVIDSON,                             )     AND ORDER TO SHOW
                                               )     CAUSE WHY A
        Defendants.                            )     PRELIMINARY
                                               )     INJUNCTION SHOULD
                                               )     NOT ISSUE



        Plaintiff Federal Trade Commission respectfully requests that this Court,

  pursuant to Section 13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b),

  Federal Rule of Civil Procedure 65(b), and Local Rule 65.1, issue a Temporary

  Restraining Order, notice of which has been provided to Defendants Andrew

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  Davidson and Circa Direct, LLC ("Defendants")1:

         A.     Temporarily restraining Defendants, in connection with the

  advertising, promotion, or offering for sale of any product, program, or service

  from misrepresenting that any advertising or promotional material is objective

  news content; independent tests demonstrate the effectiveness of these products,

  programs, or services; and consumer comments posted online express the views of

  ordinary consumers;

         B.     Temporarily restraining Defendants from failing to disclose, or

  disclose adequately, that any advertising or promotional material formatted to

  resemble objective news content is a paid advertisement;

         C.     Temporarily restraining Defendants from misrepresenting the health

  benefits, performance, or efficacy of any food or drug, including that such food or

   drug causes weight-loss or rapid weight-loss;

         D.     Temporarily restraining Defendants from disposing of or transferring

  their assets other than those assets that are used for actual, ordinary, and necessary

  business or living expenses that Defendants reasonably incurs;

         E.     Requiring Defendants to provide an accounting of their assets and

  present financial condition and of their online marketing partners;

         F.     Permitting limited expedited discovery as to the identity and location

  of assets, relevant documents, and other matters related to monitoring Defendants'




         'The FTC notified Defendants via e-mail and will also serve copies of all
  pleadings. See Declaration of Laura Sullivan, FTC-00084 7-50 (PX, Vol. VII).
                                             2

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  compliance with the requested Order;

         G.     Requiring Defendants to serve a copy of the requested Order on all

  employees, agents, and independent contractors;

         H.     Providing other equitable relief; and

         I.     Requiring Defendants to show cause why a preliminary injunction

  should not issue extending the foregoing temporary relief until the merits of the

  FTC's allegations are finally adjudicated.

         As grounds for this motion, and as further set out in the accompanying

  memorandum and exhibits, the FTC states that Defendants have engaged, and

  continue to engage, in deceptive acts and practices in or affecting commerce, in

  violation of Sections 5 and 12 of the FTC Act, 15 U.S.C. §§ 45, 52. Defendants

  falsely claim their advertising and promotional materials are objective news

  content and disseminate patently false weight-loss claims. The requested

  temporary relief is necessary to halt Defendants' unlawful conduct and to preserve

  this Court's ability to issue full and final equitable relief, including restitution, the

  refund of monies paid, and the disgorgement of ill-gotten monies.

         The FTC further moves the Court to order Defendants to show cause why a

  preliminary injunction should not issue.




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        The FTC respectfully refers this Court to the memorandum and exhibits,

  filed herewith in support of this motion. A proposed Order has also been filed

  herewith.



  Dated: April 18, 2011                        Respectfully submitted,

                                               Willard K. Tom
                                               General Counsel

                                               /s/ Laura M. Sullivan
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                                               Elizabeth Tucci
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                                               856-757-5137
                                               Telephone: 856-757-5026
                                               Attorneys for Plaintiff




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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
 ____________________________________
                                      )
 FEDERAL TRADE COMMISSION,            )
                                      )
      Plaintiff,                      )
                                      )
             v.                       ) Civil No.
                                      )
 CIRCA DIRECT LLC, and                )
 ANDREW DAVIDSON,                     )
                                      )
                                      )
      Defendants.                     )
 ____________________________________)

      EXHIBITS SUPPORTING FTC’S MOTION FOR TEMPORARY
  RESTRAINING ORDER, OTHER EQUITABLE RELIEF, AND ORDER TO
   SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD NOT
                           ISSUE

                                              VOLUME III


 Declaration of Sallie S. Schools . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . PX 6
 Investigator, Federal Trade Commission
 Part 1, Declaration and Attachments A-B




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                              PX 6
           Declaration of Sallie S. Schools




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                   DECLARATION OF SALLIE S. SCHOOLS
                      PURSUANT TO 28 U.S.C. § 1746

 1.    I am over 18 years old, and am employed by the Federal Trade Commission

       (“Commission” or “FTC”) as an investigator in the Division of Advertising

       Practices, Bureau of Consumer Protection. My business address is FTC

       Headquarters Satellite Building, 601 New Jersey Avenue, NW, Washington,

       DC 20580.

 2.    As an investigator, my duties include monitoring and investigating persons

       or companies who are suspected of engaging in unfair or deceptive acts or

       practices in violation of the FTC Act and any other laws or rules that the FTC

       enforces. In the course of my duties, I participated in an investigation of

       defendants Circa Direct LLC (“Circa Direct”) and Andrew Davidson

       (“Davidson”). In the course of this investigation, I have acquired personal

       knowledge and information about the facts stated herein, and, if called upon

       as a witness, could and would testify competently to them. I also serve as the

       custodian of documents and records in connection with this investigation.

 Website Domains Registered By Andrew Davidson: NameCheap Records

 3.    I reviewed documents produced to the FTC by NameCheap Inc.

       (“NameCheap”), an internet domain name registration company, in response



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       to a Civil Investigative Demand (“CID”). These documents (“NameCheap

       Records”), are appended to the Declaration of NameCheap’s record

       custodian, Sergio Hernandez. (PX 2, Atts. A and B, FTC-000036-37, FTC-

       000038-149, FTC-000150-246.)

 4.    In reviewing the NameCheap Records, I found that only one person,

       Davidson, had used NameCheap to register each domain name listed therein,

       including circadirect.com, clkrd.com, daily-job-news.com, onlinenews6.com,

       online6reports.com, newsdaily7.net, roiserver.com, memphisgazette.net,

       online8report.com, channel8health.com, online6health.com,

       chan7reports.com, and dailyhealth6.com (“Davidson websites”). The

       NameCheap records identified the account information for Davidson as:

             Username: drewjd2k
             Name: Andrew Davidson
             Drewjd2k@gmail.com
             209 N. Essex Ave.
             Margate, NJ 08402
             Phone: (609) 233-8360

       NameCheap registered Davidson’s account on March 5, 2008. (PX 2 Att. A

       at FTC-000039, PX 2 Att. B at FTC-000151.) Davidson registered a total

       of 144 distinct domain names through NameCheap.

 5.    I summarized the registration information from the NameCheap Records

       received by the FTC for the Davidson websites discussed in this declaration

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       as set out below:

  Domain Name              Date[s]      Payment       Payment        Page No. in
                           Registered   Method        Source         NC Decl.
  circadirect.com          August 31,   credit card   Steven         NC000040,
                           2008         ending in -   Davidson       43, 56, 107-
                                        4638          billing zip    109,150
                                                      code 08402
  circadirect.com          August 14,   FUNDS         User:          NC000041,
                           2009,                      drewjd2k       76-77, 169-
                                                                     170
  circadirect.com.         August 16,   FUNDS         User:          NC000077,
  WhoisGuard               2009                       drewjd2k       170
  ProtectOne
  circadirect.com          August 28,   FUNDS         User:          NC000041-
                           2010                       drewjd2k       42, 87, 180
  daily-job-news.com       June 1,      credit card   User:          NC000038,
                           2009         ending in -   drewjd2k       72, 100-
                                        4638          Andrew         101, 165
                                                      Davidson,
                                                      209 N. Essex
                                                      Ave.,
                                                      Margate, NJ
                                                      08402
  daily-job-news.com       May 13,      FUNDS         User:          NC000037,
                           2010                       drewjd2k       84,177
                                                      Andrew
                                                      Davidson
  onlinenews6.com          December     FUNDS         User:          NC000033,
                           18, 2009                   drewjd2k       81,174
                                                      Andrew
                                                      Davidson




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                                                                       PageID: 489
                                  ID #:718



  Domain Name          Date[s]      Payment         Payment        Page No. in
                       Registered   Method          Source         NC Decl.
  clkrd.com            February     FUNDS           User:          NC000039,
                       9, 2010                      drewjd2k       83, 176
                                                    Andrew
                                                    Davidson
  clkrd.com            January      FUNDS           User:          NC000184,
                       16, 2011                     drewjd2k       190
  clkrd.com.           February     FUNDS           User:          NC000185,
  WhoisGuard           6, 2011                      drewjd2k       187
  ProtectOne
  online6reports.com   April 27,    FUNDS           User:          NC000034,
                       2010                         drewjd2k       83-84, 176
                                                    Andrew
                                                    Davidson
  newsdaily7.net       April 28,    FUNDS           User:          NC000084,
                       2010                         drewjd2k       177
  roiserver.com        May 25,      FUNDS           User:          NC000085,
                       2010                         drewjd2k       177-178
  memphisgazette.net   August 31,   FUNDS           User:          NC000087-
                       2010                         drewjd2k       88, 180
  online8report.com    September    FUNDS           User:          NC000088,
                       4, 2010                      drewjd2k       181
  channel8health.com   September    FUNDS           User:          NC000044,
                       19, 2010                     drewjd2k       89, 182
                                                    Andrew
                                                    Davidson
  online6health.com    December     FUNDS           User:          NC000183,
                       2, 2010                      drewjd2k       194
                                                    Andrew
                                                    Davidson



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  Domain Name           Date[s]       Payment           Payment         Page No. in
                        Registered    Method            Source          NC Decl.
  chan7reports.com      January       FUNDS             User:           NC000185,
                        21, 2011                        drewjd2k        188
  dailyhealth6.com      February      FUNDS             User:           NC000185-
                        17, 2011                        drewjd2k        186, 197


 Ad Network Publishers: Dissemination of Davidson Websites Through Pulse

 360, Inc.

 6.    As part of my investigation, I received, reviewed and summarized

       voluminous data produced by Pulse 360, Inc. (“Pulse 360”), a company that

       provides online advertising services for online advertisers and publishers, in

       response to a CID issued by the Commission. (See PX 3, Pulse

       360/Cronberger Declaration, FTC-000247-51).

 7.    In particular, I reviewed data compilations in the form of electronic

       spreadsheets that summarized account advertising information about certain

       of Pulse 360’s advertisers, including Circa Direct, for which Davidson was

       listed as the contact. Pulse 360 had provided these spreadsheets (“account

       advertising spreadsheets”) to the Commission on or about October 4, 2010

       and March 4, 2011, the latter of which included updated information. (See

       PX 3, Pulse 360/Cronberger Declaration, FTC-000247-51).



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 8.    To assist in reviewing and summarizing data in Pulse 360’s advertising

       billing spreadsheets regarding Circa Direct, I extracted the data regarding

       Circa Direct from the spreadsheets to separate it out from the other

       advertisers listed therein. I also compared the data from the October 4, 2010

       and March 4, 2011 spreadsheets to identify and remove any overlapping data

       regarding Circa Direct. I then analyzed and summarized the Circa Direct

       data as follows:

       a.    Number of impressions: As set forth in the Pulse 360 Declaration,

             the account advertising spreadsheets listed the number of impressions

             potentially viewed by consumers through the Pulse 360 advertising

             network for each advertisement that was posted on a Davidson

             website(s). For the time period November 9, 2008 to December 1,

             2010, the account advertising spreadsheets show that Circa Direct

             disseminated more than 11,198,460,170 impressions of

             advertisements through the Pulse 360 advertising network.

       b.    Number of click-throughs: As set forth in the Pulse 360

             Declaration, the account advertising spreadsheets listed the number of

             times that consumers clicked through each advertisement and were

             directed to the click URL to reach Davidson websites. For the period



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             November 9, 2008 to December 1, 2010, the account advertising

             spreadsheets show 6,408,372 click-throughs by consumers to

             Davidson websites through the Pulse 360 advertising network.

       c.    Advertising costs: As set forth in the Pulse 360 Declaration, the

             account advertising spreadsheets indicated the revenue received by

             Pulse 360 from Circa Direct on a cost-per-click basis. For the period

             November 9, 2008 to December 1, 2010, the account advertising

             spreadsheets show that Pulse 360 received $6,255,322.66 in revenue

             from Circa Direct for online advertising services.

       d.    Davidson websites as landing pages: The account advertising

             spreadsheets identified various websites (landing pages) where

             consumers who clicked on the placed advertisement were directed.

             Websites identified in the Pulse 360 records as landing pages for

             Circa Direct advertisements for products, programs and services

             include daily-job-news.com, newsdaily7.net, and

             memphisgazette.net, all of which are Davidson websites.

 9.    Pulse 360’s response to the CID also included copies of email exchanges

       between Pulse 360 personnel and Davidson through the email address

       drewjd2k@gmail.com. (PX 3, ¶ 5, FTC-000250, and Attachment A, FTC-



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        000252-61.) In one of these emails, Davidson provided a link to the web

        page at circadirect.com/tags/pulse-cpm/htm to a Pulse 360 employee. (PX 3,

        FTC-000253.) As noted above, circadirect.com is a Davidson website.

  10.   On or around March 10, 2011, I visited the web page at

        circadirect.com/tags/pulse-cpm/htm. This webpage consisted of a series of

        banner advertisements, described below at paragraph 20. I captured the

        contents of the webpage, and subsequent pages that I viewed, and have

        appended a true and correct PDF copy of these webpages as Schools

        Attachment A, FTC-000430 to FTC-000482.

  Website Captures

  11.   As part of my investigation, I made electronic copies of the contents of

        various websites (“website captures”) from a computer in the internet lab at

        the FTC headquarters satellite office building in Washington, D.C. I then

        converted the contents of the websites and the hyperlinked products featured

        therein to PDF files using the Adobe Acrobat (“Adobe”) software program.

        The conversion to PDF process includes any JPEG images, text files, and

        image maps, as well as other associated files from the original web page.

  12.   As part of my investigation, I also made video copies of my visits to certain

        websites through a screen capture program called Camtasia. The FTC has



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        lodged with the Clerk of the Court, simultaneously with the filing of this

        Declaration, a CD containing a true and correct copy of the Camtasia video

        recordings.

        A.    Superpages.com

  13.   On or around January 14, 2011, I accessed the publicly available website

        superpages.com. I recorded my visit to this website as a video file through

        the Camtasia screen capture program described above. I appended a true

        and correct copy of this video file in CD form as Schools Attachment B.

  14.   As shown on the attached video file, after arriving at superpages.com, I

        entered the term “ hotels Beverly Hills CA” using the website’s search

        engine. When the website displayed the search results, a banner ad appeared

        at the bottom of the web page, depicting a person squeezing his or her

        exposed belly and stating:

              1 Trick of a tiny belly:
              Cut down a bit of your belly every
              day by using this 1 weird old tip.

        (Schools Att. B.) When I hovered my cursor over the banner ad a link to the

        URL http://ads.roiserver.com (a Davidson website, as described above)

        appeared in the status bar of the browser at the bottom of the page.




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  15.   When I clicked on the “1 Trick of a tiny belly” banner ad discussed in the

        preceding paragraph, I was transferred to the web page

        http://www.online6health.com/HEALTH/Acai-Berry/index.php (also a

        Davidson website, as described above). I captured the contents of this

        webpage and have appended a true and correct PDF copy of the webpage as

        Schools Attachment C, FTC-000484 to FTC-000490. This webpage

        displayed an article entitled, “1 Trick of A Tiny Belly: Reporter Loses Her

        “Belly” Using 1 Easy Tip.” (Schools Att. B, Schools Att. C at FTC-

        000485.) The article discussed two products, LeanSpa Acai and South

        Beach Java, and contained several hyperlinks for each product. When I

        attempted to close the page, a pop-up appeared that included the phrase

        “IMPORTANT: Are you sure you don’t want to take advantage of the

        LeanSpa Acai and PureLife Cleanse Free Trial?” I clicked “OK” and

        another pop-up appeared stating “Are you sure you want to navigate away

        from this page? Click “Cancel” below to reconsider.” I clicked “Cancel”

        and was directed to another page at

        http://www.online6health.com/HEALTH/Acai-Berry/exit.php that contained

        hyperlinks for the LeanSpa Acai and South Beach Java products (“LeanSpa

        Acai hyperlink” and “South Beach Java hyperlink”).



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  16.   When I clicked the LeanSpa Acai hyperlink discussed in Paragraph 15

        above, I was transferred to the website getleanspa.com. I captured the

        contents of this webpage on February 25, 2011 and have appended a true

        and correct PDF copy of the webpage as Schools Attachment D, FTC-

        000490 to FTC-000493. This “getleanspa” website promoted a “free-trial”

        for a product called LeanSpa with Acai. I subsequently clicked on the South

        Beach Java hyperlink described in the preceding paragraph and was

        connected to the website southbeachjava.com. I captured the contents of this

        webpage on March 11, 2011, and have appended a true and correct PDF

        copy of the webpage as Schools Attachment E, FTC-000494 to FTC-

        000497. This website similarly offered a free trial for the South Beach Java

        product.

        B.    Work-At-Home Landing Pages

  17.   On or around January 25, 2011 I accessed the publicly available website

        daily-job-news.com,. a Davidson website as described above that Davidson

        disseminated, at least in part, through the Pulse 360 network. (See

        Paragraph 8 above.) Upon visiting this website, I was immediately re-

        directed to a web page at online8report.com (also a Davidson website). The

        online8report.com website displayed an article entitled



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                                                                        FTC-000403
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                                 ID #:726



              New Jersey JOB REPORT
              Work At Home Mom Makes $6,795/Month Part-Time

        and included several hyperlinks to the Home Income Wealth System. I

        clicked on one of the hyperlinks and was directed to the website

        https://www.theinstantwealthbuilder.com/. I captured the contents of the

        online8report.com and instantwealthbuilder.com webpages and have

        appended a true and correct PDF copy of the webpages as Schools

        Attachment F, FTC-000498 to FTC-000505.

  18.   On or about February 25, 2011, I accessed the publicly available website

        newsdaily7.net, which is a website that Davidson disseminated, at least in

        part, through the Pulse 360 network. (See Paragraph 8 above.) I captured

        the contents of the newsdaily7.net webpage and have appended a true and

        correct PDF copy of the webpage as Schools Attachment G, FTC-000506

        to FTC-000512. This website displayed an article entitled:

              New Jersey JOB REPORT
              Work At Home Mom Makes $6,795/Month Part-Time

        The newsdaily7.net webpage included several links to the Home Income

        Profit System.

        C.    Surplus Auction Landing Page

  19.   On or about February 25, 2011, I accessed the publicly available website



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                                                                       FTC-000404
Case 1:11-cv-02172-RMB-AMD
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        memphisgazette.net, which is also a Davidson website that Davidson

        disseminated, at least in part, through the Pulse 360 network. (See Paragrah

        8 above.) I captured the contents of the memphisgazette.net webpage and

        have appended a true and correct PDF copy of the webpage as Schools

        Attachment H, FTC-000513 to FTC-000517. The memphisgazette.net

        website displayed an article entitled

              BREAKING NEWS: Exclusive: Massive Savings “Trick”
              discovered. Surplus Auctions Exposed: 95% Off Retail Possible?

        This article discussed SwipeBids, a surplus auction site, and contained

        several links to SwipeBids.

  D.    Banner Advertisements

        1.    Banner Advertisements Contained in Davidson Email to Pulse 360

  20.   As noted above at Paragraphs 9 and 10, an email that Davidson sent to a

        Pulse 360 employee contained a link to a webpage that contained eight

        different banner ads promoting acai berry, tooth whitening, or work at home

        products. (FTC-000431-3.) Three of these banner ads promoted acai berry

        products (“Acai Berry Banner Ads”), another three promoted work-at-home

        programs (“Work-At-Home Banner Ads”), and the remaining two promoted

        teeth whitening products (“Teeth Whitening Banner Ads”).




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        a.    Two of the Acai Berry Banner Ads that I discuss in the preceding

              subparagraph depicted a female news reporter and stated:

              Acai Berry EXPOSED
              (Consumer Report)
              Washington Warning! Health Reporter
              Discovers the Shocking Truth!

        b.    The third Acai Berry Banner Ad depicted a basket of berries and
              stated:

              Acai Berry EXPOSED:
              Washington
              Washington Warning: Health
              Reporter Discovers The
              Shocking Truth!

        c.    When I clicked on each of the Acai Berry Banner Ads, I was linked to

              the website dailyhealth6.com (a Davidson website, as described

              above). This website contained alternating versions of a news article

              that discussed different brands of acai berry products. Each of these

              articles began with the headline, “1 Trick of A Tiny Belly: Reporter

              Loses Her ‘Belly’ Using 1 Easy Tip” and were substantially similar in

              content to the article discussed in paragraph 15. (FTC-000434, 446,

              455.)

              i.      One version of the Acai Berry article, located at

                      www.dailyhealth6.com/HEALTH/HCA-Diet/index.php



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                                                                          FTC-000406
Case 1:11-cv-02172-RMB-AMD
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                     discussed two products, LeanSpa with Pure HCA and LeanSpa

                     Cleanse, and contained several hyperlinks for each product.

                     (FTC-000434-9.) When I clicked on these hyperlinks for

                     LeanSpa with Pure HCA and LeanSpa Cleanse, I was directed

                     to a website that sold the products. (FTC-000440-5.)

              ii.    Another version of the Acai Berry article discussed two

                     different products, UltraBerry Slim and ColoThin, and

                     contained several hyperlinks for each product. (FTC-000446-

                     50.) When I clicked on the hyperlinks for UltraBerry Slim and

                     ColoThin, a website selling one of the products appeared.

                     (FTC-000451-4.)

              iii.   A third version of the Acai Berry article discussed in Paragraph

                     15 above discussed two different products, TrimSport Acai and

                     PureCleanse 360, and contained several hyperlinks for each

                     product. (FTC-000455-9.) When I clicked on the hyperlinks

                     for TrimSport Acai and PureCleanse 360, a website selling one

                     of the products appeared. (FTC-000460-5.)

        d.    The three Work-At-Home Banner Ads depicted either a woman sitting

              at a desk or a news reporter and stated:



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                    Washington Mom
                    Makes $77/hr Online!
                    Unemployed Mom Makes $6,397/Month
                    Working Online! Read How She Did It.

              (FTC-000431-2.) Clicking on these banner ads linked me to

              chan7reports.com/FINANCE/Job-Report/index.php (a Davidson

              website, as described above). (FTC-000466-71.) This web page

              contained an article entitled “EXPOSED: New Jersey Mom Makes

              $8,000/Month and You Won’t Believe How She Does It!” This

              article discussed a course from millionaire author Robert Allen called

              Multiple Streams Of Income and contained hyperlinks to sign up for

              the course.

        e.    The two Teeth Whitening Banner Ads both directed me to a web page

              on dailyhealth6.com (a Davidson website, as described above). This

              web page contained an article entitled:

                    Don’t Break the Bank: A Mom’s Trick to Whiter Teeth:
                    Amidst the second worst recession in United States
                    history, thrifty consumers are turning to the internet to
                    take advantage of special offers.

              This article discussed the benefits of using two teeth-whitening

              products named Pür Whitening Tray Kit and Vibrant Smile Pen

              together and contained several hyperlinks for these two products.



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              (FTC-000472-7.) I then clicked on the hyperlinks for Pür Whitening

              Tray Kit and Vibrant Smile Pen, each of which lead me to a different

              website selling one of the products. (FTC-000478-82.)

        2.    Los Angeles Times Banner Ads

  21.   On or around March 11, 2011, I visited the Los Angeles Times web site at

        latimes.com. I accessed a page that displayed banner ads similar to the ones

        I describe in paragraph 20, including the Acai Berry Banner Ad portraying a

        person squeezing his or her belly (“Belly Fat Banner Ad”). A true and

        correct copy of a recorded video file of one of my visits to this website and

        subsequent web pages I discuss in this paragraph is attached as Schools

        Attachment I, and a true and correct PDF copy of the captured web pages

        are attached as Schools Attachment J, FTC-000519 to FTC-000542.

        When I hovered my cursor over each of the banner ads a link to the URL

        http://ads.roiserver.com (a Davidson website) appeared in the status bar at

        the bottom of the browser.

  22.   When I clicked on the Belly Fat Banner Ad, I was immediately directed to a

        web page at dailyhealth6.com/HEALTH/HCA-Diet/index.php. This page

        contained an article that appeared substantially similar to the article

        described in paragraph 15. This article discussed two products, LeanSpa



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        with Pure HCA and LeanSpa Cleanse, and contained several hyperlinks to

        both products. (Schools Att. I, Schools Att. J, FTC-000521-5.) I then

        clicked on the hyperlinks for LeanSpa with Pure HCA and LeanSpa Cleanse.

        The LeanSpa with Pure HCA hyperlink that I clicked led to the website

        tryleanspa.com, which promoted a “free-trial” for a product called LeanSpa

        with HÇA that had packaging that appeared to be substantially identical to

        the LeanSpa Acai product referenced in paragraph 16. (Schools Att. I,

        Schools Att. J, FTC-000526-8.) The LeanSpa Cleanse hyperlink that I

        clicked led to the website leanspacleanse.com, which similarly offered a free

        trial for the LeanSpa Cleanse product. (Schools Att. I, Schools Att. J,

        FTC-000529-31.)

  23.   On other occasions when I clicked on the Belly Fat Banner Ad that appeared

        on the latimes.com website substantially similar versions of the article

        discussed in Paragraph 15 appeared. The ad’s content varied slightly to

        promote other Acai Berry products.

  24.   The latimes.com website also contained a Work-At-Home Banner Ad

        similar to those discussed in Paragraph 20. This banner ad stated:

              Piscataway Mom Makes $84/hour
              We Investigated How She Makes $8000/Month. You Won’t Believe
              How....



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        When I clicked on this Work-At-Home Banner Ad, I was directed to the web

        page: http://chan7reports.com/FINANCE/Job-Report/index.php (a

        Davidson website.) This web page I was directed to contained an article

        titled “EXPOSED: New Jersey Mom Makes $8,000/Month And You Won’t

        Believe How She Does It!” The article discussed Robert Allen’s Multiple

        Streams of Income Course and contained hyperlinks for this program. When

        I clicked on one of these hyperlinks I was then directed to a website to

        register for the Robert Allen home study course. (Schools Att. I, Schools

        Att. J, FTC-000532-42.)

        3.    Banner Ad at thefreedictionary.com Website

  25.   On or around March 31, 2011, I visited the publicly available website at

        thefreedictionary.com and observed a banner advertisement similar to the

        one I discuss in paragraph 14. When I hovered my cursor over the ad a link

        to the URL http://ads.roiserver.com (a Davidson website) appeared in the

        status bar of the browser at the bottom of the page. I clicked on this banner

        ad and was redirected to a web page at

        http://dailyhealth6.com/HEALTH/Acai-Berry-Diet/index.php (a Davidson

        website) that displayed an article that was substantially similar to the article

        I describe in paragraph 15. This article discussed two products, Acai



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        UltraBerry and ColoThin, and contained several hyperlinks for each product.

        I closed out the pages and clicked on the banner ad again. This time I was

        redirected to a substantially similar web page at

        http://www.dailyhealth6.com/HEALTH/Acai-Diet/index.php. This article

        discussed two products, SuperAcai 1200 and Complex Cleanse, and

        contained several hyperlinks for each product.

  Format of Comments on Actual News Websites

  26.   As part of my investigation, I visited the websites of several news

        organizations. The news articles on these sites often included comments that

        readers had posted on the site. The comments typically appeared below the

        text of the article, although in the case of Fox News, I reached the comments

        by clicking on a hyperlink. I have attached true and accurate PDF copies of

        webpages as they appeared on April 13, 2011 containing comments from

        The (Philadelpia) Inquirer, The (Newark) Star-Ledger, The Washington

        Post, and Fox News at Schools Attachment K, FTC-000543 to FTC-

        000559.

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  Identical Comments Repeated On Various Websites

  27.   The Davidson “news” websites that advertise or have advertised weight loss

        products, as captured and identified above in paragraphs 15, 20, and 22

        contain nearly identical “comments” from purported consumers.

  28.   In particular, I compared the “Comments” section from the following Circa

        Direct webpages:

        a.    FTC-000523-4 (2011-03-11 dailyhealth6 from latimes belly fat

              banner) (Lean Spa with Pure HCA and LeanSpa Cleanse)

        b.    FTC-000457-8 (2011-03-10 dailyhealth6 trimsport acai.pdf)

              (TrimSport Acai and PureCleanse 360)

        c.    FTC-000448-9 (2011-03-10 dailyhealth6 ultraberry slim.pdf)

              (UltraBerry Slim and ColoThin)

        d.    FTC-000436-7 (2011-03-10 dailyhealth6.pdf) (LeanSpa with Pure

              HCA and LeanSpa Cleanse)

        e.    FTC-000487-8 (2011-01-14 Online 6 Health News - Diet Trends_ A

              look at America's Top Diets.pdf) (LeanSpa Acai and South Beach

              Java)

  29.   Each of the Comments sections from the five webpages identified in the

        preceding paragraph contained the following similarities:



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        a.    Each Comments section purports to list “10 of 177” responses from

              the immediately preceding “report.”

        b.    Each Comments section purports to list comments from the following

              ten persons, always in the following order: Diane, Michelle, Jen,

              Stephen, Julia/Julie (apparently referring to the report’s author),

              Davis, Damo, Amy, James, and Wanda.

        c.    The content of each individual commenter is virtually identical across

              the various websites, with only the product name changing.

              i.    For example, the first commenter in each website, Diane,

                    invariably states:

                           My friends and I have all been waiting for the acai
                           diet [or hca diet, or hca cleanse diet] to hit the
                           news. Atleast 5 of us have all done the diet
                           (costing us upwards of $300+) and we all lost a
                           bunch of weight. This stuff truley is incredible and
                           has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful
                           opportunity

              ii.   Similarly, the seventh commenter on each website, Damo,

                    always states:

                           I’ve been struggling my whole life with my weight and I
                           really hope this is the answer. I’ve gone ahead and
                           ordered the free trials and signed up to the gym aswell. I
                           really hope to lose atleast 50 pounds



                                            22
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                                                                         FTC-000414
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  30.   Commonalities in comments also occur on Davidson websites promoting

        other products, services, and programs. For example, the phrase “this stuff

        truley is incredible,” included in a post by “Diane” as noted above, also

        appears in the Comments section of Davidson’s Surplus Auction website

        discussed above. (FTC-000516.) Similarly, the comment “This is amazing!

        I wish I knew about this 5 years ago,” from “Davis” appears on many of

        Davidson’s Work-At-Home and Teeth Whitening websites. (FTC-000503,

        511, 476.)

  31.   The typographical and spelling errors of the individual comments also repeat

        across the different websites. For example, the comment from Diane, quoted

        above, always contains the errors “Atleast” and “truley”. Similarly, the

        comment from Damo always contains the errors “aswell” and “atleast”.

  32.   Comments substantially identical to those found on the Circa Direct weight

        loss webpages also appear on other news-format webpages, not known to be

        affiliated with Davidson, promoting a variety of products. On or around

        April 14, 2011, I performed a search on the Google search engine for the

        phrase “this stuff truley” (as referenced in the comment attributed to Diane

        in the Circa Direct webpages). The results returned several pages of “hits”




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        of websites that contain substantially identical comments, with the same

        typographical and spelling errors.

        a.    Several of the news-format pages repeated the “this stuff truley”

              comment to promote acai-berry-based weight-loss products and other

              products. (FTC-000436, 448, 457, 487, 516, 523.)

        b.    Other news-format sites used substantially the same “this stuff truley”

              comment to promote unrelated products, programs, or services. For

              example, washingtonreviewhub.com used a slight variant of the

              comment to promote a surplus auction site. Similarly,

              http://johnrhodes.amplify.com/2010/10/15/this-site-can-put-quibidsco

              m-out-of-business-or-make-you-wish-you-saw-this-first/ used a slight

              variant of the comment to promote a work-at-home scheme. I have

              attached true and correct copies of these webpages at Schools

              Attachment L, FTC-000560 to FTC-000570.

        c.    A true and correct copy of the Google search results is attached as

              Schools Attachment M, FTC-000571 to FTC-000583.

  Images of “Reporters” on Circa Direct Pages Are Stock Photos

  33.   The photographic images for the “health and diet columnists” pictured on

        Circa Direct’s landing pages are stock photographs.



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        a.    The photographic image of a blonde woman wearing a white blouse

              and dark blazer identified as either “Julia Miller” or a “health and diet

              columnist” appears on several of Circa Direct’s landing pages

              promoting acai berry weight-loss products. See, e.g. FTC-000434,

              446, 455, 485, 521.

        b.    I copied the image of the blonde “Julia Miller” from a Circa Direct

              landing page and entered into the search engine of tineye.com, a

              website that uses image identify technology to find web pages using

              the same image. The search results showed that the identical image

              has been used on various news-format websites and on a French-

              language website for a real estate developer. I have attached a true

              and accurate copy of the search results as Schools Attachment N,

              FTC-000584 TO FTC-000586.

        c.    The photographic image of a brown-haired woman wearing a

              sleeveless black top, also identified as “Julia Miller,” appears on

              several of Circa Direct’s landing pages promoting acai berry weight-

              loss products. The same photographic image, identified as

              “Michelle,” also appears on a Circa Direct landing page promoting

              surplus auctions. (FTC-000514.)



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        d.    I copied the image of the brown-haired “Julia Miller” or “Michelle”

              from a Circa Direct landing page and entered it into the tineye.com

              search engine. The search results show that the identical image has

              been used on dozens of news-format webpages. A true and accurate

              copy of the first several pages of results are attached as Schools

              Attachment O, FTC-000587 to FTC-000596.

        e.    The tineye.com search results for image of the brown-haired “Julia

              Miller” or “Michelle” also produced many search results of webpages

              identifying the woman as French journalist Mélissa Theuriau. One of

              those webpages, cafeanant.wordpress.com, contains 14 images of

              Theuriau, including the one used in various Circa Direct/Davidson

              websites. A true and accurate copy of a portion of the pages of this

              webpage, as it appeared on April 15, 2011, is attached as Schools

              Attachment P, FTC-000597 to FTC-000602 (images of Theuriau

              at FTC-000601.) The entry for Mélissa Theuriau on wikipedia.com

              describes her career and notes that in 2010 “scam websites started

              using her photo to promote health treatments and penny auctions.” A

              true and accurate copy of this Wikipedia entry as it appeared on April




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                                                                         FTC-000418
Case 1:11-cv-02172-RMB-AMD
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               14, 2011, is appended as Schools Attachment Q, FTC-000603 to

               FTC-000605.

  Summary of Products Sold on Davidson’s Websites

  34.    I summarized the products advertised on the various Davidson websites as

         set forth below.

   URL                                                  Products sold
   http://onlinenews6.com/HEALTH/Acai-                  Acai Optimum
   Berry/index.php                                      Advanced Cleanse
   http://www.online6reports.com/HEALTH/Acai-           Acai Optimum
   Berry-Diet/report.php                                Advanced Colon
   http://www.online6reports.com/HEALTH/Acai-           Acai Ultra Lean
   Berry/acai-berry.php                                 Fibra Detox
   http://www.online6reports.com/FINANCE/online-        Home Income Profit
   jobs.php                                             System
   http://www.online6reports.com/HEALTH/Teeth-          Brite White Smile
   Whitening/index.php                                  Glamour Smile
   http://www.channel8health.com/HEALTH/Acai-           LeanSpa Acai
   Berry/index.php                                      Nature Detox
   http://www.online6health.com/HEALTH/Acai-            LeanSpa Acai, South
   Berry/index.php                                      Beach Java
   http://www.online8report.com/FINANCE/Job-            Home Income Wealth
   Report/jobs-online.php (Redirected from daily-job-   System
   news.com)
   http://www.newsdaily7.net                            Home Income Profit
                                                        System
   http://www.memphisgazette.net                        SwipeBids



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                                 ID #:742



   URL                                                    Products sold
   http://chan7reports.com/FINANCE/Job-                   Robert Allen’s Multiple
   Report/index.php                                       Streams of Income Course
   http://www.dailyhealth6.com/HEALTH/HCA-                LeanSpa with Pure HCA
   Diet/index.php                                         LeanSpa Cleanse
   http://www.dailyhealth6.com/HEALTH/Acai-               UltraBerry Slim
   Berry-Diet/index.php                                   ColoThin
   http://www.dailyhealth6.com/HEALTH/Teeth-              Pür Whitening Tray Kit
   Whitening/report.php                                   Vibrant Smile Pen
   http://www.dailyhealth6.com/HEALTH/Acai-               TrimSport Acai
   Report/index.php                                       PureCleanse 360
   http://www.dailyhealth6.com/HEALTH/Acai-               Super Acai 1200
   Diet/index.php                                         Complex Cleanse
   http://www.dailyhealth6.com/HEALTH/Acai-               Acai Ultraberry
   Berry-Diet/index.php                                   ColoThin
   http://www.dailyhealth6.com/HEALTH/Teeth-              OrthoWhite
   Whitening/report.php                                   BellaBrite


  Business Entities, Locations, and Relationships

         1.    Business Entities and Location

  35.    In or around January 2011, I obtained a Certificate of Formation for Circa

         Direct, LLC from the New Jersey Department of Treasury’s Division of

         Revenue. This certificate lists Circa Direct’s main business address as 209

         N. Essex Ave., Margate, NJ 08402 at the time of filing.




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                                 ID #:743



  36.   On or around March 31, 2011, I obtained a Business Entity Status Report

        from the New Jersey State Business Gateway Service. A true and correct

        copy of these documents are attached to this declaration as Schools

        Attachment R, FTC-000606 to FTC-000609. The documents list the filing

        date for Circa Direct as January 27, 2009. The March 31, 2011 Status

        Report lists “Andrew Davidson” as Incorporator and Chief Executive

        Officer, the corporate address as 607 N. Delavan Ave., Margate, NJ 08402,

        and the corporate status as active. The status report also lists “Rapid Offers”

        as an associated fictitious name.

  37.   Information from the publicly available database at findashorehome.com

        indicates that Davidson purchased property at 607 N. Delavan Ave. in

        Margate, New Jersey for $450,000 on June 10, 2010. A true and correct

        copy of a printout of the page is attached as Schools Attachment S, FTC-

        000610 to FTC-000616 (Davidson purchase at FTC-000612.)

        2.    Davidson’s Connection to CX Digital Media

  38.   As discussed in the Declaration of Douglas M. McKenney, (PX 5, ¶ 8, FTC-

        000288-9), in some instances, Davidson websites redirect to the website

        Incentaclick.com, before sending consumers to websites where featured




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                                                                         FTC-000421
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        products are sold. CX Digital Media is an affiliate network that formerly

        operated under the name Incentaclick. See PX 5, ¶ 9, FTC-000289-90.

  39.   On April 4, 2011, I visited the publicly available website

        cxdigitalmedia.com, the corporate website for a company called CX Digital

        Media. On this website CX Digital Media describes itself as an affiliate

        marketing company. The section of the website that discusses its affiliate

        business states:

              Affiliate marketing is any type of online advertising or marketing
              where the merchant pays affiliates for results as an alternative to
              paying to reach a targeted audience. Affiliates promote merchant’s
              products and/or services via their website or newsletters in exchange
              for commission revenue, generated by their marketing efforts.

        A true and correct PDF copy of the webpage is attached as Schools
        Attachment T, FTC-000617 to FTC-000619.

        2.    Davidson and the EWA Network

  40.   As noted above, Pulse 360 produced, in response to the aforementioned

        CIDs, copies of email exchanges between Pulse 360 personnel and Davidson

        through the email address drewjd2k@gmail.com. (PX 3, Pulse 360 Decl. ¶ 5

        and attachments, FTC-000247-61.) In one of those email exchanges,

        attached to the Pulse 360 Decl. at FTC-000260-61, Davidson arranges for a

        Pulse 360 employee to attend, as a “VIP” guest, an event described as the

        “2nd Annual PPC.bz Get Money + Get Paid Party by EWA Network.”

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                                 ID #:745



  41.   I visited the website for EWA Network Inc. at ewanetwork.com. This

        website describes EWA Network as a private network of advertising

        affiliates that “send[s] our advertisers 120,000,000 visitors each month” and

        “makes advertisers rich.” The website states that it pays affiliates on a

        weekly basis. The website contains a banner stating, “As of April 10, EWA

        is only accepting 12 new affiliates!” (bold in original). A true and correct

        PDF copy of the relevant webpage is attached as Schools Attachment U,

        FTC-000620 to FTC-000621.

  42.   By clicking on the above-referenced “As of April 10, EWA is only accepting

        12 new affiliates!” banner, I was connected to an application page on

        eaglewebassets.com. The application for member affiliates on this page

        states that each such affiliate:

               shall display and distribute advertising creatives, including
               without limitation e-mails, web sites, links, and banner
               advertisements, and search engine placement (collectively,
               “Ads”), promoting the products or services of advertisers with
               whom Eagle Web Assets Inc. (“Eagle Web Assets”) has
               contracted to provide online advertising services
               (“Advertisers”).

        A true and correct PDF copy of the relevant webpages is attached as Schools

        Attachment V, FTC-000622 to FTC-000624.




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  43.    According to the ewanetwork.com site, Eagle Web Assets Network, Inc., is

         the parent company of EWA Network, Inc., and its website is

         eaglewebassets.com.

  Ordering and Returning Lean Spa Product Advertised by Davidson

  44.    During the course of this investigation, using a fictitious identity, I ordered

         the LeanSpa with Acai product. I purchased this product because it is one of

         the many Acai berry weight loss products that Circa Direct and Davidson

         have been advertising through the use of banner ads and landing pages. I

         have set out in the table below my experience with ordering and cancelling

         the LeanSpa with Acai product.

   Day    Action
   1      (Monday) Ordered LeanSpa with Acai product free trial for $1.95
   8      (Monday) On or about this date, LeanSpa order arrived at delivery
          address
   12     (Friday) Called LeanSpa toll free customer service number to cancel.
          Received recorded message stating the wait may take up to 30 minutes
          due to a high volume of calls and was invited to visit the customer
          support section of the LeanSpa website. Accessed website and clicked on
          “Easy Cancel” button but it appeared inoperable. Emailed customer
          support and indicated desire to cancel. Received email from LeanSpa
          customer support stating that a request for support ticket had been
          opened.
   13     (Saturday) Received an email from customer support stating they were
          experiencing extremely high call and email volume and would be in
          contact in the next few days.


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                                                                                518
                                 ID #:747



   Day    Action
   14     (Sunday) One bottle of LeanSpa shipped without notice and credit card
          charged $79.99
   15     (Monday) I returned to LeanSpa website, entered account information,
          and received notification that account was still active. I tried to click on
          the “Easy Cancel” button again, and again the cancellation failed to
          process. I contacted customer support and listened to recording that
          stated they were experiencing a high call volume and to call back later.
          Then, I was disconnected. I called back a while later and this time
          listened to an automated menu that reported that my next order would
          ship on a date that was approximately a month later. I followed the
          prompts to cancel using the automated phone system where the only two
          options were to return the bottle or cancel any future billing. I cancelled
          any future billing. I received another email stating that my account had
          been cancelled and an RMA (return) number had been issued, assuring
          that I would not be charged again or receive any more shipments.
   22     (Monday) On or about this date, LeanSpa product that shipped on the 14 th
          day arrived at delivery address.
   25     Returned product to LeanSpa according to the instructions and LeanSpa’s
          RMA number
   41     credit card charged by LeanSpa for $79.99
   45     Received email from LeanSpa stating that a credit of $79.99 was being
          issued and that the credit should appear on my account within the next 5-
          7 business days
   45     Credit card credited $79.99 (outstanding charge of $79.99 remains on
          card)


  Lean Spa Consumer Complaints

  45.    During the course of this investigation, I searched the Commission’s central

         consumer protection complaint database, Consumer Sentinel. It includes


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                                                                          FTC-000425
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        consumer complaints mailed to the Commission, entered on the

        Commission’s web site (ftc.gov), and telephoned to the Commission (1-877-

        FTC-Help). The Consumer Sentinel database includes complaints

        forwarded by a number of other law enforcement authorities and consumer

        protection organizations. I searched the Sentinel database for complaints on

        LeanSpa and located 122 non-duplicative complaints. Consumers

        consistently complained about unauthorized charges on their credit cards,

        non-delivery or delayed delivery resulting in insufficient time to use the

        product within the trial period, and difficulty contacting customer service to

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        cancel the product. Twenty five complaints expressly stated that the

        consumers believed they had viewed a legitimate news site before ordering

        the product.


   Subject of Complaint                                               Number of
                                                                      Complaints

   Unauthorized charges                                               100

   Trouble cancelling or getting refund                               72

   Failure to deliver                                                 10

   Delayed delivery                                                   15

   Misleading news site                                               25




  I declare under penalty of perjury that the foregoing is true and correct. Executed

  on April   Li.o, 2011




                                            35

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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
 ____________________________________
                                      )
 FEDERAL TRADE COMMISSION,            )
                                      )
      Plaintiff,                      )
                                      )
             v.                       ) Civil No.
                                      )
 CIRCA DIRECT LLC, and                )
 ANDREW DAVIDSON,                     )
                                      )
                                      )
      Defendants.                     )
 ____________________________________)

      EXHIBITS SUPPORTING FTC’S MOTION FOR TEMPORARY
  RESTRAINING ORDER, OTHER EQUITABLE RELIEF, AND ORDER TO
   SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD NOT
                           ISSUE

                                               VOLUME V


 Declaration of Sallie S. Schools . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . PX 6
 Investigator, Federal Trade Commission
 Part 3, Attachments M - V




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                           Attachment M
                 to Declaration of Sallie S. Schools




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                                                    FTC-000571
"this stuff truley" - Google Search                                              Page 1 of 1
  Case
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                                           ID #:754

 Web     Images   Videos   Maps   News     Shopping      Gmail    more                                                    Sign in


Google
Go ~)gle .-------------.-, "this stuff truley"                                                           Search
                            About 33,000 results (0.17 seconds)                                     Advanced search


    Everything             Did you mean: "this stuff truly"
    Images
                           Acai Berry news 6 reporter Julia Miller loses 25lbs on acai berry diet
    Videos                 This stuff truley is incredible and has changed all of our lives. Good luck to
    News                   everyone who takes advantage of this wonderful opportunity ...
                           purchaseacaiberry.net/ - Cached - Similar
    Shopping
                           Acai Berry news 6 reporter Julia Miller loses 25lbs on acai berry diet
   More                    This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
Washington D.C., DC        news1health.com/ - Cached
Change location
                           Acai Berry Products Reviewed - Most Effective Ones Found - USA ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
Show search tools
                           everyone who takes advantage of this wonderful opportunity ...
                           news9healthreports.org/reports/dieting/secondchance.html - Cached

                           Acai Berry Hits NYC
                           Sep 1, 2010 ... This stuff truley is incredible and has changed all of our lives.
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
                           newyorkcitypost.net/ - Cached - Similar

                           New Flat Belly Diet Exposed - News First 9
                           Apr 13, 2011 ... This stuff truley is incredible and has changed all of our lives.
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
                           www.newsfirst9.com/health/weightloss/01java.php?t202id=81619 - Cached

                           News6Health.com - Diet Trends: A look at America's Top Diets
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           www.news6web.com/ - Cached

                           How Can We Lose Weight with Pure Acai Berry Max Colon
                           Cleaner ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           news-6-health.com/acai/ - Cached

                           News 24 Reports
                           Mar 24, 2011 ... This stuff truley is incredible and has changed all of our lives.
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
                           news.24reports.com/?sov=123309 - Cached

                           News 6 Report - Julia Miller Acai Berry Diet
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           weight-loss-secret.net/ - Cached

                           Daily Health Updates :: Acai Berry Diet Exposed: Miracle Diet or ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity Michelle ...
                           shopfutur.com/index.php?currency=usd&dispatch=products... - Cached

                           Did you mean to search for: "this stuff truly"



                                                    1 2 3 4 5 6 7 8 9 10                     Next


                            "this stuff truley"                                                          Search
                                                        Search Help      Give us feedback

                               Google Home          Advertising Programs    Business Solutions      Privacy
                                                                About Google


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http://www.google.com/search?q=%22this+stuff+truley%22&hl=en&prmd=ivns&filter=0                                           4/14/2011
"this stuff truley" - Google Search                                              Page 1 of 1
  Case
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                                           ID #:755

 Web     Images   Videos   Maps   News      Shopping     Gmail     more                                                   Sign in


Google

                           "this stuff truley"                                                           Search
                            Page 2 of about 33,000 results (0.08 seconds)                           Advanced search


    Everything             berris to help you lose body fat!
                           Dec 13, 2009 ... This stuff truley is incredible and has changed all of our lives.
    Images                 Good luck to everyone who takes advantage of this wonderful opportunity ...
    Videos                 www.scribd.com/doc/.../berris-to-help-you-lose-body-fat - Cached - Similar

    News                   Consumers Recieve up to 95% Off Retail?
    Shopping               Nov 2, 2010 ... This stuff truley is incredible and has changed all of our lives.
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
   More                    www.washingtonreviewhub.com/ - Cached

Washington D.C., DC        “This site can put Quibids.com out of business , or make you wish ...
                           Oct 15, 2010 ... This stuff truley is incredible and has changed all of our lives.
Change location
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
                           johnrhodes.amplify.com/.../this-site-can-put-quibidscom-out-of-business-or-make-
Show search tools          you-wish-you-saw-this-first/ - Cached

                           Acai For Weight Loss and Colon Cleanse : Lose 25 lbs in 4 Weeks ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           acaiforweightloss.org/ - Cached

                           Acai Berry Diet Exposed: Miracle Diet or Scam?
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           evening8.com/nojavascript.php - Cached

                           Channel 6 Health Beat Investigates The HCG Diet Channel 6 Health
                           Beat
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           channel6healthbeat.com/hcg-diet - Cached

                           Daily News - Diet Trends: A look at America's Top Diets
                           Apr 30, 2010 ... This stuff truley is incredible and has changed all of our lives.
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
                           acaicolonreview.com/ - Cached

                           Acai Berry Effects : The Benefits of Acai Berry
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           acaiberryeffects.org/ - Cached

                           US Medical Journal - Health Reports
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           trythistoloseit.com/ - Cached

                           Acai Berry The nutritional Benefits of Acai Fruit Berries : Lose ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           acaiberrynutrition.org/ - Cached

                           Did you mean to search for: "this stuff truly"



                                     Previous           1 2 3 4 5 6 7 8 9 10 11                     Next


                            "this stuff truley"                                                          Search
                                                        Search Help         Give us feedback

                               Google Home          Advertising Programs    Business Solutions      Privacy
                                                                About Google



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 Web     Images   Videos   Maps   News      Shopping     Gmail     more                                                   Sign in


Google

                           "this stuff truley"                                                           Search
                            Page 3 of about 33,000 results (0.05 seconds)                           Advanced search


    Everything             Consumer News Pick: A Look at The Acai Diet Fad
                           This stuff truley is incredible and has changed all of our lives. Good luck to
    Images                 everyone who takes advantage of this wonderful opportunity. ...
    Videos                 www.consumersnewspick.com/ - Cached

    News                   News6Health.com - Diet Trends: A look at America's Top Diets
    Shopping               This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
   More                    www.dietlynews6.com/adiet/ - Cached

Washington D.C., DC        Health Care Tips
                           This stuff truley is incredible and has changed all of our lives. Good luck to
Change location
                           everyone who takes advantage of this wonderful opportunity ...
                           www.7healthcaretips.com/2181-2 - Cached
Show search tools
                           Acai Berry Products Reviewed - Most Effective Ones Found - USA ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           healthyacaiberry.us/reviews/index1.php?t202id=4189&t202kw= - Cached

                           Diet Trends: A look at America's Top Diets
                           May 3, 2010 ... This stuff truley is incredible and has changed all of our lives.
                           Good luck to everyone who takes advantage of this wonderful opportunity ...
                           nomorelowcarb.com/ - Cached

                           News6Health.com - Diet Trends: A look at America's Top Diets
                           and ...
                           This stuff truley is incredible and has changed all of our lives. Good luck to
                           everyone who takes advantage of this wonderful opportunity ...
                           news17health.com/ - Cached

                           News13Health.net - Diet Trends: A look at America's Top Diets
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                           news24alert.com/.../colon-cleanse-side-effects-of-using-unknown-colon-cleanse-
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                           Colon Cleanse 2011 - Jocelyns Blog about Colon Cleanse 2011
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                           coloncleanse2011.net/ - Cached

                           Bare Escentuals Bare Minerals ALL page 238 reviews - Makeupalley
                           Mar 31, 2011 ... This stuff truley works, won't clog pores; light-feel ;does not cake
                           on and yes it does make your face shine a bit, but use matte-oil ...
                           w77.makeupalley.com/product/showreview.asp/page.../ItemID=25754/

                           News6Health.com - Diet Trends: A look at America's Top Diets
                           Jul 11, 2010 ... This stuff truley is incredible and has changed all of our lives.
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                           www.topstory.co.tv/

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                           www.totalcleansediet.net/pyranyl-colon-cleanse - Cached

                           Acai Berry Cleanse And Fat Burn Cleanse Reviews - Andreas
                           Blog ...
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                           myacaiberrypill.com/acai-berry-cleanse-and-fat-burn-cleanse-reviews - Cached

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                           Mar 28, 2011 ... This stuff truley is incredible and has changed all of our lives.
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                           channel-6-health.com/hcgdiet/ - Cached

                           Acai Friut Drink - Julias Blog about Acai Friut Drink
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                           News6Health.com - Diet Trends: A look at America's Top Diets
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                           dailydietnewsnowa.com/bdiet/ - Cached

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                           page2rss.com/.../hcg-the-latest-weight-loss-fad-these-so-called-super-hormone-
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                           Acai berry free trials!
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                           While we do our best to ensure LifeTime Vitamins Organic Noni Mangosteen
                           Life ...
                           ledtvdeals.acaiberrycleansedroz.com/Valvular_Heart_Diseases_01_01.html -
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                           Jul 26, 2010 ... This stuff truley is incredible and has changed all of our lives.
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                           Testical Cancer please don't get involved the U. This stuff truley is incredible and
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    News                   Energy Drink - Dendroboard
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                           news1-health.com/ - Cached

                           acaihealth.org - Diet Trends: A look at America's Top Diets
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                           acaihealth.org/ - Cached

                           Acai Berry Benefits and Acai Berry Weight Loss | News 24 Alerts
                           Oct 3, 2010 ... This stuff truley is incredible and has changed all of our lives.
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                           news24alert.com/.../acai-berry-benefits-and-acai-berry-weight-loss/ - Cached

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                           Will Oil Cleanse The Colon - Jocelyns Blog about Colon Cleanse
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                           coloncleanse2011.net/will-oil-cleanse-the-colon - Cached

                           Pictures Of Enemas During A Colon Cleanse - Destinys Blog
                           about ...
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                           Cleanse ...
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                           About high calorie diets
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                           high calorie diets couples wanting to deal with toxemia now you won't ...
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                           www.newsfirst9.com/health/weightloss/?t202id=81619 - Cached

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                           the purest freeze dried acai berry at an amazingly affordable rate ...
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                           bestbodycleanse.net/solaray-total-cleanse-colon - Cached

                           Total Cleanse Diet - Sofias Blog about Total Cleanse Diet
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      High Dividend Energy Stocks to Buy Now
      Posted by: cafearjun on: January 19, 2011
                                                                                                       Blog Stats
       0 In: US News      Leave a Comment
                                                                                                       672,199 hits
      High Dividend Stocks – Energy Stocks



      Alternative energy companies deal with lots of money and their shares can
                                                                                                C:i Top Posts
      mean high dividend stocks. The companies would be involved in various areas               + sandi_taylor_1
      of the energy sector ranging from oil, gas to service companies. The                             tina_fey_5
      companies that are huge with a market cap >$500 million pay annual                          sandi_taylor_2
                                                                                                + -  ---
      dividends of 8% to 10% to their stock holders.                                              hip-hop-dance
                                                                                                + -  ----

      For example:                                                                              + bollywood-filmy-dance
                                                                                                + bhangra-dance
         Encore Energy Partners – company produces oil and natural gas in Big Horn
                                                                                                       friendly_ghost
         Basin in areas of Montana and Wyoming, Permian Basin in West Texas and
         New Mexico, Williston Basin in North Dakota and Montana and Arkoma                     -1-    Do Ghosts Really Exist? If Not Then
         Basin in Oklahoma and Arkansas.                                                               What Are These Photographs?

         MV Oil Trust – has net profits in oil, natural gas in Colorado and Kansas.             -1-    Barack_Obama_1
         They have approximately 1000 oil and gas producing wells.                                     faces_of_belmez_2



      Solar Energy Stocks – To Invest or Not
                                                                                                C:i Recent Comments

      Solar stocks are comparatively new additions to the stock market. These                 "..
                                                                                              >-r~ Tarunpal Singh on delhi
                                                                                              y,:_:                 commonwealth games 2010 …




                                                                                              i....-.
      stocks seem to be good investments in this post-recession times. Some of the
      best solar stocks to buy now would be SPWRA, STP, FSLR, LDK, SOEN, JASO-                                      AKASHDEEP on Do Ghosts Really
      JA etc. Solar energy sector is in its growth phase and this would be the ideal                                Exist? If Not…
      time to invest in them. Even though new limitations have been drawn up for
                                                                                              ,...__           "' sam on Delhi Gears Up For The

                                                                                                       -
      these companies in terms of solar energy research, solar installations in
      homes and businesses etc, due to the economy crisis, the need for                                        ) XIXth C…
      sustainable energy is a persistent concern and before long all the solar energy
      companies would resume their research activities in full swing. Once the
                                                                                              .                ...
      economy finds a foothold, unparalleled growth is expected in these company
                                                                                                               • athara on friendly_ghost
                                                                                                               •
      and subsequently their solar stocks.                                                                 •
      Solar power can be used to for a number of activities like recharging                   ~ ethan on vanessa_bobby_playing
      batteries, running home appliances etc. If you plan to invest in stocks of solar
      companies, make sure that you do your homework thoroughly. Research
                                                                                              ~
      companies and analyze their stock performance over a period of time. Due
      diligence is mandatory for any investment in the stock market. Solar stocks
      have a higher element of risk involved due to nature of industry but in future
      solar stocks have huge potential to do very well as sources of alternative
                                                                                                       - - - - - - I ....                   I -~
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      energy become a global priority.

      Short Term Investments in Energy Stocks

      Alternative energy technologies have potential to transformPage
                                                                  global -197-
                                                                         economy                                            Exhibit 11
                                                                                                                           April 2011
      and this should precisely be the reason why energy stocks are so lucrative. If                   M        T      W       T        F     S       S
      you are planning only short term investment in energy companies, you can
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      opt for lesser known companies which would give you quick profits when they
                                                                                                               1    2               3

      grow. Your initial investment would be low ans your expected profits high.                4     5      6     7    8      9    10

      Some of the energy companies worth investing in are Alstom, General                       11    12     13    14   15     16   17
      Electric, Bouygues, Johnson Controls, Toray Industries, Areva, Peabody                    18    19     20    21   22     23   24
      energy, Canadian Oil Sands Trust, Consol Energy, Zoltek etc.                              25    26     27    28   29     30
                                                                                                     « Jan
      Stock Investments and Technical Analysis



      Stocks of any kind, whether gold stocks, energy stocks or company stocks are
      all prone to the risks of the market. There are no safe investments in the
      stock market. The element of risk is the specialty of the market trades and
      any one ready to brace them will meet with sure success. Financial know how
      of the market and its working methods along with fair knowledge about the
      world stock markets are mandatory for a beginner. The Dow Theory is the
      basics of all stock technical analysis as we know today and how to use the
      technical analysis tools is necessary if you are planning to do some serious
      stock investments.
         Tags: buy stocks, invest in stocks, stock investment, stocks to buy, stocks to
         buy now




      First Comedy Club In India
      Posted by: cafeanant on: December 16, 2009

      B In: Media | India News | Art Forms | Comedy        Leave a Comment

      Comedy Clubs where stand up comedians perform in front of an audience are
      commonplace in the western world. In fact, this culture has become so
      popular in certain places like London that there is cut throat competition
      between different comedy clubs in London (get more information on comedy
      store london) and organizers are constantly innovating and enhancing their
      services to attract customers.

      Apart from comic acts, stand up performances, magic shows and musical
      performances, these comedy clubs also have restaurants and bars to entice
      customers to come in groups and enjoy an entire evening of fun and laughter.

      Following are 2 videos showing the kind of stand up acts that are performed
      in comedy clubs:




                Gena Yashere at The Comedy Store Comedy Club in London
                                                                      Page -198-                                  Exhibit 11


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                    Frank Deuring at Lion’s Den Comedy Club in London

      Although, this is a popular concept for western audiences, countries like India
      are just starting to discover this option for recreation and business. In India, it
      is easy to find a therapeutic morning laughter club, where all the oldies gather
      in the wee hours of the morning to boisterously laugh out their stress and
      tensions, but very difficult to imagine a place where stand up comedians
      perform live every evening.

      Recently, Indian television has seen a growing trend of successful laughter
      competitions and comedy shows where comic artists from across the country
      perform different kinds of acts and compete with each other. This is
      somewhat creating awareness about stand up performances and about how
      difficult, challenging and entertaining live acts are.

      Looking at this growing awareness about live comedy in this part of the world
      and also in order to explore new markets outside the highly competitive UK
      market, The Comedy Store, a renowned UK based comedy club, is opening
      India’s first comedy club in Mumbai. The Comedy Store already has 2 venues
      in London and Manchester and would be opening its first international branch
      in Mumbai at the Palladium Luxury Shopping Mall at High Street Phoenix in
      Lower Parel on January 14th, 2010.

      The owners have big plans for their first international venture and plan to
      make the Mumbai outlet as good as their London and Manchester venues, if
      not better. The club has a budget of 2.5 million pounds or 19 crore rupees
      and is a joint venture between the UK based The Comedy Store and the
      Gurgaon based The Spa Group. The club will have a restaurant, a bar and a
      huge auditorium which will acommodate 325 people. There will also be a
      parking lot for upto 300 cars.

      By opening India’s first comedy club, The Comedy Store hopes to create a
      market for stand up comedy in India, just like it did in London over 30 years
      ago. When it started, The Comedy Store was the first of its kind in London
      and now there are over 300 clubs where one can watch stand up comedy and
      enjoy a fun-filled evening.
         Tags: Comedy Store London, The Comedy Store, Comedy Store, Comedy Clubs,
         Comedy Clubs London, London Comedy Clubs, UK Comedy Clubs, Phoenix Mills,
         The Spa Group, High Street, Lower Parel, Stand Up Comedy, Comedy Shows,
         Live Comedy, Mumbai Comedy Club, India Comedy Club, Comedy Clubs UK,
         Comedy Clubs in London, London Comedy Store, Gena Yashere, Frank Deuring,
         Lion's Den




      Mélissa Theuriau – Television’s Hottest
      Bombshell – Just Check Her PicsPage -199-
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                                                 ID #:783
      Blog Looks So Beautiful Now :)
      Posted by: cafeanant on: November 3, 2009

         In: Celebrities | French News | Media | Personalities | Uncategorized   Leave a
      Comment




             Mélissa Theuriau 1      Mélissa Theuriau 2          Mélissa Theuriau 3




                                                                 Mélissa Theuriau 6



             Mélissa Theuriau 4      Mélissa Theuriau 5




                                     Mélissa Theuriau 8


             Mélissa Theuriau 7
                                                                 Mélissa Theuriau 9




                                     Mélissa Theuriau 11
      Mélissa Theuriau 10 – My
              Favorite :)
                                                                 Mélissa Theuriau 12




                                     Mélissa Theuriau 14
         Mélissa Theuriau 13
      “The world’s most beautiful news reporter” … Daily Express
                                                                      Page -200-                        Exhibit 11
      “TV’s sexiest news anchor” … Poll conducted by the U.S. edition of Maxim
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                                              ID #:784
      “Most beautiful woman in the world” … Poll conducted by the French
      edition of FHM

      “La bombe cathodique” or “The television bombshell” … Paris Match

      Thats Mélissa Theuriau for you! Born on 18th July, 1978 in Échirolles, Isère in
      France, Mélissa Theuriau is a journalist and news reporter who has been
      active on French television since 2002 and is currently working for the French
      television channel M6.

      She started her career as a reporter for Match TV in 2002. Later she worked
      with La Chaîne Info and TF1 and finally moved to M6 in 2006 as editor-in-
      chief and presenter of a weekly magazine show called Zone Interdite. She is
      also a presenter of many shows on a channel called Paris Première in
      partnership with Paris Match.

      Mélissa founded an organization called “La Rose” along with 5 of her journalist
      colegues Marie Drucker, Claire Chazal, Béatrice Schönberg, Laurence Ferrari
      and Tina Kieffer. “La Rose” works with the U.N.I.C.E.F. to educate girls.

      In 2005-2006, Mélissa Theuriau became an internet rage when her pics and
      youtube videos became immensly popular and started receiving millions of
      hits. In 2006, a French entertainment newspaper called Voici even published
      photographs of Mélissa Theuriau topless and relaxing on a beach which spread
      on the internet like wild fire. Mélissa’s lawyers have been trying to purge
      these images from the internet since then.

      She got married to Jamel Debbouze who is an actor of French and Moroccan
      descent on 7th May, 2008. They now have a son named Léon.




         Tags: Échirolles, Béatrice Schönberg, beautiful woman, Claire Chazal, Daily
         Express, Debbouze, FHM, France, Isère, Jamel, Jamel Debbouze, Journalist, La
         bombe cathodique, La Chaîne Info, La Rose, Laurence Ferrari, Léon, LCI, M6,
         Marie Drucker, Match TV, Maxim, Mélissa, Mélissa Theuriau, Mélissa Theuriau
         Topless, Mélissa Topless, Métropole 6, most beautiful news reporter, most
         beautiful woman, News Reporter, Paris Match, Paris Première, sexiest news
         anchor, television bombshell, TF1, Theuriau, Tina Kieffer, Topless Mélissa,
         Topless Mélissa Theuriau, UNICEF, Voici, Zone Interdite




      Meb Keflezighi Becomes First American
      In 27 Years To Win New York Marathon.
      Watch Video!
      Posted by: cafeanant on: November 2, 2009
                                                                     Page -201-                       Exhibit 11
         In: Athletics | Awards & Accolades | Media | Personalities | Sports | US News
        Leave a Comment

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Mélissa Theuriau                         ID #:786
From Wikipedia, the free encyclopedia

Mélissa Theuriau (born 18 July 1978 in Échirolles, Isère) is a                        Mélissa Theuriau
French journalist and news anchor for M6. She studied Journalism
and became a newscaster on TV. She became an internet
phenomenon when a compilation of her reading news was uploaded
and newspapers voted her the world's most beautiful news reporter.
She currently is co-editor in chief and anchor of Zone interdite on
French TV.

Contents
     1 Early career
     2 M6/Zone interdite
     3 Charity
     4 In popular culture
     5 Personal life
     6 References




Early career
Theuriau obtained a DUT in News-Communication from the
Technical University (Institut universitaire de technologie or IUT)
Pierre Mendès-France in Grenoble, and later a Master's degree in                    Mélissa Theuriau
Audiovisual Journalism from the Institute of Communication and
Media (ICM) at Échirolles. Theuriau was a reporter at Match TV in    Born         18 July 1978
2002. Since 2003, she has been a reporter and anchor for La Chaîne                Échirolles, France
Info, where she became better known to the French general public.
She made her breakthrough as a newscaster and travel show host for   Occupation Television presenter/Journalist
LCI, the news channel and for TF1. Her programs were LCI Matin       Notable      LCI Matin (LCI), News (LCI, TF1),
(LCI Morning), the 6:40 news on LCI and TF1 from Monday to           credit(s)    Voyages (LCI), Zone interdite (M6)
Thursday and the Voyages travel show on Wednesdays at 13:55 on
LCI. In May 2006, she surprised the management of TF1 by refusing
the offer to be the anchorwoman of the weekend evening news of TF1, as a summer replacement for sitting
anchorwoman Claire Chazal.

M6/Zone interdite
In June 2006, Métropole 6, another French television channel, announced her arrival for September as editor-in-chief
and presenter of Zone Interdite ("Forbidden Zone"), a weekly magazine show featuring investigative reporting.

She also presents Un jour, une Photo and Deux, trois jours avec moi on the French TV channel Paris Première, in
partnership with Paris Match. Un jour, une photo features stories behind iconic and historic photos. Deux, trois jours
avec moi is a weekly travel programme in which an invited guest reveals more about him or herself during a trip.

In September 2006 she was appointed co-editor in chief and anchor of the influential TV magazine Zone interdite
("Forbidden Zone") on M6.[1]

Charity                                               Page -203-                                  Exhibit 11

In March 2007, she launched, with five other journalists (Claire Chazal, Marie Drucker, Laurence Ferrari, Béatrice
Schönberg, and Tina Kieffer), the organization “La Rose”, which works withFTC-000604
                                                                             UNICEF to help educate girls.
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In popular culture                        ID #:787

Mélissa Theuriau has become an internet phenomenon, with fans uploading video compilations[2] receiving millions of
hits from admirers. Theuriau is reportedly surprised by this phenomenon, stating, "I cannot explain it...I am absolutely
not seeking this publicity."[3]

In 2006, the Daily Express voted her the world's most beautiful news reporter.[4] She was similarly voted "TV's sexiest
news anchor" by readers of the US edition of Maxim. In May 2007, she was voted most beautiful woman in the world
in the French edition of FHM. Paris Match has referred to her as la bombe cathodique ("the television bombshell").[5]

In 2006, Voici, a French tabloid, published pictures showing her topless at a beach. Her lawyers are reportedly
attempting to purge these images from the Internet.[5]

In 2010 scam websites started using her photo to promote health treatments[6] and penny auctions.[7]

Personal life
On 29 March 2008 she became engaged to French comedian/actor Jamel Debbouze; the two married on 7 May 2008.[8]
They had a son on 3 December 2008 named Léon.

References
      "Biography of Mélissa Theuriau", Melissa-Theuriau.fr.

  1. ^ "Forbidden zone - M6 - Mélissa Theuriau". http://www.melissa-theuriau.fr/en-zone-interdite.html. Retrieved 22 December
     2010.
  2. ^ Melissa Theuriau Compilation Video, the video, entitled "Beautiful News Reporter", that made her an internet
     phenomenon.
  3. ^ "Belle de jour... nal" by David Le Bailly, Paris Match, August 2005.
  4. ^ "Moi, plus belle présentatrice du monde? Ridicule!", interview with Mélissa Theuriau, Télé Star, September 2006.
  5. ^ a b "And finally...internet turns a newsreader into instant world celebrity" by Charles Bremner, The Times, March 24, 2007.
  6. ^ [1] "Consumer Health Reporter"] by consumer health reporter. cons
  7. ^ Ian McIlwraith. The face that launched a global ad scam, Sydney Morning Herald, 17 September 2010. Retrieved 17
     September 2010.
  8. ^ http://www.vivre-maroc.com/actu/2008/06/13/mariage-de-jamel-debbouze-et-melissa-theuriau/
Retrieved from "http://en.wikipedia.org/wiki/M%C3%A9lissa_Theuriau"
Categories: 1978 births | Living people | People from Échirolles | Women journalists | French television journalists

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                         NEW JERSEY DEPARTMENT OF TREASURY
                                   DIVISION OF REVENUE
                                                 CERTIFICATE OF FORMATION

                                                          CIRCA DIRECT LLC
                                                               0400268470

   The above-named DOMESTIC LIMITED LIABILITY COMPANY was duly filed in
   accordance with New Jersey state Law on 01/27/2009 and was assigned
   identification number 0400268470.  Following are the articles that
   constitute its original certificate.
   1. Rames                                                                                           LLV
       CIRCA DIRECT LLC
   2. Regiatered Agenti
                                                                                                          FILED
      ANDREW DAVIDSON
                                                                                                  [ JAN z7 2009
   3. Regiatered Otfices
       209 N. ESSEX AVE.                                                                          STA'.fE TREASURER
       MARGATE, NJ 08402
   4. Busin••• Purpo•ei
      ADVERTISING/ MARKETING-INTERNET ADVERTISING
   5. Members/Jlan.a.gera1
       ANDREW DAVIDSON
       209 N. ESSEX AVE.
       MARGATE, NJ 08402
   6. Ma.in    Bu■ .ineas Addrea ■ 1
       209 N. ESSEX AVE.
       MARGATE, NJ 08402
      Signatures a
       SHEILA DANG
       AUTHORIZED REPRESENTATIVE
                                                                         TN TESTIMONY WHEREOF, I have
                                                                           hereunto set ~hand and
                                                                           affixed my O · l Seal
                                                                              at Trenton, t is
                                                                              28th day of January, 2009


                                                                              ~?¾~,
                                                                              R. David Rousseau
                                                                              State Treasurer
                      Curific-a,e N,,,,.J,,,r:   l J 3525690
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                                               ID #:790
                            New Jersey State Business Gateway Service
                            Corporate and Business Information Reporting




      Business Entity Status Report

         Printing Instructions: Open your Browser's Page Setup menu and set your page margins to 0.25". Use your
         Browser's Print option to print the report as seen on screen.
         Saving Instructions: Save this file to your hard drive for later viewing by using the Browser's "Save As" function.
         All available information is displayed.


                 Status Report For: CIRCA DIRECT LLC

                         Business Name: CIRCA DIRECT LLC                                             Report Date: 03/31/2011
                   Business ID Number: 0400268470                                Transaction Number: Sequence: 1828444: 1



                                     Business Type: DOMESTIC LIMITED LIABILITY COMPANY

                                              Status: ACTIVE



                                        Filing Date: 01/27/2009                              Home Jurisdiction: NJ
                            Status Change Date:                                                 Stock Amount: 0
                   DOR Suspension Start Date:                                        DOR Suspension End Date:
                    Tax Suspension Start Date:                                       Tax Suspension End Date:

                                       Annual Report Month: 1
                                    Last Annual Report Filed: 01/24/2011
                      For Last Annual Report Paid Year: 2011



                                                         Incorporator:
                                                                    Agent: ANDREW DAVIDSON
                                                      Agent Address: 607 N. DELAVAN AVE.

                                                                         MARGATE, NJ 08402

                                              Office Address Status: Deliverable
                                            Main Business Address: 607 N. DELAVAN AVE.
                                                                         MARGATE, NJ 08402
                                        Principal Business Address: 607 N. DELAVAN AVE.
                                                                         MARGATE, NJ 08402




                   Associated Names
                    Name: RAPID OFFERS                                         Type Description: Fictitious Name



                                                                        Page -207-                                   Exhibit 11
                   Officers/Directors/Members

                                                                                           FTC-000608
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                                                                                                      704
                 1) Title:                             ID #:791
                               CHIEF EXEC. OFFICER (CEO)
                         Name:           ANDREW DAVIDSON

                         Address:        607 N. DELAVAN AVE.
                                         MARGATE, NJ 08402




                                                          l Return to Main Ust

         **If you would like to receive photocopies of documents filed by this business entity, mail your request to PO Box
         450, Trenton, NJ 08625. Indicate the Business Entity Number(s) involved and the type of document you wish to have
         copies of. Your choices are listed below:

         CHARTER DOCUMENTS
            Original Certificate Only (For example, Certificate of Incorporation);
            Changes and Amendments to the Original Certificate Only; OR
        I   All Charter Documents (Original Certificate and Changes/Amendments)
              And/or
         ANNUAL REPORTS
            Copy of Latest Annual Report; OR
            Copy of Annual Report for a Specific Year(s) (List the Year Desired)

         The photocopy fee for all entities except limited liability companies is $1 per page. For limited liability companies, the fee is $10
         for the first page and $2 per page thereafter.

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         payable to the Treasurer, State of New Jersey. Alternately, you may pay by credit card (provide card#/expiration date
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         have any questions or would like information on alternative service options such as over-the-counter expedited
         service, call 609-292-9292 (option 3 on the main menu and then option 8), weekdays, 8:30 a.m. to 4:30 p.m.

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   Jersey Shore Real Estate & Lifestyles



     Welcome Home
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                           Blog
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                                       Find a Home       FindaShoreHome.tv        For Owners       About      Contact Us                                             Go




   Welcome Home
                                       By Ian Lazarus on September 16th, 2010                                   No Comments
   Blog                                                                                                                        Property Search
                                       Jersey Shore Real Estate Transactions:
   Find a Home
                                       Category: Atlantic City, Avalon, Cape May, In the News, Local Posts, Longport,                    Property Quick Search
   FindaShoreHome.tv                   Margate, Ocean City, Property Transfers, Real Estate, Sea Isle City, Somers Point,
                                                                                                                                   Min Price:        100000
   For Owners                          Stone Harbor, Strathmere, Ventnor, Wildwoods
                                                                                                                                   Max Price:        500000
   About
                                       Jersey Shore Real Estate Transactions:
   Contact Us                                                                                                                      Min SQFT:         0
                                       June 26 to July 2, 2010
                                                                                                                                   Min Rooms:        2
                                       Atlantic County                                                                             Min Baths:        0
                                       ATLANTIC CITY                                                                                             Atlantic
                                                                                                                                   Choose a City Atlantic CityCity


                                                                                                                                                    Search
                                       3801 Boardwalk Unit 103, Sharon Green to Rachel Haddad; 7/2/2010. $155,000

                                       3101 Boardwalk Unit R25, Royal Massage LLC & Clemett L Thomas & Liying
                                       Donchez to Ocean Sea Assn LLC; 7/1/2010. $450,000
                                                                                                                               Featured Properties
                                       120B Texas Ave., Kebria Gulam & Gulam Kebria & Sanzida Hossain to Tapan K Day &
                                       King N Sien; 7/1/2010. $105,000

                                       507 N. Michigan Ave., Hallinan & Schmieg to Hallinan & Schmieg; 6/28/2010. $100

                                       1822 E. Riverside Drive, Shore Management Co Of Delaware Valley Inc to Roberta
                                       Musci & Dean S Felmy; 6/28/2010. $227,000

                                       2 S. Hartford Ave. Unit E4, Josef G Hadeed to William Boland & Teresa Boland;
                                                                                                                                       $129,800
                                       6/29/2010. $55,000
                                                                                                                                9609 Ventnor Avenue B 7
                                       2517 Centennial Ave., Ye Hui Mei & Xiao Man Liao to Abul Basar MD; 6/30/2010.               Margate, NJ 08402
                                       $120,000

                                       316 N. Harrisburg Ave., William J Fritz & Florence M Fritz & Daniel M Fritz to Harbor
                                       Fine LLC; 6/30/2010. $150,000
                                                                                                                                                   6711
                                       2008 Grant Ave., Mildred Snowden & Sandra R Kemp & Donald R Snowden to
                                       Molena Inc; 6/30/2010. $30,000
                                                                                                                               Jersey Shore Real Estate
                                       314 N. Harrisburg Ave., William J Fritz & Florence M Fritz & Daniel Fritz to Annaria
                                                                                                                                About
                                       LLC; 6/30/2010. $150,000
                                                                                                                                  Jersey Shore Resources ~ Links
                                       101 S. Raleigh Ave. Unit 913, Robert Konza to Steven Nyul; 6/30/2010. $112,500             Real Estate Glossary

                                       BRIGANTINE                                                                               Blog

                                       11 Shipmaster Drive, Joseph Ronan to Alissa Stuffo & James Stuffo & Christopher          Contact Us
                                       Stuffo; 7/1/2010. $438,750                                                               Find a Home

                                       3712 W. Brigantine Ave. Unit B, James P Kelly to Michael Garofolo & Gina Garofolo;
                                                                                                                                  For Buyers

                                       7/1/2010. $225,000                         Page -210-                                         CreditExhibit
                                                                                                                                           Basics  11
                                                                                                                                     Short Sale Questions

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                           4201 W. Brigantine Ave., Mara Stratt to Michael Gallagher & Suzanne Gallagher;
                                    7/1/2010. $315,000                                                                        Shore Businesses and Merchants

                                    23 Vardon Road, William E Weinacht & Barbara A Weinacht to Richard J Mantici &          FindaShoreHome.tv
                                    Maureen Mantici; 7/2/2010. $415,000                                                     For Owners

                                    LINWOOD
                                                                                                                              Viridian Energy

                                                                                                                            Welcome Home
                                    1200 Woodlynne Blvd., Matthew J Cronin & Devon Cronin to John J Dalessandro &
                                    Christine M Dalessandro; 7/1/2010. $458,500
                                                                                                                              Short Sales

                                    6 Crestwood Ave., Michael Pendergast & Caroline Pendergast to Ashley Keene &
                                    John Franchini; 7/1/2010. $470,000                                                     Categories

                                    110 Warren Ave., Kathleen R Musarra to Eugene Demorat; 7/2/2010. $270,000               Banking (4)

                                                                                                                            Home Improvement (2)
                                    2109 Wabash Ave., Thomas J Moffa & Paula Savory Moffa & Michael Savory to
                                    Barbara Potter; 6/30/2010. $245,000 ;                                                   In the News (144)
                                                                                                                            Insurance Issues (4)
                                    2021 West Ave., David B Kellum & Pamela L Kellum to Pealwing LLC; 6/30/2010.
                                    $300,000                                                                                Investing (18)

                                                                                                                            Legal Issues (25)
                                    611 Brandywine Court, Jill Cooper Soifer to Robert Rothhouse; 6/30/2010. $339,000
                                                                                                                            Local Posts (114)
                                    LONGPORT
                                                                                                                              Atlantic City (59)
                                    103 S. 29th Ave., Mark A Brown & Mary Anthony Brown to Falasca Holdings Co LLC;           Avalon (34)
                                    7/1/2010. $1,825,000
                                                                                                                              Cape May (25)
                                    MARGATE                                                                                   Longport (19)

                                    106 N. Osborne Ave., June A Probinsky to Richard Probinsky; 7/1/2010. $700,000            Margate (18)
                                                                                                                              Ocean City (32)
                                    9400 Atlantic Ave. Unit 501, Charles W Smith & Arminta M Smith to Barry L Singer
                                    & Sandra Singer; 6/29/2010. $385,000                                                      Sea Isle City (61)
                                                                                                                              Somers Point (10)
                                    607 N. Delavan Ave., Lynn Tinucci & Lynn Short & Stanley D Short to Andrew J
                                    Davidson; 6/30/2010. $450,000                                                             Stone Harbor (29)
                                                                                                                              Strathmere (16)
                                    NORTHFIELD
                                                                                                                              Ventnor (19)
                                    613 First St., Jacob J Okoorian & Michelle L Bonek Okoorian to Xin Li; 7/1/2010.
                                                                                                                              Wildwoods (30)
                                    $155,000
                                                                                                                            Market Conditions (47)
                                    1823 Tilton Road, Federal National Mortgage Association & Phelan Hallinan &
                                    Schmieg PC to Jennifer Chuang; 7/2/2010. $136,500                                       Mortgage (11)
                                                                                                                            Photos (1)
                                    106 Cara Court, Jeffery A Margolis & Ida R Margolis to Steven J Moscola & Michelle L
                                    Moscola; 6/30/2010. $452,500                                                            Property Transfers (16)

                                                                                                                            Real Estate (80)
                                    1315 Shore Road, Ramon Quinones & Luz M Taborda to William Kern; 6/30/2010.
                                    $180,000                                                                                Renewable Energy (4)

                                                                                                                            Shore Lifestyles (52)
                                    219 Franklin Ave., Steven Moscola & Michelle Moscola to Jeffrey M Schlundt & Kelly
                                    A Schlundt; 6/28/2010. $280,000                                                         Short sales (6)

                                                                                                                            Summer Rentals (5)
                                    SOMERS POINT
                                                                                                                            Tax Issues (4)
                                    31 S. Laurel Drive, Geraldine G Simon to David E Lee; 6/30/2010. $190,000
                                                                                                                            Townhouse for Sale (1)
                                    19 Whitman Drive, Evelyn L Roberts & Robin M Roberts to Jay Francis Kircher;            Uncategorized (10)
                                    6/30/2010. $250,000
                                                                              Page -211-                                                Exhibit 11
                                                                                                                            Videos (4)

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                           VENTNOR              ID #:795                       Viridian Energy (1)

                                    21 N. Newport Ave., Efstathia Karandreas & Matthews Demetra Karandreas &                  Zoning Laws (2)
                                    Demetra Karandreas Matthews & George Karandreas to Angeline Margaritis;
                                    6/29/2010. $210,000

                                    6007 Marshall Ave., Barry Kessler & Terry T Plavnick to John Bozzelli & Sara Bozzelli;    MLS Market Snapshot
                                                                                                                              Get This Week's Local Market
                                    6/29/2010. $205,000                                                                                Conditions:

                                    5000 Boardwalk, William R Korn & Etta Kris Korn to Sandy W Meyer & David L Meyer;
                                    6/30/2010. $325,000                                                                       First Name

                                                                                                                              Last Name
                                    11 South Nashville Avenue Unit 2B, Joseph J Craddock to James R Kyle & Joanne
                                                                                                                              Email
                                    Kyle; 6/28/2010. $68,000
                                                                                                                              Phone          (optional)

                                    101 S. Frankfort Ave., Barbara Sardella & Stephen C Dengler to Cheso Diprato &            I am           Select
                                                                                                                                             Select
                                    Cristina Diprato; 6/28/2010. $475,000

                                    5404 Ventnor Ave., Paul F Kolojeski & Carol Kelsey Kolojeski to Jonathan A Cass &
                                    Jacquelyn A Caridad; 7/1/2010. $546,500

                                    6903 Monmouth Ave., Sandollar LLC & Joseph W Swift to Anthony R Colavita &
                                    Donna Colavita; 7/1/2010. $210,000
                                                                                                                                      View Sample Analysis
                                    5200 Boardwalk Unit 15C, Barbara Freedman to Geraldine Richmond & Allen
                                                                                                                                                      Step 1 of 2
                                    Richmond; 7/1/2010. $595,000

                                    Cape May County

                                    CAPE MAY                                                                                 The Archives

                                    1343 Missouri Ave., Kay Weisbrod and Martin Weisbrod to James Rogers and Ruth             January 2011 (2)
                                    Rogers; 6/29/2010. $369,000                                                               December 2010 (4)

                                    1621 Beach Ave., Bernard Poiesz and Elvira Poiesz to Janet Robertson and John             November 2010 (10)
                                    Robertson; 6/30/2010. $750,000                                                            October 2010 (14)

                                    1209 Idaho Ave., Dale Diehm and Roberta Diehm to John Matson and Katherine                September 2010 (28)
                                    Matson; 6/30/2010. $655,000                                                               August 2010 (16)

                                    1163 Indiana Ave., Camilla Matozzo and Joseph Matozzo to David Martz and Lynne            July 2010 (7)
                                    Martz; 6/30/2010. $685,000                                                                June 2010 (3)

                                    DENNIS TOWNSHIP                                                                           May 2010 (6)
                                                                                                                              April 2010 (18)
                                    288 Longport Ave., Catherine Casey and William Casey to Ciara O’Connell and
                                    Michael Halko; 6/28/2010. $85,000                                                         March 2010 (25)

                                                                                                                              February 2010 (25)
                                    301 Santa Fe Trail, Lorraine Beauchesne and Susan Brooks to Andrew Scheller
                                    and Rosemarie Scheller; 7/1/2010. $54,000                                                 January 2010 (31)

                                                                                                                              December 2009 (3)
                                    LOWER TOWNSHIP

                                    118 W Jacksonville Ave., Eleanor Groninger and Melvin Groninger to Norma
                                                                                                                             Featured Properties
                                    Lindbloom-Cruz; 6/30/2010. $212,500
                                                                                                                              3851 Boardwalk (The Enclave) #2601 ,
                                    9903 Seapointe Blvd. Unit 206, Patti Weg to Perri Stark and Ronald Stark;
                                                                                                                              Atlantic City NJ
                                    6/28/2010. $500,000
                                                                                                                              5000 Boardwalk #1108 Ventnor City
                                    28 W. New York Ave., Norma Lindbloom-Cruz to Eileen Parrish and Roy Parrish;              Condo
                                    6/30/2010. $110,000                        Page -212-                                                  Exhibit 11


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                           5 Ibis Place, Fung Cheng and Sing Cheng to Gerald Shillingford and Lila Shillingford;    Real Estate Tools and Links
                                    6/28/2010. $270,000
                                                                                                                                  Ian Lazarus on Facebook
                                    45 E. Pacific Ave., Sophie Stevens to Justin Fortino and Rita Tice; 6/1/2010. $135,000        Property Search

                                    111 Kentucky Ave., E Valley Inc Shore Management Co Of Delawar to Joseph                      Sea Isle Summer Rentals
                                    Kennedy and Louise Kennedy; 6/30/2010. $198,000

                                    113 Pinetree Drive, Ticino LLC to Annette Bellacosa and Ronald Lembo; 6/28/2010.         System Links
                                    $210,000
                                                                                                                                  Basic Search
                                    MIDDLE TOWNSHIP                                                                               Advanced Search

                                    120 Aberdeen Way, Beazer Homes Corp to Mark Stein and Michele Sacks;                          Map Search
                                    6/28/2010. $253,000                                                                           Address Search

                                    9 Carmen Drive, Ros-Len Inc to Steven Luteri; 6/30/2010. $230,000                             Contact Us
                                                                                                                                  User Login
                                    104 Indian Trail, William Kern to Atlantic Cape Builders LLC; 6/28/2010. $125,000
                                                                                                                                  User Signup
                                    303 Aberdeen Way, Beazer Homes Corp to Joseph Reaney and Marianna Reaney;
                                                                                                                                  Email Updates
                                    6/30/2010. $310,567
                                                                                                                                  Mortgage Calculator
                                    115 Davis Road, Ros-Len Inc to Christopher Krauss; 6/29/2010. $226,000
                                                                                                                                  Home Valuation Request
                                    16 Benche Court, Carolyn McClure and John McClure to Richard Shelton; 6/25/2010.
                                                                                                                                  IDX Sitemap
                                    $75,000
                                                                                                                                  Search by City
                                    12 Brook Ridge Road, Donovan Vezin and Pamela Vezin to Christopher Zitnay and
                                    John Hong; 6/28/2010. $525,000
                                                                                                                                           Ian Lazarus
                                                                                                                                           968 followers
                                    NORTH WILDWOOD
                                                                                                                                                                  Follow

                                    349 E. 21st Ave., Anthony Bucolo and Cora Bucolo to Colleen Hlywiak and Michael           Showing recent Twitter visitors
                                    Hlywiak; 6/30/2010. $365,000                                                                       Your name here!
                                                                                                                                       Add your Twitter profile
                                    208 E. 21st Ave., Christopher Robinson and Colleen Robinson to Cheryl Bellocchio
                                                                                                                                       John Deere
                                    and Joseph Bellocchio; 7/2/2010. $302,500                                                          2,641 followers        Follow


                                    OCEAN CITY                                                                                Showing example visitors below.
                                                                                                                                Why not invite your friends?
                                    500 Bay Ave. Unit 406, Joan Stevenson and Theodore Krouse to Leslie Powers;
                                                                                                                             1NW The Next Web
                                                                                                                                  ALL 495,370 followers      c=:)
                                                                                                                                                             Follow




                                                                                                                             •I
                                    6/11/2010. $295,000                                                                       l    I


                                                                                                                                       Shareables
                                    726 Battersea Road First Floor, Harry Wagner and Theresa Wagner to Judith                          5,864 followers       c=:)
                                                                                                                                                             Follow

                                    Kranetz; 6/29/2010. $375,000
                                                                                                                                       Arjen Schat

                                    3229-31 Simpson Ave., Domenic Oteri and Helene Oteri to Christopher Meyer and
                                                                                                                                       5,575 followers       c=:)
                                                                                                                                                             Follow


                                    Meredith Meyer; 6/28/2010. $700,000                                                                Patrick de Laive
                                                                                                                                                             c=:)
                                                                                                                                                             Follow




                                                                                                                             •
                                                                                                                                       7,599 followers

                                    210 44th St., Thomas McLaughlin to Barbara Scattergood; 6/30/2010. $350,000                        Boris
                                                                                                                                       14,019 followers      c=:)
                                                                                                                                                             Follow

                                    803 Pennyln Place Second Floor, BF Ventures LLC to Laura McManus and Lee
                                                                                                                                       Sam Wierema
                                    McManus; 6/29/2010. $532,500
                                                                                                                              d        636 followers         c=:)
                                                                                                                                                             Follow


                                    1609 Wesley Ave. Unit A-1First Floor, Dian Dabek and John Dabek to Linda
                                    Depaoli and Steve Depaoli; 7/2/2010. $710,000                                            (    Show more recent Twitter
                                                                                                                                         visitors                          )
                                    6 E. Seventh St., Jean Ridgway to Joseph Pietras and Nancy Pietras; 6/30/2010.           Put this Twitter widget on your site

                                    $145,000
                                                                                Page -213-                                             Exhibit 11
                                                                                                                             Wildcard Search
                                    3816-18 Asbury Ave. Unit B, Colleen Michelle LLC to Louis Besash and Mary
                                    Izganics-Besash; 7/2/2010. $595,000

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                                    911 Second St. First Floor, Charles Duffield and Jennifer Duffield to Michael
                                    Doherty and Rebecca Doherty; 6/25/2010. $825,000 ;
                                                                                                                       The Lazarus Team
                                    1212 Asbury Ave. Unit A, Catherine Hewski and Dennis Hewski to Bart Turner and
                                    Kelly McParland; 6/30/2010. $125,000                                               The Landis Co., Realtors
                                                                                                                       6000 Landis Avenue
                                    4314 Asbury Ave., Kathleen Booth to Daniel Vandenberg and Rebecca Vandenberg;      Sea Isle City Nj, 08243
                                    6/30/2010. $475,000                                                                609-457-0258

                                    109 Tarpon Court, Patricia Hainley and Wayne Hainley to Jennifer Morozin and
                                    Joseph Morozin; 6/30/2010. $323,000

                                    1500 Boardwalk Unit 206, Marlene Ferrara to Anne Reichert and Robert Reichert;
                                    6/30/2010. $507,000

                                    115 Bartram Lane, Dean Adams to Diane Root and James Root; 6/29/2010. $300,000

                                    1931 Haven Ave., Colleen Michelle LLC to Lori Yeager; 6/30/2010. $555,000

                                    27 Harbor Road, Jeffrey Stuart and Evelyn B Stuart Irrevocable Trust to Helen
                                    Kelleher and William Kelleher; 7/1/2010. $680,000

                                    920A Bay Ave., Dean Vaccaro to Harry Halscheid and Ina Halscheid; 6/30/2010.
                                    $370,000

                                    862 St. Charles Place, D McClenathan and Susan McClenathan to Cathy Schreiber
                                    and James Schreiber; 6/30/2010. $435,000

                                    SEA ISLE CITY

                                    7804 Central Ave., JF Builders Inc to Marianne Laidlaw and Scott Laidlaw;
                                    6/30/2010. $645,000

                                    26 E. 45th St., Mary Gallagher to Brady B’s Properties LLC; 7/16/2009. $235,000

                                    352 47th Place First Floor, Barbara Cosgrove and Robert Cosgrove to Donna
                                    Tomaino and James Tomaino; 7/1/2010. $515,000

                                    8223 Sounds Ave. Unit West, Coastal Renaissance LLC to Dean Trevlyn and Gloria
                                    Trevlin; 6/30/2010. $1,475,000

                                    337 43rd Place East Unit, Stephen Kirkpatrick and Theresa Kirkpatrick to
                                    Christopher Vent and Kathleen Vent; 6/29/2010. $760,000

                                    4009 Landis Ave. Unit 8, 4009 Landis Avenue LLC to Janet Galliera and Robert
                                    Galliera; 7/1/2010. $415,800

                                    UPPER TOWNSHIP

                                    800 Route 50, Kelly Forsstrom and Sean French to Jessica Liesveld; 6/29/2010.
                                    $280,000

                                    25 E. Whittier Ave., Dennis Sheedy and Mary Becker to Catherine Kunda and Walter
                                    Kunda; 6/30/2010. $999,999

                                    WILDWOOD

                                    319 E. Pine Ave. A, Noteable Investments LLC to Trust Ryan Family Irrevocable
                                    Living; 7/1/2010. $250,000                 Page -214-                                          Exhibit 11
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                                    6201 Ocean Ave., Pzmag LLC to Dennis Turner; 6/28/2010. $128,700

                                    7701 Atlantic Ave. Unit 301, Debra Contino and Joseph Contino to Robert
                                    Demarco and Shauna Demarco; 6/30/2010. $630,000

                                    208 E. Forget-Me-Not Road, A-Ladd Inc to Alan Friebis and Maureen Friebis;
                                    6/30/2010. $150,000

                                    115 E. Crocus Road Unit 5, Lawrence Gambino and Theresa Gambino to Jeffrey
                                    Wright and Theresa Wright; 7/2/2010. $145,000

                                    415 E. Heather Road Unit 203, WH Real Estate LLC to Nancy Fitzgerald; 6/30/2010.
                                    $398,000


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                                    Leave a comment on Jersey Shore Real Estate Transactions:


                                                                           Name (required)


                                                                           E-mail (required, never displayed)


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                                                                          GETTING STARTED                                                                                              type keyword           ubm

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                                          Website Specifications
                                                                          CX Digital Media is a network of merchants' affiliate programs. With CX Digital Media, you may
                                          Can Spam Agreement              participate in multiple affiliate programs via a single affiliate account. There are over 150 different
                                                                          content areas where merchants list their offers, so matching a merchant offer to an affiliate's
                                          Frequently Asked Questions      content is quite simple.

                                          Referral Program                Affiliate marketing is any type of online advertising or marketing where the merchant pays affiliates
                                                                          for results as an alternative for paying to reach a targeted audience. Affiliates promote merchant's      call us now
                                          Terms & Conditions              products and/or services via their website or newsletters in exchange for commission revenue,             to learn more
                                                                          generated by their marketing efforts.
                                          Join Now                                                                                                                                  1.866.962.9764
                                                                              Participating in CX Digital Media is a simple procedure:
                                          Affiliate Tour
                                                                                   Join Programs - Select merchants campaigns you want to promote.                                  news & events -t
                                                                                   Create Links - Copy and paste the HTML or creatives for merchants whose programs/
                                                                                   campaigns you selected.
                                                                                                                                                                                    Cyberplex Announces
                                                                                   Run Reports - Review real-time statistics to see how effective your programs are.                Close Bought Deal
                                                                                                                                                                                    Financing
                                                                                                                                                                                    Monday, June 14, 2010

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                                                                                                                                                                                    Tsavo Media
                                                                                                                                                                                    Tuesday, May 18, 2010

                                                                                                                                                                                    TORONTO, ON --
                                                                                                                                                                                    (Marketwire – May 18,
                                                                                                                                                                                    2010) - Cyberplex...



                                                                                                                                                                                    Jaguar Canada Pilots CX
                                                                                                                                                                                    Digital Media for Online
                                                                                                                                                                                    Lead Generation
                                                                                                                                                                                    Wednesday, April 28, 2010

                                                                                                                                                                                    TORONTO, ON -
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                                    Sitemap      Terms & Conditions      Contact Us      Privacy Policy     Join Our Team
                                    © 2009 CX Digital Media Affiliate Network, formerly known as Incentaclick
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Advertisers | EWA Network
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                                                                                                              As of April 10, EWA is only accepting (12) new affiliates!
                             J   e w a PRIVATENETWORK




      Advertisers
      Unlike other networks, our affiliates are referral-only approved to provide the highest possible
      quality leads. We have some of the largest and most credible email marketers, media buyers,
                                                                                                                                      Harrison Gevirtz
                                                                                                                                      Managing Partner
      and search engine marketers in the industry. In addition to our large affiliate user base, we
      operate a multi-million dollar internal operation generating sales through paid search, media                                      805.680.8449
      buys, social media, organic traffic, pops, and contextual traffic.                                                                  harrison@eaglewebassets.com

                                                                                                                                          role
      We understand advertiser quality metrics and have the resources to not only provide immense
                                                                                                                                          metalgem3
      traffic, but optimize your advertising campaigns to be the most profitable. With EWA you only
      pay for results on a CPA pricing model to ensure you only pay for what you want. We guarantee
      you customers, not clicks:

             We send our advertisers 120,000,000 visitors each month!
             We drive over 1,000,000 conversions each month!
             Our global reach extends to over 180 countries!

      To sum it up....

      we make advertise nch

  © 2011 EWA Network Inc. All Rights Reserved.
                                                                                                                                       Follow Us On




            Home                     About EWA                    Contact Us                Advertisers                Login                       Join Now




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      Contact Information

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      *Last Name:


      *E-mail Address:


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      *Phone Number:
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      Fax Number:




      Company Information

      *Company:


      *Website URL:
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      Description:




      *Address:




      *City:


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      Terms and Conditions

      By submitting this application, you agree to the following terms and conditions:

        These terms and conditions ("Agreement") are agreed to by the person or entity ("Affiliate") whose name and address appear in the application ("Application") to
        participate in Eagle Web Assets, Inc's affiliate network (the "Network"). As a participant in the Network, Affiliate shall display and distribute advertising creatives, including
        without limitation e -mails, web sites, links, and banner advertisements, and search engine placement (collectively, "Ads"), promoting the products or services of advertisers
        with whom Eagle Web Assets Inc. ("Eagle Web Assets") has contracted to provide online advertising services ("Advertisers"). The promotion of a particular Advertiser offer
        shall be referred to in this Agreement as a "Campaign". Specific payment and other terms applicable to each Campaign shall be specified in "Campaign Terms" made
        available by Eagle Web Assets to Affiliate through the Network web site ("Network Site"). For purposes of this Agreement, Eagle Web Assets and Affiliate are a "party"
        and together, the "parties".



      How did you hear about us?                                                                   Select
                                                                                                   Select




       Submit Application




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                           SUPERIOR COURT OF CALIFORNIA
                               COUNTY OF SAN FRANCISCO

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                                          COMPLAINT




                     ETRONICS, INC. VS. HARRISON GEVIRTZ et al




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NOTICE TO DEFENDANT:
(A VISO AL DEMANDADO):
 HARRJSQ.N GEVIRTZ and ACME LOGISTICS, INC.
  cvyJ..         Dee~ 1-ro
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 ETRONICS, INC.


 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not fde your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the Galifomia Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your focal court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 1AVISO! Lohan demandado. Si no responde dentro de 30 dlas, la corte puede decidiren su contra sin escuchar su version. Lea la informaci6n a
 continuaci6n.
    Tiena 30 DIAS DE CAlENDAR/O despues de qua le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telefonica no lo protegen. Su respuesta par escrito tiane que estar
 en formato legal correcto si desea qua procesen su caso en le corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informacion en el Centro de Ayude de las Cortes de California twww.sucorte.ca.govJ, en la
 biblioteca de /eyes de su condado o en la corte qua le quede mas cerca. Si no puede pegar la cuota de presentacion, pida al secreterio de la corte
 qua le de un formu/arfo de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 po<Jra quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisites /egales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remision a abogados. Si no pusde pagar a un abogado, es posible que cumpla con los requisites para obtener serviclos legales gratuitos de un
 programa de servicios /egales sin fines de /ucro. Pueds encontrar estos grupos sin fines de /ucro en el s/t/o web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o el
 co/egio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y las costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediente un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:
(El nombre y direcci6n de la carte es):
Superior Court of California, County of San Francisco, 400 McAllister
St., Room 103, San Francisco, CA 94102
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono def abogado de/ demandante, o def demandante que no tiene abogado, es):
William E. Shapiro, 244 California St., Ste 300, San Francisco, CA 94111, Tel: (415) 678~9209

DATE:MA.Y -
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(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
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 [SEAL]
                                            1.   D as an individual defendant.
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                                            2_.    as the person sued under the fictitious name of (specify):
                                                                                                                                                BY FAY
                                            3. CJ on behalf of (specify):
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                                    :e~          under: CJ CCP 416.10 (corporation)                       D       CCP 416.60 (minor)
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Case 2:19-cv-06814-DSF-KS


  ATTORNEY OR PARTY WITHOUT ATTORNEY
,-William E. Shapiro (SBN 2226 S)
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   LAW OFFICES OF WTLLTAM E . SHAPIRO
   244 California St., Ste 300, San Francisco, CA 941 11

       TELEPHONE NO.:
  ATTORNEYFOR (Name):
                             \t}tronics,
                                  5) 678-9209
                                         Inc.
                                                                  FAXNO.: (415) 358-85}5
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   San Francisco                                                               MAY - 8 2013
       s~m ADDREss, 400 McAllister St.
       MAILING ADDREss, Room 103
      cITYANDZ1PcooE: San Francisco, CA 94102
                                                                                                                            CLER\I~~~M~~TA
          sRANcH NAME: Unlimited Jurisdiction                                                                            BY:                                  Deputy Clerk
   CASE NAME:
  Etronics, Inc. v. Harrison Gevirtz and Acme Logistics, Inc.

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                                                                         Counter          D      Joinder
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          demanded                         demanded is          Filed with first appearance by defendant
          exceeds $25,000)                 $25,000 or less)          (Cal. Rules of Court, rule 3.402)                  DEPT:
                               Items 1-6 below must be completed (see mstruct1ons on page 2).
1. Check one box below for the case type that best describes this case:
     Auto Tort                                                Contract                                      Provisionally Complex Civil Litigation
     D       Auto(22)                                         0       Breach of contract/warranty (06)      {Cal. Rules of Court, rules 3.400-3.403)

     D       Uninsured motorist (46)                          D       Rule 3.740 collections (09)           D      Antitrust/Trade regulation (03)
     Other Pl/PO/WO (Personal Injury/Property                 D       Other collections (09)                D Construction defect (10)
     Damage/Wrongful Death) Tort                              D       Insurance coverage (18)               D      Mass tort (40)
     D Asbestos (04)                               D Other contract (37)                                    D      Securities litigation (28)
     D Product liability (24)                      Real Property                                            D      Environmental/Toxic tort (30)
     D Medical malpractice (45)                    D Eminent     domain/Inverse                             D      Insurance coverage claims arising from the
     D Other Pl/PD/WO (23)                               condemnation (14)                                         above listed provisionally complex case
     Non.PI/PD/WD (Other) Tort                     D Wrongful eviction (33)                                        types (41)

     D Business tort/unfair business practice (07) D Other real property (26)                               Enforcement of Judgment

     D Civil rights (08)                           Unlawful Detainer                                        D Enforcement of judgment (20)
     D Defamation (13)                                        D       Commercial (31)                       Miscellaneous Civil Complaint
     D Fraud (16)                                             D       Residential (32)                      D      RIC0(27)
     D Intellectual property (19)                             D       Drugs (38)                            D      Other complaint (not specified above) (42)
     D Professional negligence (25)                           Judicial Review                               Miscellaneous Civil Petition
     D Other non-Pl/PDIWD tort (35)                           D      Asset forfeiture (05)
                                                                                                            D      Partnership and corporate governance (21)
     Employment                                               D     Petition re: arbitration award ( 11)
                                                                                                            D      Other petition (not specified above) (43)
     D Wrongful termination (36)                              D       Writ of mandate (02)
     D Other employment (15)                                  n       Other judicial review (39)
2. This case          LJ is            W
                                   is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
     a.   D Large number of separately represented parties                         d.   D Large number of witnesses
     b.D         Extensive motion practice raising difficult or novel              e.   D Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                                in other counties, states, or countries, or in a federal court
     c.   D Substantial amount of documentary evidence        D Substantial postjudgment judicial suparvision
                                                                                   f.

3. Remedies sought (check all that apply): a . 0 monetary b. D non monetary; declaratory or injunctive relief c. D punitive
4. Number of causes of action (specify):
5. This case          D
                     is         is not 0
                                                          3
                                        a class action suit.
6. If there are any known related cases, file and serve a notice of related case .. (You_,y ·""u~orm ~
                                                                                                       :Jff_                                                             BY FAY
Date: May 8, 2012                                                                                       ·                                   · /                          <-
William E. Shapiro                                                                                 /        __..--<..            ~       · '-~
                                   (TYPE OR PRINT NAME)
                                                                                NOTICE
  • Plaintiff must file this cover sheet with the fin:;t paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code. or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                         rs. e 1 of 2
Form Adopted lor Mandatory Use                                                                                           cal. Rules of Court. rules 2.30. 3.220. 3.◄ 00-3 .•03. 3.740:
  Judicial Council of Catifornla
                                                              CIVIL CASE COVER SHEET                                             Cal. Standards of Judicial Administration, sld. 3.10
   CM-010 (Rev. July 1. 2007)                                                                                                                                  www.courtinfo.ca.QOv


                                                                          Page -225-                                                                     Exhibit 12
Case 2:19-cv-06814-DSF-KS

                                                       •             Document 27-2 Filed 12/02/19
                                                                            ID #:811



  ATTORNEY OR l'ARTY WITHOUT ATTQRNEY (Name, S/ars Sar number, and addres,) :
                                                                                                                                      •
                                                                                                                                                  Page 234 of 290 Page




                                                                                                                                                              FOR COURT USE OHL Y
  William E. Shapiro (SBN 222615)
  LA w omcES OF WILLIAM E. SHAPIRO
  244 California St .. Ste 300
  San Francisco, CA 94111
           TELEPHONE NO: ( 415) 678-9209
  E-MAIL AOORESS (OpUor,aQ:
         ATTORNEY FOR (Name/:         Etronics, Inc.
                                                                             FAX NO. (Opl!On8Q.· ( 415) 358-8515
                                                                                                                                             FILED
                                                                                                                                           S11,. Francisco County Superior Cour,
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco
        STREET AOOREss· 400 McAllister St                                                                                                                     MAY - 8 2013
               MAILING ADDRESS:       Room I 03
              CITY AND ZIP cOOE:      San Francisco, CA 94102                                                                                   CLERK OF HiE COURT                                        ,. .
                   BRANCH i'IAME.     Unlimited Jurisdiction
                                                                                                                                            av:                DENNIS TOYAMA J
                                                                                                                                                                              Deputy Clerk
         PLAINTIFF: Etronics, Inc.

     DEFENDANT: Harrison Gcvirtz. Acme Logistics, fnc .

     0         DOES 1 TO_S0_ _ _ __

                                                           CONTRACT
     0         COMPLAINT                         LJ AMENDED COMPLAINT (Number):
     0        CROSS-COMPLAINT                    LJ AMENDED CROSS-COMPLAINT (Number):
     Jurisdiction (check all that apply):
                                                                                                                                          CASE NUMBER:
  LJ ACTION IS A LIMITED CIVIL CASE
     Amount demanded D does not exceed $10,000
                        D exceeds $10,000 but does not exceed $25,000                                                                CGC-13-531276
  0           ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
  0           ACTION IS RECLASSIFIED by this amended complaint or cross-complaint
              D from limited to unlimited
              D from unlimited to limited
1.       Plaintiff' (name or names):
         Etronics, Inc.
         alleges causes of action against defendant• (name or names):
         Harrison Gevirtz, Acme Logistics, Inc., and Does I to 50 inclusive
2.       This pleading, including attachments and exhibits, consists of the following number of pages:
3.       a. Each plaintiff named above is a competent adult
            0 except plaintiff (name): Etronics, Inc.
                 (1) 0 a corporation qualified to do business in California
                                                                                                                                                                BY FAX
                 (2) Dan unincorporated entity (describe) :
                 (3) Oother (specify):

         b. □ Plaintiff (name) :
            a. 0has complied with the fictitious business name laws and is doing business under the fictitious name (specify):

              b.   D     has complied with all licensing requirements as a licensed (specify):
         c.   D      Information about additional plaintiffs who are not competent adults is shown in Attachment 3c.
4.       a. Each defendant named above is a natural person
            0 except defendant (name): Acme Logistics, Inc.                                           D       except defendant (name):
                (1) 0   a business organization, form unknown                                                 (1)    D a business organization, form unknown
                (2)       D
                        a corporation                                                                         (2) D    a corporation
                (3) Dan unincorporated entity (describe):                                                     (3) CJ an unincorporated entity (describe):

                     (4) D          a public entity {describe):                                                (4)   D      a public entity (describe):

                    (5)   D         other (specify):                                                          (5)    D      other (specify):
                                           • If lh~ form 1s osed as a cross-complaml. P'ainlltf me~ns cross-complainant and defendant means cross-defendant                                P419e 1 of 2
 Form Apµtoved •or Oplional use
   Judicial Council of Californ;a                                                  COMPLAINT-Contract                                                                Corle ol c,vi Procedure. § 425. 12
PLO-C-001 {Rev . January 1, 2007]




                                                                                      Page -226-                                                                          Exhibit 12
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                                                                 ID #:812


                                                                                                                                        PLD-C-001
  SHORT TITLE:                                                                                                      CASE NUMBER:
  Etronics. Inc. v. Hanison Gevirl7~ el al.


4.     (Continued)
       b. The true names of defendants sued as Does are unknown to plaintiff.
          (1) 0    Doe defendants (specify Doe numbers): l to 24 inclusive             were the agents or employees of the named
                   defendants and acted within the scope of that agency or employment.
           (2) 0 Doe defendants (specify Doe numbers): 25 to 50 inclusive              are persons whose capacities are unknown to
                   plaintiff.
       c.   D Information about additional defendants who are not natural persons is contained in Attachment 4c.
       d.   D Defendants who are joined under Code of Civil Procedure section 382 are (names):

 5. D       Plaintiff is required to comply with a claims statute, and
            a.    D    has complied with applicable claims statutes, or
            b.    D    is excused from complying because (specify):



6. D        This action is subject to         D Civil Code section 1812.10 D Civil Code section 2984.4.
7. This court is the proper court because
      a. 0        a defendant entered into the contract here.
      b. 0        a,defendant lived here when the contract was entered into.
      c.    D     a defendant lives here now.
      d. 0        the contract was to be performed here.
      e. 0        a defendant is a corporation or unincorporated association and its principal place of business is here.
      f.    D     real property that is the subject of this action is located here.
      g.    D     other (specify):

8. The following causes of action are attached and the statements above apply to each (each complaint must have one or
      more causes of action attached):

      0      Breach of Contract
      0      Common Counts
      0      Other (specify):
             Fraud
9.    D         Other allegations:



10. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
       a. 0        damages of: $33,287.60
       b. 0        interest on the damages
                   (1) 0     according to proof
                   (2) D     at the rate of (specify):           percent per year from (date):
       c.   D      attorney's fees
                   (1)0 of: $
                   (2) D    according to proof.
       d. 0        other (specify):
                  Any further relief this Court deems appropriate.
11.   D         The paragraphs of this pleading alleged on information and belief are as follows (specify p         graph numbers):


Date:   ;W'o/ 8; ,t. 0/ :>
      W11.-t.-1AA £.      3H-Af'/£,{)
                             (TYPE OR PRINT NAME)
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                                                                                     ,?,        ✓"·.



                                               (If you wish to verify this pleading, affl   /;;,ification.)
PlO-C-001 !Rev. January 1. 2007)                                  COMPLAINT-Contract                                                      Pago 2 of 2




                                                                       Page -227-                                                  Exhibit 12
                                                                                                             •
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                                                                      ID #:813


                                                                                                                                           PLD-C-001(1)
                                                                                                            CASE NUMBER
 SHORT TITLE:

 Etronics, Inc. v. Harrison Gevirtz, et al.

                                                          CAUSE OF ACTION-Breach of Contract
                             (number)

              ATTACHMENT TO                     0        Complaint       O   Cross - Complaint
               (Use a separate cause of action form for each cause of action.)

              BC-1. Plaintiff (name):               Etronics, Inc.

                          alleges that on or about (date):           May 22, 2012
                          a       0
                                  written       oral D               D
                                                           other (specify):
                          agreement was made between (name parties to agreement):
                          Harrison Gevirtz and Acme Logistics, Inc.
                         D            A copy of the agreement is attached as Exhibit A, or
                         D            The essential terms of the agreement        D  are stated in Attachment BC-1          D   are as follows (specify):
                    Plaintiff Etronics, Inc., agreed to buy certain items through a purchase order arrangement from
                    defendants Harrison Gevirtz and Acme Logistics, Jnc. The purchase orders, 195342-A and
                    195636 (hereafter "purchase orders") are attached as Exhibit A to this complaint. Harrison
                    Gevirtz and Acme Logistics, Inc., required payment in advance for the items contained in the
                    purchase orders. Payment<; were made via check, number 63 76, on May 25, 2012 and two
                    checks, numbered 6470 and 6471, June 6, 2012.
              BC-2. On or about (dates) : September 20, 20 I 2
                          defendant breached the agreement by                D      the acts specified in Attachment BC-2   0      the following acts
                          (specify):
                          Defendants Harrison Gevirtz and Acme Logistics, Inc., failed to deliver the goods which
                          plaintiff Etronics, Inc., paid for pursuant to the purchase orders. On September 20, 2012,
                          Plaintiff Etronics cancelled the unfilled order and demanded a refund of their money.
                          Defendants Harrison Gevirtz and Acme Logistics, Inc., failed to return the money after
                          receiving written demand from the Plaintiff Etronics, Inc.
              BC-3. Plaintiff has performed all obligations to defendant except those obligations plaintiff was prevented or
                    excused from performing.

              BC-4. Plaintiff suffered damages legally (proximately) caused by defendant's breach of the agreement
                         D as stated in Attachment BC-4                      0
                                                                     as follows (specify):
                          Plaintiff has paid $33, 287.60 for goods which have not been delivered. Plaintiff is entitled to
                          money paid which has not been returned.




              BC-5.      D            Plaintiff is entitled to attorney fees by an agreement or a statute
                                        D      of$
                                        D      according to proof.
              BC-6.      0            Other:
                         Any further relief this Court deems proper.




                                                                                                                                                    ..,
                                                                                                                                Page _ _ _J_ __
                                                                                                                                                      Page 1 ol 1
  Form App-ovea ro, Optional Use                                                                                                 Code of Covil Procedure. § 4i~.12
   Judocial Council ol Cailomia
                                                         CAUSE OF ACTION-Breach of Contract                                                  www.courtmfo.ca.gov
PLO-C001(1) (Rev. January 1. 20071




                                                                             Page -228-                                               Exhibit 12
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                                                                                                                                                 PLD-C-001 (2)

  SHORT TITLE:                                                                                                          CASE NUMBER:
  Etronics, Inc. v. Harrison Gevirtz, et al.

            Two                                    CAUSE OF ACTION-Common Counts
                          (number)


            ATTACHMENT TO                    0   Complaint        D       Cross - Complaint

            (Use a separate cause of action form for each cause of action.)

            CC-1. Plaintiff (name): Etronics, Inc.

                     alleges that defendant (name) :            Harrison Gevirtz and Acme Logistics, Inc.
                     became indebted to               0       plaintiff     D    other (name):

                     a.      D         within the last four years
                                       ( 1)  D     on an open book account for money due.
                                       (2)   D     because an account was stated in writing by and between plaintiff and defendant in which it
                                                   was agreed that defendant was indebted to plaintiff.

                     b.      0         within the last    0    two years        D four years
                                       (1)   0     for money had and received by defendant for the use and benefit of plaintiff.
                                       (2)   D     for work, labor, services and materials rendered at the special instance and request of defendant
                                                   and for which defendant promised to pay plaintiff.
                                                  D     the sum of$
                                                  D     the reasonable value.
                                       (3)   D    for goods, wares, and merchandise sold and delivered to defendant and for which defendant
                                                  promised to pay plaintiff
                                                  D     the sum of$
                                                  D     the reasonable value.
                                       (4)   D    for money lent by plaintiff to defendant at defendant's request.
                                       (5)   D    for money paid, laid out, and expended to or for defendant at defendant"s special instance and
                                                  request.
                                       (6)   D    other (specify):




            CC-2. $33,287.60                                               . which is the reasonable value, is due and unpaid despite plaintitrs demand,
                     plus prejudgment interest                D       according to proof      D at the rate of         IO        percent per year
                     from (date):

           CC-3.      D          Plaintiff is entitled to attorney fees by an agreement or a statute
                                 D       of$
                                 D        according to proof.

           CC-4.      0          Other:
                                 Any further relief this Court deems appropriate.




                                                                                                                                  Page                  4
                                                                                                                                                            Pa o1 of1
  Form Approve~ for Opbonal Use                                                                                                     Code of 0'.lit Procedure.§ 425.12
    Judltial Council of CalKomla
                                                          CAUSE OF ACTION-Common Counts                                                           www.covr1info.ca.gov
PL.0-C-001(2) (Rev. January 1. 2009]




                                                                              Page -229-                                                   Exhibit 12
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                                                                                                                                              PLD-C-001 (3)
                                                                                                            CASE NUM6ER.
  SHORT TITLE:
  Etronics, Inc. v. Harrison Gevirtz, et al.
L--------------------------------'---------------
      Three                                                CAUSE OF ACTION-Fraud
                         (number)

      ATTACHMENT TO                     0      Complaint     D     Cross-Complaint

      (Use a separate cause of action form for each cause of action.)

      FR-1. Plaintiff (name):               Etronics, Inc.
               alleges that defendant (name):              Harrison Gevirtz and Acme Logistics, Inc.
               on or about (date): September 20, 2012                              defrauded plaintiff as follows:

      FR-2. 0             Intentional or Negligent Misrepresentation
                          a. Defendant made representations of material fact              D      as stated in Attachment FR-2.a          0         as follows:
                              Plaintiff entered into an agreement with Harrison Gevirtz and Acme Logistics, Inc. Plaintiff
                              was to pay $33,287.60 in return for items ordered in purchase orders 195342-A and 19563
                              (hereafter "purchase orders").




                         b. These representations were in fact false. The truth was            D      as stated in Attachment FR-2.b         D       as follows:
                              Defendants did not tulfill the orders as promised. When the purchase orders were cancelled,
                              the defendants retused to return the money to the plaintiff.




                         c. When defendant made the representations.
                             D    defendant knew they were false, or
                            0     defendant had no reasonable ground for believing the representations were true.

                         d. Defendant made the representations with the intent to defraud and induce plaintiff to act as described
                             in item FIR-5. At the time plaintiff acted, plaintiff did not know the representations were false and believed
                             they were true. Plaintiff acted in justifiable reliance upon the truth of the representations.


      FR-3.     D        Concealment
                         a. Defendant concealed or suppressed material facts               D       as stated in Attachment FR-3.a          D         asfollows:




                         b. Defendant concealed or suppressed material facts
                             D    defendant was bound to disclose.
                             D          by telling plaintiff other facts to mislead plaintiff and prevent plaintiff from discovering the concealed
                                        or suppressed facts.
                         c. Defendant concealed or suppressed these facts with the intent to defraud and induce plaintiff to act
                            as described in item IFIR-5. At the time plaintiff acted, plaintiff was unaware of the concealed or suppressed
                            facts and would not have taken the action if plaintiff had known the facts.
                                                                                                                                        Page            5

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   Fom, Approved fa, Opeionat Use                                                                                                   Code of Civil Procedure,§ 425.12
    Judicial Counol cl California                                CAUSE OF ACTION-Fraud                                                         ,vww.courttnlo ca.gov
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                                                                                                      CASE NUMBER:
                                                                                                                                      PLD-C-001 (3)

    SHORT TITLE:
     Etronics, Inc. v. Harrison Gcvirtz, et al.

       Three                                                 CAUSE OF ACTION-Fraud
                        (number)


       FR-4.     D        Promise Without Intent to Perform
                          a. Defendant made a promise about a material matter without any intention of performing it         D      as stated
                             in Attachment FR-4.a 0     as follows:
                               Defendants never intended to fulfill the order or return the money paid by the Plaintiff.




                       b. Defendant's promise without any intention of performance was made with the intenl to defraud and induce
                           plaintiff to rely upon it and to act as described in item FR-5. At the time plaintiff acted, plaintiff was unaware of
                           defendant's intention not to perform the promise. Plaintiff acted in justifiable reliance upon the promise.

       FR-5. In justifiable reliance upon defendant's conduct, plaintiff was induced to act         D      as stated in Attachment FR-5
             0 as follows:
                 The plaintiff sent three checks, totalling $33,287.60, to defendants Harrison Gevirtz and Acme
                 Logistics, Inc., in return for items ordered in the purchase orders.




       FR-6. Because of plaintiffs reliance upon defendant's conduct, plaintiff has been damaged              CJ as stated in
             Attachment FR- 6     0 as follows:
                 Plaintiff has paid $33,287.60. Plaintiff did not recieve the items ordered in the purchase orders.
                 When the purchase orders were cancelled, defendants, Harrison Gevirtz and Acme Logistics. Inc ..
                 did not refund the money after the cancellation of the contract.




       FIR - 7. Other:
                 Any further relief this Court deems appropriate.




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Pl.O-C-001 i3) (Rev. January 1, 2007                                                                                                         P•go 2 of2
                                                           CAUSE OF ACTION-Fraud



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                                 EXHIBIT A




                                  Page -232-                         Exhibit 12
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                                                   •            Document 27-2 Filed 12/02/19
                                                                       ID #:818

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                                                                                      Purchase Order 195342-A

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                                                                                      Vendor ACME
   For asslst:ance. vis~ www..etronics.com/help
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  i:!16 Maspetr'I Avenue. Brooklyn. NV mm Fax., 212-"75.3904                                                                                            WH1
  Vendor:                                                                                Ship To:
       ACME Logistics Inc                                                                 Etronics
       680 Mission Street Apt. 40C                                                        216 Maspeth Ave
       San Francisco, CA 94105                                                            Brooklyn, NY 11211




                                                         THIS IS A REVISED PURCHASE ORDER


    P. 0. Date I                   ShioVia                  I                F.O.B.            I                    Terms
    05/22/12       I                                        I                                  I                    C.0.0.
  Buver f            Freioht             I Rea. Oatel                   ConlirmmoTo                 I              Remarks                I Tax
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              40 LUNPMBLK021               LunaTlk PMBLK-021 Alloy Pen/Stylus BLACK                                   23.00              920.00
                  IDIIIIIIIIDl!IIIIIIIIIIIBDIB                    ,...,.p,c•....
              40 LUNPMSLV020               LunaTik PMSLV-020 Alloy Pen/Stylus. Silver                                 23.00              920.00
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              40 LUNPMREO022               LunaTik PMRED022 Alloy Pen/Stylus • RED                                    23.00              920.00
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                                                                                            Total Order                               :-:168"f.60


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                                                                                            Purchase Order 195636
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  Plugged Into the Warld of Electronics
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                                                                                            Vendor ACME
  For assistance, visit: www..etronics.com/help
        Cusa>mer Servrce.                           S<1les.
        ,...,v1cc@ecran1cs.com                      Sctes@ct:rontcr;.com


 216 Maspem Avenue. Brooklyn. NY 11211 Fi>X: 212A75.39CH                                                                                                WH1
  Vendor:                                                                                      Ship To:

   ACME Logistics Inc                                                                           Eironics
   680 Mission Street Apt. 40C                                                                  216 Maspeth Ave
   San Francisco, CA 94105                                                                      Brooklyn, NY 11211




    P.O. Dale      I                    ShiPVta                  I                 F.0.8.            I                    Terms
    05/29/12       I                                             !                                   I                    C.0.0
  Buver I              Freiahl              I Rea. Date I                  Confirmino To                  I              Remarks                 IT.ix
   MB     I                                 I 05/29/12 I                                                  I                                      IN
        Qty. Req. IItem Number               IDescription                                                                Unit Price     Extended Price
               200 LUNTTBLK001A               LunaTik BLK001A (00301) TikTok Watch for iPod Nano 6                          23.10              4620.00
                   IIM1111!HliJIIIIIIUIIDIIIIIEIIE                     *"*PIC",..

               100 LUNTTWHT006                LunaTik (00306) TikTok Watch for iPod Nano 6G WHITE                           23.10              2310.00
                   l■H1111Bfflllllllllllll!DUIII                       .... PIC"   0




                50 IWACLRCHR22B               iWatchz CLRCHR22BLK (01678) for iPOd Nano 6G, Black                           13.50               675.00
                  lllllmlllfDDIIIIIUIIIIIIIHJ!lllllllllflllll          ....PIG,..*

              1000 OTTSAM41910020 Otterbox SAM4!910020E4OTR Commuter Samsung Galaxy                                         12.00            12000.00
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               100 SON12546627                Sony Ericsson 1254-6627 SMARTWATCH BLACK for                                  96.50             9650.00
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                        IN THE CIRCUIT COURT OF COOK COUNTY
                       COUNTY DEPARTMENT, CHANCERY DIVISION

  RONAN PETILLON, individually and as the    )                           2013CH10379
                                             )
  representative of a class of similarly situated                        CALENDAR/ROOM 1.S
  persons,                                   )                           TIME S:::H): 00
                                             )                 No.       Cl.3-ss fk:t ion
                  Plaintiff,                 )
                                             )
                          v.                 )
                                             )
  RY AN EAGLE, an individual, HARRISON       )
  DONALD GEVIRTZ, an individual, EAGLE       )
  WEB ASSETS PRIVATE NETWORK, an Illinois )                                     .. Il
  partnership, EAGLE WEB ASSETS, INC., an    )
  Illinois corporation and EWA NETWORK INC., )
  an Illinois corporation,                   )
                                             )
                  Defendant.                 )

              PLAINTIFF'S COMPLAINT FOR CLASS ACTION CERTIFfftlTION, :·.,
                            DAMAGES AND OTHER RELIEF         x   ~-    ·'

         Plaintiff, RONAN PETILLON ("Plaintiff'), through his attorneys, brings this action

  individually and as the representative of a class of similarly situated persons, and for his

  Complaint against Defendants RYAN EAGLE, HARRISON DONALD GEVIRTZ, EAGLE

  WEB ASSETS PRIVATE NETWORK, EAGLE WEB ASSETS, INC. and EWA NETWORK

  INC., alleges as follows:

                                     NATURE OF THE CASE

         1.      This action seeks class certification, damages and equitable relief arising from the

 Defendants' operation of an affiliate marketing network known as EWA Private Network and

 failure to pay commissions earned by its affiliate marketers, such as Plaintiff, who promoted the

 products and services of the Defendants' clients through the EWA Private Network.                In

 furtherance of these wrongs, Defendants engaged in fraudulent practices designed to conceal the




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  Defendant entities' undercapitalization and massive losses, all to the detriment of the affiliate

  marketers, who unknowingly continued to promote the products and services on the false belief

  that Defendants had the financial ability to pay for their services.

         2.      To redress these wrongs, Plaintiff asserts one or more of the following claims

  against the Defendants: Piercing the Corporate Veil (Count I); Partner Liability (Count 11);

  Common Law Fraud (Count 111); Promissory Fraud (Count IV); Conversion (Count V); Breach

  of Contract (Count VI); Breach of Contract Implied in Fact (Count VII); Promissory Estoppel

  (Count VIII); Unjust Enrichment (Count IX); and Imposition of Constructive Trust (Count X).

                                               PARTIES

         3.      Plaintiff, RONAN PETILLON, is an individual who, at all relevant times, was a

 citizen of France and resident of Orsay, France.

         4.      Defendant, RYAN EAGLE ("EAGLE"), is an individual who resides in Buffalo

 Grove, Cook County, Illinois. EAGLE is sued in his individual capacity and as a partner in

 Defendant EAGLE WEB ASSETS PRIVATE NETWORK ("EWAPN"), an Illinois partnership.

 At all relevant times, EAGLE was a managing partner and/or general partner ofEWAPN.

         5.     Defendant, HARRISON DONALD GEVIRTZ ("GEVIRTZ"), is an individual

 who resides in San Francisco, California. GEVIRTZ is sued in his individual capacity and as a

 partner in EWAPN. At all relevant times, GEVIRTZ was a managing partner and/or general

 partner of EWAPN.

        6.      On information and belief, Defendant EAGLE WEB ASSETS PRIVATE

 NETWORK ("EWAPN") is an Illinois partnership formed by EAGLE and GEVIRTZ by no

 later than early 2009. At all relevant times, EWAPN has maintained an office in, and has done

 business in, Cook County, Illinois.

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         7.     Defendant EWA NETWORK INC. ("ENI") is an Illinois corporation.               At all

  relevant times, ENI maintained a registered office in, and has done business in, Cook County,

 Illinois. At all relevant times, EAGLE was the founder, President, Secretary and sole director of

 ENI. On information and belief, at all relevant times, EAGLE and/or GEVIRTZ directed and

 controlled the operations of ENI, and both held themselves out to Plaintiff and the general public

 as the "Managing Partners" of ENI.

         8.     Defendant EAGLE WEB ASSETS, INC. ("EWA") is an Illinois corporation. At

 all relevant times, EWA maintained a registered office in, and has done business in, Cook

 County, Illinois. At all relevant times, EAGLE was the founder, President, Secretary and sole

 director of EWA. On information and belief, at all relevant times, EAGLE and/or GEVIRTZ

 directed and controlled the operations of EWA, and both held themselves out to Plaintiff and the

 general public as the "Managing Partners" of EWA.

                                 JURISDICTION AND VENUE

        9.      Jurisdiction is proper as to all Defendants pursuant to one or more of the

 following laws: 735 ILCS 5/2-209(a)(l), (a)(2), (a)(7), and (a)(12); 735 ILCS 5/2-209(b)(l),

 (b)(2), (b)(3) and (b)(4); and 735 ILCS 5/2-209(c).

        10.     Venue is proper in this Court pursuant to 735 ILCS 5/2-101 and 735 ILCS 5/2-

 102.

                                             FACTS

                                       Affiliate Marketing

        11.    At all relevant times, Plaintiff was an affiliate marketer who promoted the

products and services of the Defendants' clients through an affiliate marketing network called

EWA Private Network.

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         12.      Affiliate marketing is a term generally used to describe an advertising program or

 campaign in which advertisers use an affiliate network, such as the Defendants' EWA Private

 Network, to market their products or services more widely than through traditional means. The

 network relies on the services of third party affiliate marketers (e.g., publishers), such as

 Plaintiff, who agree to display and distribute advertising creatives, including, but not limited to,

 e-mails, web sites, links and banner advertisements for the advertisers on the publishers' own

 websites or on other Internet sites, such as Facebook.

        13.      The affiliate network's third party marketers generally are paid a referral fee or

 commission depending on the terms and conditions of each advertiser's particular advertising

 campaign. For example, some affiliate marketers are entitled to a commission each time a

 consumer clicks on a banner advertisement for an advertiser (e.g., pay-per-click). Others are

 entitled to a commission only if the consumer clicks on a banner advertisement and purchases

 the advertiser's product or services after clicking on the banner advertisement (pay-per-lead or

pay-per-sale).

                         Eagle Web Assets Private Network Partnership

        14.      In or about early 2009, EAGLE and GEVIRTZ formed a joint venture or

partnership known as EWAPN to own and operate a new affiliate marketing network known as

EWA Private Network.

        15.      On information and belief, at all relevant times since at least early 2009, EAGLE

and GEVIRTZ manifested an intent to be associated as joint venturers or partners in connection

with the EWA Private Network by, inter alia, making, authorizing, consenting to and/or ratifying

statements to that effect to the general public, on one or more websites related to EWA Private



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 Network, such as www.eaglewebassets.com, and on their own personal biography pages on said

 websites.

         16.    On information and belief, EAGLE and GEVIRTZ contributed property, effort,

 skill, and/or knowledge to EW APN and the EWA Private Network.

         17.    At all relevant times, EAGLE and GEVIRTZ directed and controlled the

 operations of EWAPN and the EWA Private Network, and each held himself out to each other,

 the Plaintiff and the general public as a general partner and/or "Managing Partner" of EW APN

 and/or EWA Private Network.

        18.    On information and belief, EAGLE and GEVIRTZ made provision for the joint

 sharing of profits and losses associated with EWAPN and/or EWA Private Network.

        19.    At all relevant times, Defendants represented to Plaintiff and the general public

 that the EWA Private Network is organized globally with offices spread across the world.

        20.    At all relevant times, Defendants represented to Plaintiff and the general public

that the EWA Private Network allows advertisers to gain access to thousands of third party

affiliate marketers (e.g., publishers) that reach over 125 million consumers per month, both

domestically and internationally.

       21.     At all relevant times, Defendants represented to Plaintiff and the general public

that its clients included advertisers such as Disney, Ford Motor Company, Mobil, FTD, Netflix,

dating websites such as www.match.com, and www.eHarmony.com, universities such as

University of Phoenix, financial institutions such as Chase, gaming companies, and health care

companies such as Pfizer and Abbott Laboratories.




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                        Plaintiff's Services for the EWA Private Network

         22.     At all relevant times, EAGLE and GEVIRTZ directed and controlled the

 recruitment and enlistment of third party affiliate marketers for the EWA Private Network and

 made financial decisions related thereto, such as whether to pay affiliate marketers their

 commissions.

         23.    On or about October 22, 2009, Plaintiff contacted EAGLE via e-mail and

 requested to join EWA Private Network as an affiliate marketer.

        24.     On or about October 24, 2009, EAGLE authorized Plaintiff to submit an

 application to become an affiliate marketer in the EWA Private Network and sent him a link to

 sign up at http://www.ewanetwork.com/join.

        25.     On or about October 26, 2009, Plaintiff submitted his application to the

Defendants to become an affiliate marketer in the EWA Private Network.

        26.     On or about October 26, 2009, Plaintiff received an email from "EWA Private

Network <noreply@ewanetwork.com>" containing a message from EAGLE and GEVIRTZ

stating that Plaintiffs "application to EWA Private Network has been received!"

        27.     On or about November 2, 2009, Plaintiff received an email from "EWA Private

Network <noreply@ewanetwork.com>" containing a message from EAGLE and GEVIRTZ

stating, in part, "Your application has been approved for EWA Private Network!" The email

also stated that Plaintiff would be paid for his work as an affiliate marketer "weekly from day 1,

with no threshold."

       28.      Prior to becoming an affiliate marketer for Defendants, the Defendants falsely

represented to Plaintiff and other affiliate marketers that EWA Private Network pays affiliates

"more" and "quicker" than other affiliate networks, and that it "pay[s] on time to all affiliates."

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        29.     At all relevant times, Defendants published information on their Internet-based

 dashboard identifying the advertising campaigns that could be promoted by its affiliate

 marketers, such as Plaintiff, in the EWA Private Network. This information could be accessed

 by the affiliate marketers through the use of a Login code and password. The dashboard would

 provide ad content for each advertiser's particular campaign, as well as specific commission

 rates that would be paid to the affiliate marketer, through the Defendants, for successfully

 promoting a particular advertiser's campaign.

        30.     At all relevant times, Defendants also published payment terms on their website

stating how quickly their affiliate marketers would be paid commissions for working on a

campaign. These payment tenns changed from time to time, however, under all circumstances,

payment was to be made by the Defendants to the affiliate marketers by no later than 30 days

after successfully working on a campaign, such as by referring a sale to Defendants' clients.

        31.    Plaintiff performed valuable services as an affiliate marketer for the Defendants'

and their advertising clients on a regular basis from November 2009 through January 2013.

       32.     At all relevant times, Defendants compiled data in a real-time report that was

tailored to each of the affiliate marketers, such as Plaintiff, and that was available on the

Defendants' Internet dashboard (the "Data Report"). The Data Report would reflect, inter alia,

the specific advertising campaigns that each affiliate marketer worked on and the commissions

earned and owed to the affiliate marketers, such as Plaintiff.

       33.     From November 2009 through January 2013, Plaintiff earned, and is owed,

commissions totaling $31,608.73 from the Defendants for his services as an affiliate marketer in

the EWA Private Network. A true and accurate copy of the Data Report reflecting commissions

earned by Plaintiff as part of the EWA Private Network is attached hereto as Exhibit A.

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         34.     Defendants never paid Plaintiff any commissions for any of the services he

 provided as an affiliate marketer in the Defendants' EWA Private Network.

         35.     Defendants never claimed that Plaintiff failed to perform any aspect of the

 affiliate marketing services for the Defendants or their advertising clients.

         36.     On information and belief, there were thousands of other affiliate marketers in the

 EWA Private Network, and many of them were not paid in full by the Defendants for their

 services.

                    EAGLE and GEVIRTZ Used the Defendant Entities to
                 Avoid Personal Liability and Defraud The Affiliate Marketers

        37.     On information and belief, at all relevant times, EAGLE and GEVIRTZ treated

 and operated EW APN, EWA and ENI as a single enterprise in furtherance of the EWA Private

 Network and as mere fa9ades in order to avoid their own personal liability.

        38.     For example, at all relevant times, EAGLE and GEVIRTZ represented to the

 Plaintiff and the general public that the EWA Private Network was not only a partnership

 between them, but that it was also owned and/or operated by EWA and/or ENI.              Likewise,

 EAGLE and GEVIRTZ also represented to the Plaintiff and the general public that they were

 each a "Managing Partner" of EWA and/or ENI in relation to EWA Private Network.

        39.     Upholding the separate corporate existences of EW APN, EWA and ENI would

have the effect of encouraging fraud, promoting injustice and/or promoting the inequitable

consequence of allowing the Defendant entities, EAGLE and GEVIRTZ to avoid their payment

obligations to their affiliate marketers, such as Plaintiff.

       40.     The aforementioned acts and omissions effectively created a unity of interest and

ownership between EAGLE and GEVIRTZ and the Defendant entities such that any separate


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 personalities between EAGLE and GEVIRTZ and the Defendant entities no longer existed. As

 such, the Defendant entities were the alter egos of EAGLE and GEVIRTZ.

         41.     On information and belief, at all relevant times, the Defendant entities were

 inadequately capitalized and insolvent or effectively insolvent.

         42.     On information and belief, at all relevant times, EAGLE and/or GEVIRTZ failed

 to put at risk unencumbered capital reasonably adequate to address the prospective liabilities of

 EWAPN, EWA and ENI, especially in comparison to the volume of business seemingly

 generated by the affiliate marketers in the EWA Private Network.

        43.     At all relevant times, the Defendants had knowledge of the past, current and

 projected financial condition of EWAPN, EWA and ENI, including the Defendants' inability to

 pay commissions to their affiliate marketers, and the Defendants' concealed that information

 from Plaintiff and other affiliate marketers.

        44.     At all relevant times from at least early 2012 to February 15, 2013, EAGLE,

GEVIR TZ and the Defendant entities engaged in a scheme to defraud affiliate marketers, such as

Plaintiff, to continue providing affiliate marketing services despite the fact that the Defendant

entities were inadequately capitalized, were either insolvent or effectively insolvent, and were

unable to pay commissions earned by their affiliate marketers, such as Plaintiff.

        45.     In furtherance of their scheme to defraud, at all relevant times from at least

February 2012 through February 15, 2013, the Defendants intentionally concealed from Plaintiff

and other affiliate marketers that EWAPN, EWA and ENI had been incurring massive losses and

that the Defendants had been seeking outside investors to resolve the staggering debt issues they

were facing.



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         46.    In furtherance of their scheme to defraud, starting no later than June 7, 2012, the

 Defendants falsely and repeatedly represented to the Plaintiff and the general public that EWA

 Private Network was a "debt free" internet advertising company.

        47.     In furtherance of their scheme to defraud, on several occasions in 2012 and in

 early 2013, at the direction of EAGLE and/or GEVIRTZ, employees of one or more of the

 Defendant entities falsely represented to Plaintiff that past due commission payments would be

 made if he agreed to push more Internet traffic on behalf of the Defendants' advertising clients.

        48.     In furtherance of their scheme to defraud, on or about January 17, 2013, EAGLE

 sent Plaintiff an e-mail and falsely represented to Plaintiff that Defendants "now have the ability

 to pay daily (or 2x a week)" and that "[t]his should be a quick way to resolve the outstanding[]"

 amount owed to Plaintiff.

        49.    On or about February 15, 2013, EAGLE sent an email to all of its affiliate

 marketers, including Plaintiff, stating that EWA Private Network had "incurred massive losses"

and that EAGLE had "spent upwards of a year seeking individuals and companies to invest into

EWA" but that no such investor could be found. EAGLE also stated to all affiliates that "[ w ]e

have decided that it's time to close our doors while we continue to seek a new investor to take

over the company. Meanwhile, we will be ... liquidating our receivables and sell [sic] our

assets in a way to repay outstanding payables."

       50.     On or about February 15, 2013, EAGLE sent an email to all of its affiliate

marketers, including Plaintiff, stating that as of March 1, 2013, EWA would be pausing all traffic

to EWA publishers, such as Plaintiff.




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          51.     On information and belief, the Defendants have continued to operate the EWA

  Private Network since February 15, 2013, including the acceptance of new affiliate marketers

  into the EWA Private Network.

                              Class Allegations Common to All Counts

          52.    A class action is warranted on the claims in this Complaint because, on

  information and belief, the class is so numerous that joinder of all members is impracticable.

          53.    Plaintiff will fairly and adequately protect the interests of other class members.

  Plaintifrs counsel are experienced in handling class actions, claims involving civil fraud and

  complex commercial litigation. Neither Plaintiff nor Plaintiffs counsel has any interests adverse

  to, or in conflict with, the absent class members.

         54.     A class action is an appropriate method for adjudicating this controversy fairly

  and efficiently. The interest of each individual class member in controlling the prosecution of

  separate claims is small and individual actions are not economically feasible.



                                              COUNTI

                              PIERCING THE CORPORATE VEIL

                                      (Against all Defendants)

         55.     Plaintiff realleges and incorporates by reference paragraphs 1-54 as if set forth

 fully herein.

         56.     Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

 the following class of persons:




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                     A.      All persons who (a) rendered affiliate marketing services through
                             the EWA Private Network and (b) within five years prior to the
                             filing of this action did not receive payment of all commissions
                             earned.

             57.     A class action is warranted on this claim because there are questions of law or fact

      common to the class predominating over questions affecting only individual class members,

      including, without limitation:

                     A.     Whether EAGLE and GEVIRTZ treated and operated EW APN, EWA and
                            ENI as a single enterprise in furtherance of the EWA Private Network and
                            as mere fa9ades in order to avoid their own personal liability;

                     B.     Whether the Defendant entities were inadequately capitalized and
                            insolvent or effectively insolvent;

                     C.     Whether EAGLE and/or GEVIRTZ failed to put at risk unencumbered
                            capital reasonably adequate to address the prospective liabilities of
                            EWAPN, EWA and ENI;

                    D.      Whether the Defendants engaged in a scheme to defraud the affiliate
                            marketers in the EWA Private Network; and,

                    E.      Whether the corporate veil of the Defendant entities should be pierced to
                            impose personal liability on EAGLE and GEVIRTZ.


             58.    At all relevant times, EW APN, EWA and ENI were controlled by EAGLE and

      GEVIRTZ and there was such a unity of interest and ownership between EAGLE and

     GEVIRTZ, on the one hand, and EW APN, EWA and ENI on the other hand, that any separate

     personalities between EAGLE and GEVIRTZ and the Defendant entities no longer existed. As

     such, EWAPN, EWA and ENI were the alter egos of EAGLE and GEVIRTZ.

            59.     Upholding the separate corporate existence of EWA and ENI would sanction a

     fraud and/or promote injustice.




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             60.    By virtue of the aforementioned acts and omissions, this Court should disregard

  and pierce the corporate veil of EW APN, EWA and ENI and impose personal liability on

  EAGLE and GEVIRTZ for all claims asserted in this Complaint.

            61.     Absent this relief, the Defendants will have been allowed to perpetrated a fraud

  and other illegal acts on the Plaintiff and all other unpaid affiliate marketers that provided

  services to the Defendants.

            WHEREFORE, the Plaintiff, individually and on behalf of a class of all other similarly

  situated persons, prays for entry of an order and judgment piercing the corporate veil of

  EWAPN, EWA and ENI and imposing personal liability on Defendants RYAN EAGLE and

  HARRISON DONALD GEVIRTZ for compensatory damages, punitive damages, prejudgment

  interest and post-judgment interest and allowable costs in connection with all claims asserted in

  this Complaint, and for such other and further relief as this honorable Court deems just and

  proper.




                                              COUNT II

                                       PARTNER LIABILITY

                                   (Against EAGLE and GEVIRTZ)

            62.    Plaintiff realleges and incorporates by reference paragraphs 1-61 as if set forth

 fully herein.

        63.        Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

 the following class of persons:




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                 A.      All persons who (a) rendered affiliate marketing services through
                         the EWA Private Network and (b) within five years prior to the
                         filing of this action did not receive payment of all commissions
                         earned.

          64.    A class action is warranted on this claim because there are questions of law or fact

  common to the class predominating over questions affecting only individual class members,

  including, without limitation:

                 A.     Whether EAGLE and GEVIRTZ formed a partnership to operate the EWA
                        Private Network;

                 B.     Whether EAGLE and GEVIRTZ, by words or conduct, held themselves
                        out to be partners of each other in EW APN and the operation of the EWA
                        Private Network;

                 C.     Whether EAGLE and GEVIRTZ consented to being represented by each
                        other, EW APN, EWA and ENI as partners in EW APN and the operation
                        of the EWA Private Network;

                 D.     Whether the representations that EAGLE and GEVIRTZ were partners in
                        relation EW APN and the EWA Private Network were made in a public
                        manner with the consent or acquiescence of EAGLE and GEVIRTZ; and,

                E.      Whether EAGLE and GEVIRTZ should be held personally liable to the
                        Plaintiff and the class as partners of EW APN and the EWA Private
                        Network.

         65.    Pursuant to Section 306 of the Uniform Partnership Act (1997), 805 ILCS

  206/306, EAGLE and GEVIRTZ, as partners in EWAPN and the operation of the EWA Private

  Network, are jointly and severally liable for all obligations of EWAPN to the Plaintiff in

  connection with his participation in the EWA Private Network.

         66.    Pleading in the alternative, pursuant to Section 308 of the Uniform Partnership

  Act (1997), 805 ILCS 206/308, EAGLE and GEVIRTZ are also liable as partners of EWAPN

 and in connection with the operation of the EWA Private Network under a theory of apparent

 partnership or partnership by estoppel.

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          67.    EAGLE and GEVIRTZ, by words or conduct to Plaintiff, purported to be partners

   of each other in EWAPN and the operation of the EWA Private Network. Therefore, EAGLE

  and GEVIRTZ are jointly and severally liable to Plaintiff because Plaintiff relied on that

  representation in deciding to join the EWA Private Network and in deciding to continue

  providing affiliate marketing services on behalf of the Defendants' clients.

          68.    Likewise, EAGLE and GEVIRTZ consented to being represented by each other,

  EWAPN, EWA and ENI as partners in EWAPN and the operation of the EWA Private Network.

  Therefore, EAGLE and GEVIRTZ are jointly and severally liable to Plaintiff because Plaintiff

  relied on that representation in deciding to join the EWA Private Network and continuing to

  provide affiliate marketing services on behalf of the Defendants' clients.

         69.     The representations that EAGLE and GEVIRTZ were partners m relation

  EWAPN and the EWA Private Network also were made in a public manner with the consent or

  acquiescence of EAGLE and GEVIRTZ, for example, on websites and biogs controlled by

  EAGLE and GEVIRTZ, including www.eaglewebassets.com and on their personal biography

  pages on said websites.

         70.    The Defendants all consented to, and promoted, the representation that EAGLE

  and GEVIRTZ were partners in EWAPN and the EWA Private Network.

         71.    By virtue of the aforementioned acts, this Court should enter judgment against

  EAGLE and GEVIRTZ, jointly and severally, as partners in EWAPN and in connection with the

 operation of the EWA Private Network in Plaintiff's favor on all claims asserted in this

 Complaint against EWAPN.




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          WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

  all other similarly situated persons, prays that the Court enter a judgment in his favor and against

  Defendants EAGLE and GEVIRTZ, jointly and severally, as partners in EWAPN and in

  connection with the operation of the EWA Private Network on all claims asserted against

  EW APN in this Complaint, as follows:

                 A.     Certifying that the present case may be properly maintained as a class
                        action, appointing Plaintiff RONAN PETILLON as the representative of
                        the class, and appointing Plaintiff's counsel as counsel for the class;

                 B.     Awarding compensatory damages;

                 C.     Awarding punitive damages;

                 D.     Awarding prejudgment interest;

                 E.     Awarding such other and further relief as this honorable Court deems just
                        and proper.


                                            COUNT III

                                    COMMON LAW FRAUD

                                     (Against All Defendants)

         72.     Plaintiff realleges and incorporates by reference paragraphs 1-71 as if set forth

 fully herein.

         73.     Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

 the following class of persons:

                 A.     All persons who (a) rendered affiliate marketing services through
                        the EWA Private Network and (b) within five years prior to the
                        filing of this action did not receive payment of all commissions
                        earned.




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          74.     A class action is warranted on this claim because there are questions oflaw or fact

  common to the class predominating over questions affecting only individual class members,

  including, without limitation:

                 A.      Whether the Defendants concealed from the class that EWAPN, EWA
                         and/or ENI were inadequately capitalized and unable to make commission
                         payments to the affiliate marketers;

                 B.      Whether the Defendants falsely represented to the class that the company
                         operating the EWA Private Network was a "debt free" company;

                 C.      Whether the Defendants concealed from the class that EW APN, EWA and
                         ENI had been incurring massive losses from early 2012 through February
                         2013;

                 D.      Whether the Defendants concealed from the class for over one year that
                         Defendants had been seeking outside investors to resolve the staggering
                         debt issues they were facing since at least early 2012;

                 E.      Whether the Defendants falsely represented to the class that they had a
                         present ability to pay the class if the class members continued to drive
                         more traffic through the EWA Private Network; and,

                 F.      Whether the class relied on the false representations and/or concealment of
                         material facts by the Defendants by continuing to provide affiliate
                         marketing services to the Defendants.


         75.     Defendants made one or more false statements of material fact to, or concealed

 certain material facts from, Plaintiff.

         76.    Defendants knew or should have known that their statements were false or were

 made with reckless disregard for their truth or falsity, and/or that their concealment of certain

 facts were material to the Plaintiff

        77.     Defendants intended for the Plaintiff to rely on the false statements of material

 fact and/or concealment of material facts, and the Plaintiff did in fact rely on them, causing the

 Plaintiff significant damages.

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          78.     Defendants knowingly participated in, and received and retained benefits from,

  the aforementioned fraudulent conduct, and are thus liable for the fraud.

          79.     To the extent that the Defendants' conduct was willful and wanton, and in utter

  disregard of the rights and interests of Plaintiff, Plaintiff is entitled to an award of punitive

  damages to deter the Defendants from engaging in similar conduct in the future

          WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

  all other similarly situated persons, prays that the Court enter a judgment in his favor and against

  the Defendants RYAN EAGLE, HARRISON DONALD GEVIRTZ, EAGLE WEB ASSETS

  PRIVATE NETWORK, EWA and ENI as follows:

                 A.      Certifying that the present case may be properly maintained as a class
                         action, appointing Plaintiff RONAN PETILLON as the representative of
                         the class, and appointing Plaintiff's counsel as counsel for the class;

                 B.     A warding compensatory damages;

                 C.     Awarding punitive damages;

                 D.     Awarding prejudgment interest;

                 E.     Awarding such other and further relief as this honorable Court deems just
                        and proper.



                                            COUNTIV

                                     PROMISSORY FRAUD

                                     (Against All Defendants)

         80.     Plaintiff realleges and incorporates by reference paragraphs 1-71 as if set forth

 fully herein.




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          81.    Pursuant to 73 5 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

  the following class of persons:

                 A.      All persons who (a) rendered affiliate marketing services through
                         the EWA Private Network and (b) within five years prior to the
                         filing of this action did not receive payment of all commissions
                         earned.

         82.     A class action is warranted on this claim because there are questions of law or fact

  common to the class predominating over questions affecting only individual class members,

  including, without limitation:

                 A.     Whether the Defendants engaged in a scheme to defraud the class into
                        continuing to provide affiliate marketing services despite the fact that the
                        Defendant entities were inadequately capitalized, were either insolvent or
                        effectively insolvent, and were unable to pay commissions earned by their
                        affiliate marketers;

                 B.     Whether the Defendants concealed from the class that EWAPN, EWA
                        and/or ENI were inadequately capitalized and unable to make commission
                        payments to the affiliate marketers;

                 C.     Whether the Defendants falsely represented to the class that the company
                        operating the EWA Private Network was a "debt free" company;

                D.      Whether the Defendants concealed from the class that EW APN, EWA and
                        ENI had been incurring massive losses from early 2012 through February
                        2013;

                E.      Whether the Defendants concealed from the class for over one year that
                        Defendants had been seeking outside investors to resolve the staggering
                        debt issues they were facing since at least early 2012;

                F.      Whether the Defendants falsely represented to the class that they had a
                        present ability to pay the class if the class members continued to drive
                        more traffic through the EWA Private Network; and,

                G.      Whether the class relied on the false representations and/or concealment of
                        material facts by the Defendants by continuing to provide affiliate
                        marketing services to the Defendants.



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           83.    At all relevant times from at least early 2012 to February 15, 2013, EAGLE,

  GEVIRTZ and the Defendant entities engaged in a scheme to defraud affiliate marketers, such as

  Plaintiff, to continue providing affiliate marketing services for the Defendants' clients despite the

  fact that the Defendant entities were inadequately capitalized, were either insolvent or effectively

  insolvent, and were unable to pay commissions earned by their affiliate marketers, such as

  Plaintiff.

          84.     In furtherance of this scheme to defraud, the Defendants made one or more false

  and material statements of fact or promises that they never intended to keep, or concealed

  material information from Plaintiff when they were under a duty to speak, and intended for

  Plaintiff rely on their false promises and lies.

          85.    The Defendants knew or believed that their statements were false, or the

  statements were made with a reckless disregard of whether they were true or false.

          86.    Plaintiff reasonably believed, and justifiably relied upon, the Defendants' lies by,

  inter alia, continuing to participate in the EWA Private Network and driving more traffic

  through the EWA Private Network for Defendants' advertising clients. Had the Plaintiff known

 that the Defendants were lying to him, he would not have continued providing services through

 the EWA Private Network.

         87.     Defendants' conduct proximately caused Plaintiff to suffer damages.

         88.     At all relevant times, EAGLE and GEVIRTZ were managing partners, officers

 and/or directors of EWAPN, EWA and ENI that directed, orchestrated and/or actively

 participated in the aforementioned acts and/or omissions. Accordingly, they are individually

 liable to Plaintiff for their acts and omissions.



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          89.     To the extent that the Defendants' conduct was willful and wanton, and in utter

  disregard of the rights and interests of Plaintiff, Plaintiff is entitled to an award of punitive

  damages to deter the Defendants from engaging in similar conduct in the future.

          WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

  all other similarly situated persons, prays that the Court enter a judgment in his favor and against

  the Defendants RYAN EAGLE, HARRISON DONALD GEVIRTZ, EAGLE WEB ASSETS

  PRIVATE NETWORK, EWA and ENI as follows:

                 A.     Certifying that the present case may be properly maintained as a class
                        action, appointing Plaintiff RONAN PETILLON as the representative of
                        the class, and appointing Plaintiffs counsel as counsel for the class;

                 B.     Awarding compensatory damages;

                 C.     Awarding punitive damages;

                 D.     Awarding prejudgment interest;

                 E.     Awarding such other and further relief as this honorable Court deems just
                        and proper.




                                             COUNTY

                                          CONVERSION

                                     (Against All Defendants)

         90.     Plaintiff realleges and incorporates by reference paragraphs 1-89 as if set forth

 fully herein.

         91.     Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

 the following class of persons:



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                 A.      All persons who (a) rendered affiliate marketing services through
                         the EWA Private Network and (b) within five years prior to the
                         filing of this action did not receive payment of all commissions
                         earned.

         92.     A class action is warranted on this claim because there are questions of law or fact

  common to the class predominating over questions affecting only individual class members,

  including, without limitation:

                 A.     Whether the class had an absolute and unconditional right of the
                        immediate possession to that portion of the payment made by Defendants'
                        advertising clients to the Defendants on behalf of Plaintiffs representing
                        the commissions earned by the Plaintiff and the class; and,

                 B.     Whether one or more of the Defendants wrongfully and without
                        authorization has assumed control, dominion or ownership over the
                        commissions earned by the Plaintiff and the class.

         93.     Plaintiff has an absolute and unconditional right to the immediate possession of

 that portion of the payment made by Defendants' advertising clients representing the

 commissions earned by the Plaintiff that were forwarded to the Defendants in connection with

 specific affiliate marketing campaigns worked on by the Plaintiff.

         94.    Plaintiff has made one or more demands on the Defendants to obtain the

 commission payments.

        95.     One or more of the Defendants wrongfully and without authorization has assumed

 control, dominion or ownership over the Plaintiffs commissions.

        96.     Plaintiff has sustained substantial damages as a proximate result of the

 Defendants' actions and is entitled to those damages plus interest on said amount.

        97.     To the extent that the Defendants' conduct was willful and wanton, and in utter

 disregard of the rights and interests of Plaintiff, Plaintiff is entitled to an award of punitive

 damages to deter the Defendants from engaging in similar conduct in the future.

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          WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

  all other similarly situated persons, prays that the Court enter a judgment in his favor and against

  the Defendants RY AN EAGLE, HARRISON DONALD GEVIRTZ, EAGLE WEB ASSETS

  PRIVATE NETWORK, EWA and ENI as follows:

                 A.     Certifying that the present case may be properly maintained as a class
                        action, appointing Plaintiff RONAN PETILLON as the representative of
                        the class, and appointing Plaintiff's counsel as counsel for the class;

                 B.     Awarding compensatory damages;

                 C.     Awarding punitive damages;

                 D.     Awarding prejudgment interest; and,

                 E.     Awarding such other and further relief as this honorable Court deems just
                        and proper.



                                            COUNT VI

                                    BREACH OF CONTRACT

                                     (Against All Defendants)


         98.     Plaintiff realleges and incorporates by reference paragraphs 1-71 as if set forth

 fully herein.

         99.     Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

 the following class of persons:

                 A.    All persons who (a) rendered affiliate marketing services through
                       the EWA Private Network and (b) within ten years prior to the
                       filing of this action did not receive payment of all commissions
                       earned.




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              100.    A class action is warranted on this claim because there are questions of law or fact

      common to the class predominating over questions affecting only individual class members,

      including, without limitation:

                      A.     Whether the Defendants entered into contracts with the class for the
                             provision of affiliate marketing services on behalf of Defendants'
                             advertising clients; and,

                      B.     Whether the Defendants breached the contracts with the class members by
                             not paying the class members commissions earned in providing affiliate
                             marketing services for the Defendants.

             101.    Plaintiff entered into an agreement with the Defendants whereby the Defendants

      agreed to pay Plaintiff a commission for providing affiliate marketing services on behalf of the

      Defendants' advertising clients, according to rates and terms published by the Defendants.

             102.    The Defendants breached the agreement by failing to pay Plaintiff the

     commissions that he earned.

             103.    At all relevant times, Plaintiff performed all of his obligations pursuant to the

     agreement.

             104.    As a direct and proximate result of the breach of this agreement, Plaintiff -has

     suffered damages in an amount to be proven at trial.

            WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

     all other similarly situated persons, prays that the Court enter a judgment in his favor and against

     the Defendants RYAN EAGLE, HARRISON GEVIRTZ, EAGLE WEB ASSETS PRIVATE

     NETWORK, EWA and ENI as follows:

                     A.     Certifying that the present case may be properly maintained as a class
                            action, appointing Plaintiff RONAN PETILLON as the representative of
                            the class, and appointing Plaintiff's counsel as counsel for the class;

                     B.     Awarding compensatory damages;

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                      C.     Awarding prejudgment interest;

                      D.     Awarding such other and further relief as this honorable Court deems just
                             and proper.



                                                  COUNT VII

                             BREACH OF CONTRACT IMPLIED IN FACT

                                           (Against All Defendants)

             105.    Pleading in the alternative to Count VI, Plaintiff realleges and incorporates by

      reference paragraphs 1-71 as if set forth fully herein.

             106.    Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

     the following class of persons:

                     A.      All persons who (a) rendered affiliate marketing services through
                             the EWA Private Network and (b) within five years prior to the
                             filing of this action did not receive payment of all commissions
                             earned.

             107.    A class action is warranted on this claim because there are questions of law or fact

     common to the class predominating over questions affecting only individual class members,

     including, without limitation:

                     A.     Whether the actions and writings of the Defendants created a contract
                            implied in fact between the Defendants and members of the class whereby
                            the Defendants agreed to pay the class members commission for providing
                            affiliate marketing services; and,

                    B.      Whether the Defendants breached the contracts with the class members by
                            not paying the class members commissions earned in providing affiliate
                            marketing services for the Defendants.




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          108.    The actions and writings of the Defendants created a contract implied in fact

  between the Defendants and Plaintiff whereby the Defendants agreed to pay Plaintiff the

  commissions reflected in the Data Report as compensation for the Plaintiffs services as an

  affiliate marketer.

          109.    Plaintiff has performed all of its obligations under the implied in fact contract.

          110.   Without fault on the part of the Plaintiff, the Defendants breached the contract by

  failing to pay Plaintiff the commissions that he has earned.

         111.    As a direct and proximate result of the conduct of the Defendants, Plaintiff has

  suffered damages in the amount of at least $31,608.73.

         WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

  all other similarly situated persons, prays that the Court enter a judgment in his favor and against

  the Defendants RYAN EAGLE, HARRISON GEVIRTZ, EAGLE WEB ASSETS PRIVATE

 NETWORK, EWA and ENI as follows:

                 A.      Certifying that the present case may be properly maintained as a class
                         action, appointing Plaintiff RONAN PETILLON as the representative of
                         the class, and appointing Plaintiff's counsel as counsel for the class;

                 B.      Awarding compensatory damages;

                 C.      Awarding prejudgment interest;

                 D.      Awarding such other and further relief as this honorable Court deems just
                         and proper.




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                                             COUNT VIII

                                    PROMISSORY ESTOPPEL

                                      (Against All Defendants)

         112.    Pleading in the alternative to Counts VI and VII, Plaintiff realleges and

  incorporates by reference paragraphs 1-71 as if set forth fully herein.

         113.    Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

  the following class of persons:

                 A.     All persons who (a) rendered affiliate marketing services through
                        the EWA Private Network and (b) within five years prior to the
                        filing of this action did not receive payment of all commissions
                        earned.

         114.    A class action is warranted on this claim because there are questions oflaw or fact

 common to the class predominating over questions affecting only individual class members,

 including, without limitation:

                A.      Whether the Defendants repeatedly made certain unambiguous promises
                        to the class that they would be paid commissions for the services they
                        performed as affiliate marketer in the EWA Private Network pursuant to
                        the terms and conditions of each advertiser's particular campaign;


         115.   The Defendants repeatedly made certain unambiguous promises to Plaintiff that

 he would be paid commissions for the services he performed as an affiliate marketer in the EWA

 Private Network pursuant to the terms and conditions of each advertiser's particular campaign.

        116.    Plaintiff relied on the Defendants' promises by continuing to provide services to

 the Defendants and by foregoing alternative employment.

        117.    Plaintiffs' reliance was expected and foreseeable by the Defendants.




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          118.    Plaintiff has suffered damages by virtue of his reliance on the Defendants'

  promises in the amount of at least $31,608.73.

         WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

  all other similarly situated persons, prays that the Court enter a judgment in his favor and against

  the Defendants RYAN EAGLE, HARRISON GEVIRTZ, EAGLE WEB ASSETS PRIVATE

  NETWORK, EWA and ENI as follows:

                 A.     Certifying that the present case may be properly maintained as a class
                        action, appointing Plaintiff RONAN PETILLON as the representative of
                        the class, and appointing Plaintiffs counsel as counsel for the class;

                 B.     A warding compensatory damages;

                 C.     Awarding prejudgment interest;

                 D.     Awarding such other and further relief as this honorable Court deems just
                        and proper.



                                             COUNTIX

                                     UNJUST ENRICHMENT

                                      (Against All Defendants)

         119.    Pleading in the alternative to Counts VI and VII, Plaintiff realleges and

 incorporates by reference paragraphs 1-71 as if set forth fully herein.

        120.     Pursuant to 735 ILCS 5/2-801, Plaintiff brings the following claim on behalf of

 the following class of persons:

                 A.    All persons who (a) rendered affiliate marketing services through
                       the EWA Private Network and (b) within five years prior to the
                       filing of this action did not receive payment of all commissions
                       earned.




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          121.    A class action is warranted on this claim because there are questions of law or fact

  common to the class predominating over questions affecting only individual class members,

  including, without limitation:

                 A.        Whether, by accepting the services performed by the Plaintiff and class on
                           a continuous basis without paying the Plaintiff and class the commissions
                           that they earned, the Defendants have retained a benefit to the detriment
                           of class; and,

                 B.        Whether the retention of this benefit by the Defendants violates
                           fundamental principles of justice, equity, and good conscience.


         122.    By accepting the services performed by Plaintiff on a continuous basis without

  paying Plaintiff the commissions that he earned, Defendants have retained a benefit to the

 detriment of Plaintiff.

         123.    The retention of this benefit by the Defendants violates fundamental principles of

 justice, equity, and good conscience.

         124.    An express contract did not govern the relationship between Plaintiff and the

 Defendants.

         125.    The Defendants have been unjustly enriched by this conduct causing Plaintiff to

 suffer damages in the amount of at least $31,608.73.

        WHEREFORE, Plaintiff, RONAN PETILLON, individually and on behalf of a class of

 all other similarly situated persons, prays that the Court enter a judgment in his favor and against

 the Defendants RYAN EAGLE, HARRISON GEVIRTZ, EAGLE WEB ASSETS PRIVATE

 NETWORK, EWA and ENI as follows:

                 A.        Certifying that the present case may be properly maintained as a class
                           action, appointing Plaintiff RONAN PETILLON as the representative of
                           the class, and appointing Plaintiffs counsel as counsel for the class;


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                    B.     Awarding compensatory damages;

                    C.     Awarding prejudgment interest; and,

                    D.     Awarding such other and further relief as this honorable Court deems just
                           and proper.


                                               COUNTX

                           IMPOSITION OF A CONSTRUCTIVE TRUST

                                        (Against all Defendants)

            126.   Plaintiff realleges and incorporates by reference paragraphs 1-97 and 112-125 as

 if set forth fully herein.

         127.      Plaintiff seeks the imposition of a constructive trust on the commission payments

 that are owed to Plaintiff and members of the class which constitute their identifiable property.

         128.      One or more of the Defendants or other persons have wrongful possession of the

 funds or their product, or said funds are traceable to one or more of the Defendants or other

 persons.

         129.      The imposition of a constructive trust on the funds entrusted to one or more of the

 Defendants is warranted given the aforementioned acts and omissions of the Defendants that

 constitute, inter alia, fraud, promissory fraud, conversion and unjust enrichment.

         130.      Plaintiff has no adequate remedy at law.

        WHEREFORE, based upon principles of equity, good conscience and unjust enrichment,

 the Plaintiff prays that this Court enter an immediate order:

                   (a)    Certifying that the present case may be properly maintained as a class
                          action, appointing Plaintiff RONAN PETILLON as the representative of
                          the class, and appointing Plaintiffs counsel as counsel for the class;



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             (b)      Imposing a constructive trust on the funds of the Plaintiff and members of
                      the class in the possession of one or more of the Defendants or other
                      persons, for the benefit of the Plaintiff and members of the class;

             (c)      Enjoining and restraining the Defendants, and all of their officers,
                      directors, shareholders, employees, agents, representatives and any other
                      persons acting in concert with, or for the benefit of, the Defendants from
                      transferring, selling, assigning, conveying or otherwise dissipating the
                      property and funds of the Plaintiff and members of the class in their
                      possession, custody or control until further order of this Court;

             (d)      Ordering the Defendants to place said funds into an escrow account
                      approved by the Plaintiff and the Court pending resolution of the claims in
                      this lawsuit;

             ( e)     Ordering the Defendants and all of their officers, directors, shareholders,
                      employees, agents, representatives and any other persons acting in concert
                      with, or for the benefit of, the Defendants to immediately tum over and
                      produce to the Plaintiff all of the books and records in their possession,
                      custody or control that will aid in the tracing and identification of the
                      funds of Plaintiff and the class members; and,

             (f)     Granting such other and further relief as this Court deems just and proper.



                                       JURY DEMAND

                    Plaintiff demands a trial by jury on all claims so triable.



                                             Respectfully submitted,

                                             RONAN PETILLON, individually
                                             and as the representative of a class of similarly
                                             situated persons



                                             By:




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 Case 2:19-cv-06814-DSF-KS                                         ~f·
                                        Document 27-2 Filed 12/02/19
                                               ID #:861
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 1   THE BICKEL LAW FIRM, INC.                                          FILED
                                                               · SUPERIOR COURT of CALIFORNIA
     Brian J. Bickel, State Bar No. 205646                         COUNTY of SANTA BARBARA              V .J_
 2   Brian K. Cline, State Bar No. 246747
     Mark A. Johnson, State Bar No. 276753                              JUN 2 2 2012                    CA -
 3   701 B Street, Suite 1200         ·                                                                 FiN _
     San Diego, California 92101-8107
 4   Telephone: (619) 374-4100
 5
     Facsunile:     (619)231-9040                                                                       ~T'(@-
     Attorneys for Plaintiffs VALERIE COMTE                                                             i\TTZ .
 6   and HARRISON GEVIRTZ
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 8    SUPERIOR COURT OF THE STATE OF CALIFORNIA, COUNTY OF SANTA BARBARA                                ir_S1J.~S
 9                                   SATA BARBARA SUPERIOR COURT ·
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11   VALERIE COMTE and HARRISON                      ) Case No.:
                                                                        1402454
                                                     ~
     GEVIRTZ,
12                                                     COMPLAINT FOR VIOLATION OF TIIB
                                                     ) SONG-BEVERLY CONSUMER
13                    Plaintiffs,-                   ) WARRANTY ACT
                                                     )
14          vs;
15   FORD MOTOR COMPANY, and DOE 1
                                                     ~)
     through DOE 10 inclusive,
16                                                  -~
17
18
19
                      Defendants,

           ------------~
     Plaintiffs allege:
                                                     l
20           I.      Plaintiffs VALERIE      COMTE and HARRISON GEVIRTZ (hereinafter
21   "Plaintiffs") are and at all times mentioned herein were, competent adults.
22           2.      Plaintiffs are informed and believe and thereupon allege that defendant FORD
23   MOTOR COMPANY is a corporation.
24           3.      Defendants DOE 1 through DOE 10 inclusive are sued herein pursuant to
25   California Code of Civil Procedure §474. DOE 1 through DOE 10 are each independently, or as
26   a representative of another defendant in this suit, responsible in some manner for the causes of
27   action set forth herein and the damages sustained by Plaintiffs.
28   Ill


                                                         l
             COMPLAINT FOR VIOLATION OF THE SONG-BEVERLY CONSUMERWARRANTY ACT ·



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                                               ID #:862

 1          4.      Plaintiffs purchased the subject 2011 Ford FLEX VIN: 2FMGK5CC6BBD12039
 2   (''the subject vehicle") on or about September 12, 2012 from Perry Ford Lincoln Mercury Mazda
 3   in Santa Barbara, California. The subject vehicle is a new motor .vehicle that was bought
 4   primarily for personal, family, or household purposes or it is a new motor vehicle with a gross
 5   vehicle weight under 10,000 pounds that was bought or used primarily for business purposes by
 6   an entity .to which not more than five motor vehicles are registered in this state. The subject
 7   vehicle is a "new motor vehicle" under the Song-Beverly Consumer Warranty Act, Civil Code
 8   §§1790 et seq. (the "Act'').
 9          5.     . Perry Ford Lincoln Mercury Mazda is engaged in the business of distributing or
10   selling consumer goods at retail. Plaintiffs are "buyers" under the Act.
11          6.      FORD MOTOR COMPANY manufactures, assembles, or produces consumer
12   goods. FORD MOTOR COMPANY is a "manufacturer" under the Act.
13          7.      FORD MOTOR COMPANY issued an "express warranty" to Plaintiffs in which,

14   inter alia, FORD MOTOR COMPANY undertook to preserve or maintain the utility or
15   performance of the subject vehicle. Said warranty was an integral factor in Plaintiffs' decision to,
16   purchase the subject vehicle.

17          8.      The subject vehicle has suffered from nonconformity(s) to warranty, including,
18   but not limited to, defect(s) which have manifested in a recurrent loss of power, the vehicle
19   completely turning off resulting in loss of power, no steering, no brakes, the dashboard lights
20   turning off and the radio turning off, and rough steering. Said nonconformity(s) have
21   substantially impaired the vehicle's use, value, or safety to Plaintiffs.
22          9.       Plaintiff has delivered the vehicle to FORD MOTOR COMPANY or its
23   authorized repair facility(s) for repair of said nonconformity(s). FORD MOTOR COMPANY or
24   its authorized repair facility(s) have failed: to service or repair the subject vehicle to warranty
25   after a reasonal?le number of attempts; begin repairs within a reasonable time; and/or complete
26   repairs within thirty (30) days so as to conform to the applicable warranties.
27   Ill
28

                                                       2
            .COMPLAINT FOR VIOLATION OF TIIB SONG-BEYERLY CONSUMER WARRANTY ACT . .



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                                                 ID #:863

 1           10.     The subject vehicle was not fit for the ordinary purposes for which such goods are
 2   used and was not of the same quality as those generally acceptable in the trade. FORD MOTOR
 3   COMPANY breached the implied warranty of merchantability and implied warranty of fitness.
 4   Plaintiffs are entitled to revoke acceptance of the subject vehicle under the Act.
 5           11.     FORD MOTOR COMPANY has not replaced the vehicle or otherwise made·
 6   restitution to Plaintiffs pursuant to its obligations under the Act.
 7           12.     Plaintiffs are informed and believe and thereupon allege that FORD MOTOR
 8   COMPANY's refusal to replace the vehicle or make restitution to Plaintiffs was willful and not
 9   the result of a good faith and reasonable belief that the facts imposing said statutory obligation
10   were absent.
11           13.     Pursuant to the Act, Plaintiffs are entitled to restitution in an amount equal to the
12   actual price paid or payable by Plaintiffs and collateral charges such as sales tax, license fees,
13   registration fees, and other official fees less an amount directly attributable to use by Plaintiffs
14   prior to the time Plaintiffs first delivered the vehicle for repair.
15           14.     Plaintiffs are entitled to re~ver incidental, consequential, and general damages,
16   including, but not limited to, reasonable repair, towing, and rental car costs actually incurred by
17   Plaintiffs.
18                   Plaintiffs are entitled to recover a civil penalty up to two times the amount of
19   actual damages for FORD MOTOR COMPANY's willful refusal to comply with its statutory
20   obligations under the Act.
                                      .      .
21           16.     Plaintiffs are entitled to recover a sum equal to the aggregate amount of costs and
22   expenses including attorney's fees based on actual time expended and reasonably incurred in
23   connection with the commencement and prosecution of this action.
24   Ill
25   Ill
26   Ill
27   Ill
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             COMPLAINT FOR VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT



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                                                 ID #:864

  1            WHEREFORE, Plaintiffs pray judgment against FORD MOTOR COMPANY as
  2     follows:
  3            1.      For actual damages, including collateral charges, and incidental, consequential,
  4     and general damages.     To date, such damages include, but are not limited to, in amounts
  5     according to proof, Plaintiffs' down payment ($7,500.00), monthly finance payments to date (est.
  6     $8,399.30), current vehicle registration ($395.00), rental car expense(s) ($ATP), and, in amounts
  7     according to proof, pay off of the vehicle loan, future vehicle finance payments, repair
  8     expense(s), expenses inadvertently omitted herein, and other future expenses reasonably incurred
  9     by Plaintiffs in connection with this action; and
 10            2.      For a civil penalty up to two times the amount of actual damages; and
 11            3.      For rescission of the contract and restitution of consideration; and
 12            4.      For interest on said sum from date of rescission to date of judgment herein; and
 13            5.      For attorney's fees based on actual time expended and reasonably incurred in
 14     connection with the commencement and prosecution of this action; and
 15            6.      For costs of suit incurred in connection with the commencement and prosecution
 16     of this action; and
 17            7.      For such other and further relief as the court deems proper.
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 19
        DATED: June 21, 2012                                    THE BICKEL LAW FIRM, INC.
 20                                                             Attorneys for Plaintiffs
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                                                                By:~....N - - -
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               COMPLAINT FOR VIOLATION OF THESONG-BEVERL Y CONSUMER WARRANTY AC'f: . .



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       2012CV802915, Colorado Department Of Revenue Vs. Gevirtz, Harrison
                                                    CO District & County - Denver
                                                            Denver District
                                              This case was retrieved on 11/19/2019

Header
Case Number: 2012CV802915
Date Filed: 01/13/2012
Date Full Case Retrieved: 11/19/2019
Status: Unknown
Misc: Distraint Warrant; District Civil

Summary
Judge: Distraint Warrant - Admin Officer(900333)
Court: Denver District
Division: DW
Efiled: Y
Appealed: N
Case Closed Date: 2012-01-13

Participants
    Litigants                                                       Attorneys
    Colorado Department Of Revenue
    Plaintiff
    Gevirtz, Harrison
    Defendant


Judgments

#     Date             Details
1     2012-01-13       Judgment Entered
                       Status: UNSATISFIED
                       Judge: Distraint Warrant - Admin Officer
                       Judge BAR: 900333
                       Creditor: Colorado Department Of Revenue
                       Debtor :Gevirtz, Harrison
                       Principal 13660.00


Proceedings

    Date               #              Proceeding Text                               Details
    01/13/2012                                                                      ENTRYCODE
                                      Distraint Warrant
                                                                                    DSWR
    01/13/2012                                                                      ENTRYCODE
                   I
                                      Case Closed
                                                             Page -278-                             Exhibit 15
                                                             Stacey Adler
  Case 2:19-cv-06814-DSF-KS                   Document 27-2 Filed 12/02/19        Page 290 of 290 Page
                                                                                               Page 2 of 2
                                                     ID #:867
                        2012CV802915, Colorado Department Of Revenue Vs. Gevirtz, Harrison

 Date            #               Proceeding Text                        Details
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                                                         Stacey Adler
